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                       Walton County, FL (4)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                       Walton County, FL (5)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

                                                                                026345
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                       Walton County, FL (6)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

                                                                                026346
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                         Bay County, FL (1)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                         Bay County, FL (2)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                         Bay County, FL (3)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                         Bay County, FL (4)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                          Bay County, FL (6)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                          Bay County, FL (7)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                         Gulf County, FL (1)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                         Gulf County, FL (2)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                         Gulf County, FL (3)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                         Gulf County, FL (4)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                       Franklin County, FL (2)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                       Franklin County, FL (6)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                       Franklin County, FL (7)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                       Franklin County, FL (8)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                       Franklin County, FL (9)




                       Appendix A: Real Property Sales
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                      Franklin County, FL (10)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                      Franklin County, FL (11)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                      Franklin County, FL (12)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                       Wakulla County, FL (1)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                       Wakulla County, FL (2)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                       Wakulla County, FL (3)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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                          Grand Isle, LA (1)




                       Appendix A: Real Property Sales
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                         Compensation Zone Map

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             Compensation Framework for Vessel Physical Damage Claims

1. Eligibility Requirements

      A. Eligible Claimants shall be comprised of claimants who do not fall within the
         exclusions to the Economic Loss and Property Class Definition and who were
         owners of an Eligible Vessel(s) during the time period April 20, 2010 to December
         31, 2011, except for the following:

                i.   Claimants who are owners of an Eligible Vessel(s) that have signed a
                     Receipt and Release Letter Agreement in connection with the BP program
                     to reimburse costs from damage to vessels involved in the Vessels of
                     Opportunity program.

               ii.   Claimants who sustained Physical Damage to an Eligible Vessel while
                     working for an Oil Spill Response Organization or an Oil Spill Removal
                     Organization (OSRO) in the DWH Spill response. However this
                     exclusion shall not apply to claimants who were participating in the
                     Vessels of Opportunity Program.

      B. An Eligible Vessel shall be defined as a vessel, and/or vessel appurtenances, that
         sustained Physical Damage.

      C. Physical Damage shall be defined as physical damage that was sustained by an
         Eligible Claimant’s Eligible Vessel due to or resulting from the DWH Spill or the
         DWH Spill response cleanup operations, including the Vessels of Opportunity
         Program, that were consistent with the National Contingency Plan or specifically
         ordered by the Federal On-Scene Coordinator or delegates thereof. Physical Damage
         shall also include the need for removal of equipment or rigging that was added to an
         Eligible Claimant’s Eligible Vessel to conduct DWH Spill response cleanup
         operations.

                i.   Some examples of Physical Damage include a bent propeller, dents or
                     scratches to a vessel’s hull, damage to a vessel’s engine from the intake of
                     MC252 oil, scratching or staining of a vessel’s paint or gelcoat from
                     coming into contact with MC252 oil and/or dispersants, damage to nets,
                     rakes, traps or other gear used in the harvesting of seafood, or the need for
                     decontamination of MC252 oil from a vessel.

      D. Notwithstanding the above, Physical Damage shall not include the following types of
         damage: i) damage caused by the negligence of an Eligible Claimant or an Eligible
         Vessel’s captain or crew, ii) damage caused by an employee or agent of an OSRO;
         iii) damage caused by an act of God, iv) damage caused by normal wear and tear, or
         v) damage to a trailer or anything else used to transport an Eligible Vessel.




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               i.   Some examples of damage not included in the definition of Physical Damage
                    include, but are not limited to, the following: damage from running aground,
                    damage from contaminated fuel, damage from allision with a fixed object,
                    damage sustained while vessel operator was inebriated, damage caused by
                    violation of the United States Coast Guard’s Navigation Rules, damage from
                    lightning strikes, or damage caused by the unseaworthiness of the vessel.

     E.        Administrator’s Database: The Claims Administrator shall maintain a database
               (“Administrator’s Database”) containing information on Eligible Claimants that
               have signed a Receipt and Release Letter Agreement in connection with the BP
               program to reimburse costs from damage to vessels involved in the Vessels of
               Opportunity program. The Claims Administrator shall check the Administrator’s
               Database to determine whether an Eligible Claimant has signed a Receipt and
               Release Letter Agreement in connection with the BP program to reimburse costs
               from damage to vessels involved in the Vessels of Opportunity program. The
               Administrator’s Database is presumed to be satisfactory evidence of such a
               release.

2. Compensation

     A. An Eligible Claimant must provide the Claims Administrator with satisfactory proof
        of all of the following items below in order to qualify to receive compensation for
        Physical Damage.

          i.    The claimant is an Eligible Claimant.

       ii.      The claimed Physical Damage was sustained by an Eligible Claimant’s Eligible
                Vessel.

      iii.      The Physical Damage occurred between April 20, 2010 and December 31, 2011.

      iv.       The Physical Damage was sustained due to or resulting from the DWH Spill or
                the DWH Spill response cleanup operations, including the Vessels of Opportunity
                Program, that were consistent with the National Contingency Plan or specifically
                ordered by the Federal On-Scene Coordinator or delegates thereof. Satisfactory
                proof shall include operations of the Vessels of Opportunity program or other
                operations approved by BP or the Unified Command.

       v.       The condition of the Eligible Vessel prior to the claimed Physical Damage.

                      a)   As part of the Vessels of Opportunity program, the condition of certain
                           vessels was inspected prior to beginning an operational mission. These




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                      inspections are reflected in documents referred to as the Jackson On-
                      Hire Surveys. The Claims Administrator shall be provided with
                      Jackson On-Hire Surveys for vessels involved in the Vessels of
                      Opportunity program.

     vi.    The Eligible Claimant owned the Eligible Vessel for which Physical Damaged
            is claimed at the time the damage occurred.

    vii.    For an Eligible Claimant claiming to have incurred costs to repair or replace the
            Eligible Vessel, evidence to establish that the costs were incurred by the Eligible
            Claimant and that they were reasonable and necessary.

    viii.   For an Eligible Claimant seeking compensation for costs not yet incurred to
            repair or replace the Eligible Vessel, a cost estimate and proof the costs are
            reasonable and necessary.

    B. An Eligible Claimant must comply with the Claim Form, Document
       Requirements and Verification Statement listed in Appendices A, B and C in order
       to qualify to receive Vessel Damage Compensation.

    C. An Eligible Claimant who claims Physical Damage and satisfies Section 2. A, and
       2. B above shall receive Vessel Damage Compensation. Vessel Damage
       Compensation shall be the lesser of the reasonable and necessary costs to repair or
       replace an Eligible Vessel. Vessel Damage Compensation shall only include the
       cost to replace an Eligible Vessel if the Claims Administrator determines that the cost
       to replace an Eligible Vessel is less than the cost to repair an Eligible Vessel.

       i.   The Claims Administrator shall have the authority to verify any of the criteria
            contained in the Compensation Framework for Vessel Physical Damage Claim
            including, the Eligible Claimant’s claimed repair and/or replacement costs, and
            to undertake an investigation to determine the reasonableness of the costs to repair
            and/or replace the Eligible Vessel, including obtaining an independent estimate.

    D. In no case shall an RTP be applied to Vessel Damage Compensation.




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              Compensation Framework for Vessel Physical Damage Claims
                                     Appendix A
                         Vessel Physical Damage Claim Form


1. Are you claiming you are entitled to compensation for physical damage that occurred to your
   vessel due to or resulting from the DWH Spill or the DWH Spill response cleanup
   operations, including the Vessels of Opportunity Program, during the time period April 20,
   2010 to December 31, 2011?


                                    ____ Yes     ____ No


If you answered yes question 1 above, (i) answer the questions below, (ii) provide the
documentation required in the Document Requirements form (Appendix B), and (iii) complete
a Vessel Physical Damage Verification Statement (Appendix C).


2. What is the vessel’s registration number?

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________




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3. If your vessel participated in the Vessels of Opportunity program, provide the contract
   number of the Master Charter Vessel Agreement you executed.

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________


4. Identify and describe the vessel that you claim sustained physical damage due to or resulting
   from the DWH Spill or the DWH Spill response cleanup operations, including the i) make, ii)
   model, iii) year, iv) length, v) capacity, vi) propulsion type, and vessel class (e.g., deck boat,
   dinghy, multihull cruiser, etc.).

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________



5. Describe the physical damage that you claim was sustained by your vessel due to or resulting
   from the DWH Spill or the DWH Spill response cleanup operations.

___________________________________________________________________________

___________________________________________________________________________

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___________________________________________________________________________

6. Describe what activity your boat was performing at the time of the physical damage that you




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   claim was sustained by your vessel.

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________



7. Where was your vessel located when the physical damage occurred?

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

8. When did the physical damage to your vessel occur?

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________




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9. Describe in detail what caused the physical damage to your vessel.

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

10. If you know, did the physical damage that your vessel sustained result from the DWH Spill
    or the DWH Spill response cleanup operations consistent with the National Contingency Plan
    or specifically ordered by the Federal On-Scene Coordinator or delegates thereof?

                       ____ Yes       ____ No         _____ I Don’t Know




11. Was the damage to your vessel caused by any of the following: i) your fault, ii) the fault of
    the vessel’s captain or crew, iii) an act of God, or iv) normal wear and tear.

                              ____ Yes       ___ No


12. Describe the condition of the vessel prior to the damage you claim occurred.

___________________________________________________________________________

___________________________________________________________________________

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13. Did you own the vessel that you claim was damaged at the time the damage occurred?
                                      ____ Yes        ___ No




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14. Have you already incurred the cost to repair or replace the vessel that you claim was
    physically damaged?


                                      ____ Yes       ___ No


15. If your answer to Question 13 is yes, please identify the following:


       a. Was the vessel repaired or replaced?

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

       b. If the vessel was replaced, state the reasons, in precise detail, that the vessel was
          replaced instead of being repaired.

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________


       c. If the vessel was replaced, state the name and address of the individual or business
          from which the replacement vessel was obtained and the cost you incurred to replace
          the vessel.
           _____________________________________________________________________

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           _____________________________________________________________________

           _____________________________________________________________________

       d. If the vessel was repaired, state the name and address and telephone number of the
          individual or business that did the repairs, the cost you incurred to repair the vessel,
          and identify the repairs that were done.
           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________




16. If the answer to Question 13 is no, identify the following:


       a. State whether the vessel can be repaired:


                                      ____ Yes        ___ No


       b. Have you obtained a cost estimate to repair the vessel?
                                      ____ Yes        ___ No




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    c. If you have obtained a cost estimate to repair the vessel, state the name address and
       phone number of the individual or entity that provided the cost estimate, what repairs
       are being done and the amount of the cost estimate for the repairs.
       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________


    d. If you claim that the vessel cannot be repaired, explain in precise detail the reasons
       for your claim.
       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________



    17. Have you signed a Receipt and Release Letter Agreement in connection with the BP

       program to reimburse costs from damage to vessels involved in the Vessels of

       Opportunity program.

                                   ____ Yes      ___ No




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               Compensation Framework for Vessel Physical Damage Claims
                                      Appendix B
                          Vessel Physical Damage Claim Form
                                Document Requirements

To receive compensation under the Compensation Framework for Vessel Physical Damage
Claims you must provide copies of the documents described below.

1. Owners of vessels seeking compensation under the Compensation Framework for Vessel
   Physical Damage Claims must provide each of the following:

       a. A copy of the title for the vessel for which you are seeking compensation;

       b. A copy of the registration for the vessel for which you are seeking compensation; and

       c. Completed Verification Statement.

2. Owners of vessels seeking compensation under the Compensation Framework for Vessel
   Physical Damage Claims must provide the Claims Administrator with proof of the items
   below. Proof may consist of documents, receipts, invoices, estimates, photographs,
   catalogues, advertisements, pricelists for vessels or vessel parts, videotaped footage, a sworn
   statement from the claimant and/or sworn statements from a witness(es).

       a. The claimed physical damage to your vessel was due to or resulting from the DWH
          Spill or the DWH Spill response cleanup operations.

       b. The claimed physical damage to your vessel was not caused by any of the following:
          i) you, ii) the vessel’s captain or crew, iii) an act of God, or iv) normal wear and tear.

       c. The physical damage occurred between April 20, 2010 and December 31, 2011.

       d. The condition of the vessel prior to the claimed physical damage.

       e. You owned the vessel at the time the physical damage occurred.

       f. If you claim to have incurred costs to repair or replace the vessel, evidence to
          establish the costs, that you incurred and that they were reasonable and necessary.




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    g. If you are seeking compensation for costs not yet incurred to repair or replace the
       vessel, one or more cost estimates to repair or replace the vessel and proof that the
       cost estimates are reasonable and necessary.
    h. Signing the Verification Statement will qualify as support for subsections a, b, c, d
       and e above.




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                Compensation Framework for Vessel Physical Damage Claims
                                      Appendix C
                     Vessel Physical Damage Verification Statement

I, _________________________________, owned the vessel(s) for which I am submitting this
claim during the time period April 20, 2010 to December 31, 2011, and the physical damages for
which I seek compensation were due to or resulting from the DWH Spill or the DWH Spill
response cleanup operations.


        I have not signed a Receipt and Release Letter Agreement in connection with the BP
program to reimburse costs from damage to vessels involved in the Vessels of Opportunity
program.


        The physical damage that I claim was sustained to my vessel was not caused by any of
the following: i) my fault, ii) the fault of the vessel’s captain or crew, iii) an act of God, or iv)
normal wear and tear.


        The physical damage that I claim was sustained to my vessel did not occur while working
for an Oil Spill Response Organization or an Oil Spill Removal Organization (OSRO) in the
DWH Spill response (However - You should check this box if your vessel damage occurred
while you were working in Vessels of Opportunity Program).


I declare and affirm under penalty of perjury under the laws of the United States of America that
the foregoing is true and correct.

________________________________________
Signature

________________________________________
Date




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                                             RTP CHART

        As set forth in the Deepwater Horizon Economic and Property Damages Settlement
Agreement, an RTP (risk transfer premium) shall mean the amount paid to a Claimant for any and all
alleged damage, including potential future injuries, damages or losses not currently known, which
may later manifest themselves or develop, arising out of, due to, resulting from, or relating in any
way to the Deepwater Horizon Incident, and any other type or category of damages claimed,
including claims for punitive damages. To the extent that an RTP is to be paid to a Claimant, it shall
be a factor which is multiplied with those Compensation Amounts which the Exhibits to this
Agreement specify are eligible for an RTP to calculate a sum which is added to the Compensation
Amount paid to the Claimant. The following is a summary of the applicable RTPs.

CLAIM TYPE                         RTP
Business Economic Loss Claims         Businesses satisfying the Tourism Definition and located in
                                       Zone A -- RTP is 2.50.
                                      Businesses satisfying the Tourism Definition and located in
                                       Zone B -- RTP is 2.00.
                                      Businesses satisfying the Tourism Definition and located in
                                       Zone C -- RTP is 2.00.
                                      Businesses satisfying the Tourism Definition and located in
                                       Zone D -- RTP is 1.25.

                                      Businesses satisfying the Charter Fishing Definition and located
                                       in Zone A, Zone B or Zone C -- RTP is 2.50.
                                      Businesses satisfying the Charter Fishing Definition and located
                                       in Zone D -- RTP is 1.25.

                                      Businesses satisfying the Primary Seafood Processor Definition
                                       in the Seafood Distribution Chain Definitions who process
                                       Shrimp/Crab/Oyster and are located in Zone A, Zone B, Zone C
                                       or Zone D -- RTP is 3.00.
                                      Businesses satisfying the Primary Seafood Processor Definition
                                       in the Seafood Distribution Chain Definitions who process
                                       Seafood other than Shrimp/Crab/Oyster and are located in
                                       Zone A, Zone B, Zone C or Zone D -- RTP is 2.25.

                                      Businesses satisfying the Landing Site or Commercial
                                       Wholesale or Retail Dealer A Definitions in the Seafood
                                       Distribution Chain Definitions and are located in Zone A, Zone
                                       B, Zone C or Zone D -- RTP is 2.25.


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CLAIM TYPE                        RTP
                                     Businesses satisfying the Commercial Wholesale or Retail
                                      Dealer B, Secondary Seafood Processor, Seafood Wholesaler or
                                      Distributor, or Seafood Retailer Definitions in the Seafood
                                      Distribution Chain Definitions and are located in Zone A, Zone
                                      B, Zone C or Zone D -- RTP is 2.25.

                                    Non-Tourism and Non-Seafood Businesses located in Zone A --
                                     RTP is 1.50.
                                   Non-Tourism and Non-Seafood Businesses located in Zone B --
                                     RTP is 1.25.
                                   Non-Tourism and Non-Seafood Businesses located in Zone C --
                                     RTP is 0.25.
                                   Non-Tourism and Non-Seafood Businesses located in Zone D --
                                     RTP is 0.25.
Start-up Business Claims          RTPs are the same as for Business Economic Loss Claims.

Failed Business Claims            No RTP.

Failed Start-up Business Claims   No RTP.

Multi-Facility Business           The RTP is determined per Business Economic Loss Claims as
                                  applied through the Compensation for Multi-Facility Businesses
                                  framework.
Individual Economic Loss Claims

Category I, II & III Claimants    The presumption is that the RTP shall be determined by the
                                  industry of the Individual’s employer and the Zone in which the
                                  Individual’s employer is located. However, a Claimant may
                                  establish an alternative Zone to be used for the RTP by
                                  demonstrating that primary employment activities and
                                  responsibilities were performed in a location different from the
                                  employer’s business address and the claimed DWH spill-related
                                  economic loss occurred in that location.

                                     Employed by business satisfying the Tourism Definition and
                                      located in Zone A -- RTP is 2.50.
                                     Employed by business satisfying the Tourism Definition and
                                      located in Zone B -- RTP is 2.00.



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CLAIM TYPE                  RTP
                               Employed by business satisfying the Tourism Definition and
                                located in Zone C -- RTP is 2.00.
                               Employed by business satisfying the Tourism Definition and
                                located in Zone D -- RTP is 1.25.

                               Employed by business satisfying the Charter Fishing Definition
                                and located in Zone A, Zone B or Zone C -- RTP is 2.50.
                               Employed by business satisfying the Charter Fishing Definition
                                and located in Zone D -- RTP is 1.25.

                               Employed by business satisfying the Primary Seafood Processor
                                Definition in the Seafood Distribution Chain Definitions who
                                processes Shrimp/Crab/Oyster and is located in Zone A, Zone
                                B, Zone C or Zone D -- RTP is 3.00.
                               Employed by business satisfying the Primary Seafood Processor
                                Definition in the Seafood Distribution Chain Definitions who
                                processes Seafood other than Shrimp/Crab/Oyster and is
                                located in Zone A, Zone B, Zone C or Zone D -- RTP is 2.25.

                               Employed by business satisfying the Landing Site or
                                Commercial Wholesale or Retail Dealer A Definitions in the
                                Seafood Distribution Chain Definitions and is located in Zone A,
                                Zone B, Zone C or Zone D -- RTP is 2.25.

                               Employed by business satisfying the Commercial Wholesale or
                                Retail Dealer B, Secondary Seafood Processor, Seafood
                                Wholesaler or Distributor, or Seafood Retailer Definitions in
                                the Seafood Distribution Chain Definitions and is located in
                                Zone A, Zone B, Zone C or Zone D -- RTP is 2.25.

                               Employed by Non-Tourism and Non-Seafood Business in Zone
                                A -- RTP is 1.50.
                               Employed by Non-Tourism and Non-Seafood Business in Zone
                                B -- RTP is 1.25.
                               Employed by Non-Tourism and Non-Seafood Business in Zone
                                C -- RTP is 0.25.
                               Employed by Non-Tourism and Non-Seafood Business in Zone
                                D -- RTP is 0.25.

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CLAIM TYPE                      RTP
Category IV Claimants           Only Claimants who, in 2011, (1) continued to be employed in a
                                position the same as, or similar to, the Claiming Job, and (2) still
                                lived within 60 miles of their place of employment, receive an RTP
                                of 1.
Individual Periodic Vendors     RTP is 1.


Festival Vendors                   For Festival Vendor with documentation establishing loss of
                                    earnings from festivals -- RTP is 1.
                                 For Festival Vendor without sufficient documentation of
                                    earnings from festival sales who relies on Festival Coordinator
                                    Sworn Statements -- No RTP.
Seafood Program Claims          RTPs in respect of Seafood Program Claims are set forth elsewhere
                                in the Settlement Agreement.
Subsistence Claims              RTP is 2.25.

VoO Charter Payment             No RTP.


Vessel Physical Damage          No RTP.


Coastal Real Property Claims    An RTP of 2.50 is applied to the Coastal Real Property
                                Compensation Amount. No RTP for physical damage
                                compensation.
Wetlands Real Property Claims   An RTP of 2.50 is applied to the Wetlands Real Property
                                Compensation Amount. No RTP for physical damage
                                compensation.
Real Property Sales             No RTP.




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                                                                Excluded Industries Chart
   Exclusion: Claims for recovery of Moratoria Losses are excluded from the Economic and Property Damages Settlement Class, and
              no Class Member shall recover for Moratoria Losses.

   Definition: “Moratoria Losses” means any loss whatsoever caused by or resulting from federal regulatory action or inaction
               directed at offshore oil industry activity – including shallow water and deepwater activity – that occurred after May
               28, 2010, including the federal moratoria on offshore permitting and drilling activities imposed on May 28, 2010 and
               July 12, 2010 and new or revised safety rules, regulations, inspections, or permitting practices.

Oil & Gas Industry1                              Support Services to Oil & Gas Industry2                              Gaming, Banking, Insurance, Funds,
                                                                                                                      Defense Contractors, and Developers3
Businesses / Employers                           Businesses / Employers                                               Businesses / Employers

   •   Excluded from the Economic &                  •    Businesses / employers on the list of “Industry                 •    Businesses / employers in these
       Property Damages Settlement                        Types Subject to Automatic Review by Claims                          categories of excluded industries are
       Class.                                             Administrator for Potential Moratoria Losses” in                     barred from recovery in the settlement
                                                          Section I of “Industry Types Subject to Review by                    for any type of business economic
                                                          Claims Administrator for Potential Moratoria                         losses.
                                                          Losses” shall be subject to automatic review for
                                                          potential moratoria losses upon submission of                   •    Businesses / employers in these
                                                          business claim, based on the NAICS code shown on                     categories are permitted to pursue
                                                          claimant’s 2010 tax return or business permit, or                    coastal and wetlands claims.
                                                          other evidence of the business’s activities that
                                                          allow the Claims Administrator to determine                     •    No recovery permitted for businesses /
                                                          whether a business falls under the Support Services                  employers in these categories under
                                                          to Oil & Gas Industry. The Claims Administrator                      any other aspect of the Economic &

   1
     NAICS codes listed in “’Oil & Gas Industry Exclusions” (026694‐26703).
   2
     NAICS Codes listed in Sections I & II of “Industry Types Subject to Review by Claims Administrator for Potential Moratoria Losses” (026613‐ 026631).
   3
     NAICS Codes listed in “Economic Loss and Property Class Definition Exclusions” (028759 - 028772).

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                                                         shall create dedicated team to evaluate business                     Property Damage Settlement Class.
                                                         economic loss claims from such businesses /
                                                         employers.

                                                    •    Businesses / employers on the list of “Industry
                                                         Types Subject to Question Regarding Support
                                                         Services to Oil & Gas Industry and Possible Review
                                                         by Claims Administrator for Potential Moratoria
                                                         Losses,” in Section II of “Industry Types Subject to
                                                         Review by Claims Administrator for Potential
                                                         Moratoria Losses,” based on the NAICS code shown
                                                         on claimant’s 2010 tax return or business permit, or
                                                         other evidence of the business’s activities that
                                                         allow the Claims Administrator to determine
                                                         whether a business falls under the Support Services
                                                         to Oil & Gas Industry are subject to the following
                                                         question: “In 2009, did your business provide
                                                         significant services, goods, and/or supplies to
                                                         businesses in the offshore oil & gas industry in the
                                                         Gulf of Mexico?”4 If the claimant responds
                                                         affirmatively, its claim shall be routed by the Claims
                                                         Administrator to a team dedicated to the
                                                         evaluation of business economic loss claims for
                                                         potential moratoria losses. Claimant shall be
                                                         required to provide supplemental information in
                                                         order for Claims Administrator to conduct this
                                                         review. If the claimant responds negatively, its
                                                         claim proceeds under normal processing.

                                                    •    All businesses / employers in this category are
                                                         barred from recovery for moratoria damages.

4
    See the NAICS Codes listed in Section II of “Industry Types Subject to Review by Claims Administrator for Potential Moratoria Losses” (026613 ‐ 026631).
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                  •   No businesses / employers in this category release
                      moratoria claims.



                  •   All businesses / employers in this category
                      permitted to pursue business economic loss claims
                      for (i) non‐moratoria business interruption from Oil
                      & Gas industry support service activities & (ii) non‐
                      Oil & Gas Industry economic losses, but claimant
                      must establish (i) & (ii) were in the judgment of the
                      Administrator due to or resulting from the DWH
                      Spill.

                  •   The standard business economic loss frameworks
                      for causation shall apply to non‐moratoria losses.
                      Causation shall be determined prior to the
                      determination of the Moratorium Loss. However, if
                      in the judgment of the administrator, the result of
                      this causation test is driven predominantly by the
                      inclusion of the moratorium losses in the
                      calculation, then the administrator shall conduct an
                      individual review of the claim file to determine
                      whether the non‐moratorium portion of the loss
                      was in whole or in part due to or resulting from the
                      DWH Spill.

                  •   In determinations of moratoria losses, the standard
                      business economic loss framework shall not apply.
                      Rather, the Claims Administrator’s dedicated team
                      shall be given parameters agreed upon by the
                      parties that must be applied to distinguish among
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                                                economic loss due to or resulting from (i) moratoria
                                                and (ii) non‐moratoria economic loss.

                                            •   BP and PSC to develop agreed upon guidance that
                                                the Claims Administrator shall apply in making
                                                compensation determinations that adhere to the
                                                moratoria exclusion in the settlement agreement.

                                                 •   In general, one of the parameters shall be that
                                                     the Claims Administrator shall be directed to
                                                     calculate the claimant’s non‐moratoria
                                                     economic loss due to or resulting from the
                                                     DWH Spill by isolating losses that occurred
                                                     prior to imposition of the moratoria on May
                                                     28, 2010, and any continuation of such losses
                                                     that might have been expected in the absence
                                                     of the moratoria. The incremental impact of
                                                     the moratoria on claimant’s losses generally
                                                     would not be recoverable in the settlement.

                                            •   RTP applied only to the claimant’s base economic
                                                loss, if any, that the Claims Administrator
                                                determines is non‐moratoria economic loss due to
                                                or resulting from the DWH Spill. Claimant receives
                                                RTP for Other Industries for the zone in which it is
                                                located.

                                            •   Such businesses / employers are permitted to
                                                pursue all other recovery permitted under other
                                                aspects of Economic & Property Damage
                                                Settlement Class.

Individuals / Employees                  Individuals / Employees                                       Individuals / Employees
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•   Individuals / employees employed       •   An individual / employee claimant’s application         •   Individuals / employees employed by
    by businesses or employers in Oil          shall include sufficient evidence of their employer’s       businesses or employers in excluded
    & Gas Industry are barred from             business activities to allow the Claims                     industry category are barred from
    recovery in the settlement for any         Administrator to determine whether the business /           recovery in the settlement for any type
    type of individual economic loss           employer falls under the Support Services to Oil &          of individual economic loss claim for
    claim arising out of any                   Gas Industry NAICS codes in “Industry Types                 work performed for an excluded
    employment or former                       Subject to Review by Claims Administrator for               employer.
    employment within the Oil & Gas            Potential Moratoria Losses.”
    Industry.                                                                                          •   However, such individuals/employees
                                           •   Individuals / employees of businesses or employers          are permitted to pursue individual
•   However, such individuals /                on the list of “Industry Types Subject to Automatic         economic loss claims for other jobs
    employees are permitted to                 Review by Claims Administrator for Potential                outside of excluded industries. If any
    pursue individual economic loss            Moratoria Losses” in Section I of “Industry Types           of claimant’s other jobs is for a
    claims for other jobs outside of           Subject to Review by Claims Administrator for               business / employer in the Support
    excluded industries. If any of             Potential Moratoria Losses” are subject to                  Services to Oil & Gas Industry,
    claimant’s other jobs is for a             automatic review for potential moratoria losses             evaluation of the claimant’s individual
    business / employer in the Support         upon submission of an individual claim and are              economic loss claim shall proceed
    Services to Oil & Gas Industry,            routed by Claims Administrator to dedicated team            pursuant to requirements specified in
    evaluation of the claimant’s               for evaluation of individual economic loss claims           Support Services to Oil & Gas Industry
    individual economic loss claim,            from such employees.                                        column of this chart. If all the
    shall proceed pursuant to                                                                              claimant’s other jobs are for a business
    requirements specified in Support      •    Individuals / employees of businesses / employers          / employer other than an employer in
    Services to Oil & Gas Industry             on the list of “Industry Types Subject to Question          the Oil & Gas Industry or Support
    column of this chart. If all the           Regarding Support Services to Oil & Gas Industry            Services to Oil & Gas Industry, then the
    claimant’s other jobs are for a            and Possible Review by Claims Administrator for             claimant’s claim shall be evaluated
    business / employer other than an          Potential Moratoria Losses” in Section II of                under the standard framework for
    excluded industry, business /              “Industry Types Subject to Review by Claims                 economic loss claims.
    employer in the Oil & Gas                  Administrator for Potential Moratoria Losses” and
    Industry, or Support Services to Oil       whose business / employer affirms that in 2009 the      •   Such individuals / employees are
    & Gas Industry, then the                   business / employer provided significant services,          permitted to pursue all other recovery
    claimant’s claim shall be evaluated        goods, and/or supplies to businesses in the                 permitted under other aspects of
    under the standard frameworks              offshore oil & gas industry in the Gulf of Mexico           Economic & Property Damage
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    for economic loss claims.                 shall be subject to review for potential moratoria         Settlement Class.
                                              losses upon submission of an individual claim and
•   Such individuals / employees are          are routed by Claims Administrator to dedicated        •   All individuals / employees in this
    permitted to pursue all other             team to evaluation of individual economic loss             category are barred from recovery for
    recovery permitted under other            claims from such employees. Claimant shall be              moratoria damages.
    aspects of Economic & Property            required to provide supplemental information in
    Damage Settlement Class.                  order for Claims Administrator to conduct this         •   Individuals / employees in this category
                                              review.                                                    do not release moratoria claims or
•   All individuals / employees in this                                                                  claims for excluded losses.
    category are barred from recovery     •   An individual / employee claimant will not be
    for moratoria damages.                    subject to automatic review for potential moratoria
                                              losses if, before the individual / employee’s
•   Individuals / employees in this           economic loss claim is approved for payment, his
    category do not release moratoria         business / employer already has been approved for
    claims.                                   claim compensation by the Claims Administrator
                                              with no Moratorium Losses deducted.

                                          •   All individuals / employees in this category are
                                              barred from recovery for moratoria damages.

                                          •   No individuals / employees in this category release
                                              moratoria claims.

                                          •   All individuals / employees in this category are
                                              permitted to pursue settlement claims for
                                              economic loss incurred as a result of their
                                              employment in the Support Services to Oil & Gas
                                              Industry for (i) non‐moratoria business interruption
                                              from Oil & Gas industry support service activities &
                                              (ii) non Oil & Gas Industry economic losses.
                                              Claimant must establish (i) & (ii) were due to or
                                              resulting from the DWH Spill.


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                  •   No causation presumptions for any individuals /
                      employees in this category seeking recovery for
                      economic losses incurred as a result of their
                      employment in the Support Services to Oil & Gas
                      Industry. However, the standard individual
                      economic loss Causation Presumptions do apply to
                      economic losses incurred not in the Support of
                      Services to the Oil & Gas Industry as reflected in the
                      businesses identified within the NAICS codes
                      attached.

                  •   In determinations of moratoria losses, the standard
                      individual economic loss framework shall not apply.
                      Rather, the Claims Administrator shall distinguish
                      for a claimant’s Support Services to Oil & Gas
                      Industry job among economic loss due to or
                      resulting from (i) moratoria and (ii) non‐moratoria
                      economic loss. BP and PSC to develop agreed upon
                      guidance that the Claims Administrator shall apply
                      in making compensation determinations that
                      adhere to the moratoria exclusion in the settlement
                      agreement.

                  •   With regard to the claimant’s Support Services to
                      Oil & Gas Industry job, he or she shall be eligible to
                      payment pursuant to the settlement only for non‐
                      moratoria economic losses due to or resulting from
                      the DWH Spill, based upon BP & PSC guidance to
                      Claims Administrator.

                      •     In general, one of the parameters shall be
                            whether individuals lost their job more than
                            thirty (30) days after the May 28, 2010
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                            moratorium, which will generally indicate
                            that the individual incurred such economic
                            losses as the result of the moratorium, not
                            due to or as a result of the DWH spill.

                      •     In general, one of the parameters shall be
                            whether individuals experienced reduced
                            hours prior the moratorium but did not lose
                            their job, which will generally indicate that
                            the full value of the lost earnings through
                            December 2010 were losses due to the DWH
                            Spill and not due to the moratorium.

                  •   For the claimant’s Support Services to Oil & Gas
                      Industry job, an RTP shall be applied only to the
                      base economic loss, if any, that the Claims
                      Administrator determines is non‐moratoria
                      economic loss due to or resulting from the DWH
                      Spill. Claimant receives the RTP for Other
                      Industries for the zone in which employer is
                      located.

                  •   Claimants in this category are permitted to pursue
                      individual economic loss claims for other jobs
                      outside the Support Service to Oil & Gas Industry
                      under standard individual economic loss
                      frameworks.

                  •   Claimants in this category are permitted to pursue
                      all other recovery permitted under other aspects of
                      Economic & Property Damage Settlement Class.



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                                    Oil & Gas Industry Exclusions
Business Entities within the NAICS Code descriptions set forth below are excluded from the class.
Natural Persons employed by a Business Entity within the NAICS Code descriptions set forth below are
excluded to the extent and in the manner set forth in the Excluded Industries Chart (Bates Nos. 026686 ‐
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The Claims Administrator shall determine the appropriate NAICS code for a Business Entity based on his
review of (a) the NAICS code shown on a Business Entity claimant’s 2010 tax return, (b) 2010 business
permits or license(s), and/or (c) other evidence of the business’s activities necessary for the Claims
Administrator to determine the appropriate NAICS code.

 211111 ‐ Crude Petroleum and Natural Gas Extraction
         This U.S. industry comprises establishments primarily engaged in (1) the exploration, development
         and/or the production of petroleum or natural gas from wells in which the hydrocarbons will
         initially flow or can be produced using normal pumping techniques or (2) the production of crude
         petroleum from surface shales or tar sands or from reservoirs in which the hydrocarbons are
         semisolids. Establishments in this industry operate oil and gas wells on their own account or for
         others on a contract or fee basis.
                     Coal gasification at mine site
                     Coal liquefaction at mine site
                     Coal pyrolysis
                     Crude petroleum from oil sand
                     Crude petroleum from oil shale
                     Crude petroleum production
                     Gas, natural, extraction
                     Kerogen processing
                     Lease condensate production
                     Natural gas production
                     Natural gas, offshore production
                     Offshore crude petroleum production
                     Offshore natural gas production
                     Oil and gas field development for own account
                     Oil and gas field exploration for own account
                     Oil shale mining and/or beneficiating
                     Petroleum, crude, production (i.e., extraction)
                     Shale, oil, mining and/or beneficiating
                     Stripper well production
                     Tar sands mining
 211112 ‐ Natural Gas Liquid Extraction
         This U.S. industry comprises establishments primarily engaged in the recovery of liquid
         hydrocarbons from oil and gas field gases. Establishments primarily engaged in sulfur recovery
         from natural gas are included in this industry.
                     Butane, natural, mining
                     Casing‐head butane and propane production
                     Condensate, cycle, natural gas production
                     Cycle condensate production
                     Ethane recovered from oil and gas field gases
                     Fractionating natural gas liquids




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                     Gas, natural liquefied petroleum, extraction
                     Gas, natural, liquids, extraction
                     Gas, residue, extraction
                     Gases, petroleum, liquefied, extraction
                     Gasoline, natural, production
                     Isobutane recovered from oil and gas field gases
                     Isopentane recovered from oil and gas field gases
                     Liquefied petroleum gases (LPG), natural
                     Liquid hydrocarbons recovered from oil and gas field gases
                     Liquids, natural gas (e.g., ethane, isobutane, natural gasoline, propane) recovered from
                     oil and gas field gases
                     Natural gas liquids (e.g., ethane, isobutane, natural gasoline, propane) recovered from
                     oil and gas field gases
                     Natural gasoline recovered from oil and gas field gases
                     Oil line drip, natural gas liquid
                     Petroleum gases, liquefied, recovering from oil and gas field gases
                     Propane recovered from oil and gas field gases
                     Residue gas production
                     Sulfur recovered from natural gas
213111 ‐ Drilling Oil and Gas Wells
        This U.S. industry comprises establishments primarily engaged in drilling oil and gas wells for
        others on a contract or fee basis. This industry includes contractors that specialize in spudding in,
        drilling in, redrilling, and directional drilling.
                     Directional drilling of oil and gas wells on a contract basis
                     Drilling directional oil and gas field wells on a contract basis
                     Drilling for gas on a contract basis
                     Drilling for oil on a contract basis
                     Drilling gas and oil field wells on a contract basis
                     Drilling oil and gas field service wells on a contract basis
                     Drilling water intake wells, oil and gas field on a contract basis
                     Gas well drilling on a contract basis

                     Oil and gas well drilling services (redrilling, spudding, tailing) on a contract basis
                     Oil well drilling on a contract basis
                     Reconditioning oil and gas field wells on a contract basis
                     Reworking oil and gas wells on a contract basis
                     Service well drilling on a contract basis
                     Spudding in oil and gas wells on a contract basis
                     Tailing in oil and gas field wells on a contract basis
                     Water intake well drilling, oil and gas field on a contract basis
                     Well drilling (i.e., oil, gas, water intake wells) on a contract basis
                     Workover of oil and gas wells on a contract basis
213112 ‐ Support Activities for Oil and Gas Operations
        This U.S. industry comprises establishments primarily engaged in performing support activities on
        a contract or fee basis for oil and gas operations (except site preparation and related construction
        activities). Services included are exploration (except geophysical surveying and mapping);
        excavating slush pits and cellars, well surveying; running, cutting, and pulling casings, tubes, and
        rods; cementing wells, shooting wells; perforating well casings; acidizing and chemically treating
        wells; and cleaning out, bailing, and swabbing wells.




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            Acidizing oil and gas field wells on a contract basis
            Building oil and gas well foundations on a contract basis
            Building, erecting, repairing, and dismantling oil and gas field rigs and derricks on a
            contract basis
            Cementing oil and gas well casings on a contract basis
            Chemically treating oil and gas wells (e.g., acidizing, bailing, swabbing) on a contract
            basis
            Cleaning oil and gas field lease tanks on a contract basis

            Cleaning out (e.g., bailing out, steam cleaning, swabbing) wells on a contract basis
            Cleaning wells on a contract basis

            Cleaning, repairing, and dismantling oil and gas field lease tanks on a contract basis
            Contract services (except site preparation and related construction contractor activities)
            for oil and gas fields
            Core cutting in oil and gas wells, on a contract basis
            Core drilling, exploration services, oil and gas field
            Cutting cores in oil and gas wells on a contract basis

            Derrick building, repairing, and dismantling at oil and gas fields on a contract basis
            Dismantling of oil well rigs on a contract basis
            Drilling rat holes and mouse holes at oil and gas fields on a contract basis
            Drilling shot holes at oil and gas fields on a contract basis
            Drilling site preparation at oil and gas fields on a contract basis
            Drill‐stem testing in oil, gas, dry, and service well drilling on a contract basis

            Excavating mud pits, slush pits, and cellars at oil and gas fields on a contract basis
            Exploration services for oil and gas (except geophysical surveying and mapping) on a
            contract basis
            Fishing for tools at oil and gas fields on a contract basis
            Gas well rig building, repairing, and dismantling on a contract basis
            Gas, compressing natural, in the field on a contract basis
            Geological exploration (except surveying) for oil and gas on a contract basis

            Geophysical exploration (except surveying) for oil and gas on a contract basis
            Hard banding oil and gas field service on a contract basis
            Hot oil treating of oil field tanks on a contract basis
            Hot shot service on a contract basis
            Hydraulic fracturing wells on a contract basis
            Impounding and storing salt water in connection with petroleum production
            Installing production equipment at the oil or gas field on a contract basis
            Lease tank cleaning and repairing on a contract basis
            Logging wells on a contract basis
            Mouse hole and rat hole drilling at oil and gas fields on a contract basis
            Mud service for oil field drilling on a contract basis
            Oil and gas field services (except contract drilling, site preparation and related
            construction contractor activities) on a contract basis
            Oil field exploration (except surveying) on a contract basis
            Oil sampling services on a contract basis
            Oil well logging on a contract basis




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                   Oil well rig building, repairing, and dismantling, on a contract basis
                   Paraffin services, oil and gas field, on a contract basis
                   Perforating oil and gas well casings on a contract basis
                   Pipe testing services, oil and gas field, on a contract basis
                   Plugging and abandoning wells on a contract basis
                   Preparation of oil and gas field drilling sites (except site preparation and related
                   construction contractor activities) on a contract basis
                   Pulling oil and gas field casings, tubes, or rods on a contract basis
                   Pumping oil and gas wells on a contract basis
                   Rathole and mousehole drilling at oil and gas fields on a contract basis

                   Removal of condensate gasoline from field gathering lines on a contract basis
                   Rig skidding, oil and gas field, on a contract basis
                   Roustabout mining services, on a contract basis
                   Salt water disposal systems, oil and gas field, on a contract basis
                   Sand blasting pipelines on lease, oil and gas field on a contract basis

                   Seismograph exploration (except surveying) for oil and gas on a contract basis
                   Servicing oil and gas wells on a contract basis
                   Shot hole drilling, oil and gas field, on a contract basis
                   Skidding of rigs, oil and gas field, on a contract basis
                   Slush pits and cellars, excavation of, on a contract basis
                   Steam cleaning oil and gas wells on a contract basis
                   Stratigraphic drilling, oil and gas field exploration on a contract basis
                   Surveying (except seismographic) oil or gas wells on a contract basis
                   Swabbing oil or gas wells on a contract basis

                   Well casing running, cutting and pulling, oil and gas field on a contract basis
                   Well logging, oil and gas field, on a contract basis
                   Well plugging, oil and gas field, on a contract basis
                   Well pumping, oil and gas field, on a contract basis
                   Well servicing, oil and gas field, on a contract basis
                   Well surveying, oil and gas field, on a contract basis
                   Wireline services, oil and gas field, on a contract basis
221210 ‐ Natural Gas Distribution
        This industry comprises: (1) establishments primarily engaged in operating gas distribution
        systems (e.g., mains, meters); (2) establishments known as gas marketers that buy gas from the
        well and sell it to a distribution system; (3) establishments known as gas brokers or agents that
        arrange the sale of gas over gas distribution systems operated by others; and (4) establishments
        primarily engaged in transmitting and distributing gas to final consumers.

                   Blue gas, carbureted, production and distribution
                   Coke oven gas, production and distribution
                   Distribution of manufactured gas
                   Distribution of natural gas
                   Gas, manufactured, production and distribution
                   Gas, mixed natural and manufactured, production and distribution
                   Gas, natural, distribution
                   Liquefied petroleum gas (LPG) distribution through mains
                   Manufactured gas production and distribution




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                     Natural gas brokers
                     Natural gas distribution systems
                     Natural gas marketers
237120 ‐ Oil and Gas Pipeline and Related Structures Construction
        This industry comprises establishments primarily engaged in the construction of oil and gas lines,
        mains, refineries, and storage tanks. The work performed may include new work, reconstruction,
         rehabilitation, and repairs. Specialty trade contractors are included in this group if they are
        engaged in activities primarily related to oil and gas pipeline and related structures construction.
        All structures (including buildings) that are integral parts of oil and gas networks (e.g., storage
        tanks, pumping stations, and refineries) are included in this industry.



                    Compressor, metering and pumping station, gas and oil pipeline, construction
                    Construction management, oil and gas pipeline
                    Construction management, oil refinery and petrochemical complex
                    Corrosion protection, underground pipeline and oil storage tank
                    Distribution line, gas and oil, construction
                    Gas main construction
                    Gathering line, gas and oil field, construction
                    Natural gas pipeline construction
                    Natural gas processing plant construction
                    Oil and gas field distribution line construction
                    Oil pipeline construction
                    Oil refinery construction
                    Petrochemical plant construction
                    Petroleum refinery construction
                    Pipe lining (except thermal insulating) contractors
                    Pipeline construction on oil and gas field gathering lines to point of distribution on a
                    contract basis
                    Pipeline rehabilitation contractors
                    Pipeline wrapping contractors
                    Pipeline, gas and oil, construction
                    Pumping station, gas and oil transmission, construction
                    Refinery, petroleum, construction
                    Service line, gas and oil, construction
                    Storage tank, natural gas or oil, tank farm or field, construction
324110 ‐ Petroleum Refineries
        This industry comprises establishments primarily engaged in refining crude petroleum into refined
        petroleum. Petroleum refining involves one or more of the following activities: (1) fractionation;
        (2) straight distillation of crude oil; and (3) cracking.
                    Acid oils made in petroleum refineries
                    Aliphatic chemicals (i.e., acyclic) made in petroleum refineries
                    Alkylates made in petroleum refineries
                    Asphalt and asphaltic materials made in petroleum refineries
                    Asphalt paving mixtures made in petroleum refineries
                    Aviation fuels manufacturing
                    Benzene made in petroleum refineries
                    Butylene (i.e., butene) made in petroleum refineries
                    Coke, petroleum, made in petroleum refineries
                    Crude oil refining




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                    Crude petroleum refineries
                    Cumene made in petroleum refineries
                    Cyclic aromatic hydrocarbons made in petroleum refineries
                    Diesel fuels made in petroleum refineries
                    Ethylene made in petroleum refineries
                    Fuel oils manufacturing
                    Fuels, jet, manufacturing
                    Gasoline made in petroleum refineries
                    Heating oils made in petroleum refineries
                    Hydraulic fluids made in petroleum refineries
                    Jet fuels manufacturing
                    Kerosene manufacturing
                    Liquefied petroleum gas (LPG) made in refineries
                    Lubricating oils and greases made in petroleum refineries
                    Naphtha made in petroleum refineries
                    Naphthenic acids made in petroleum refineries
                    Oil (i.e., petroleum) refineries
                    Oil additives made in petroleum refineries
                    Oils, fuel, manufacturing
                    Paraffin waxes made in petroleum refineries
                    Petrochemical feedstocks made in petroleum refineries
                    Petrochemicals made in petroleum refineries
                    Petroleum coke made in petroleum refineries
                    Petroleum cracking and reforming
                    Petroleum distillation
                    Petroleum jelly made in petroleum refineries
                    Petroleum lubricating oils made in petroleum refineries
                    Petroleum refineries
                    Propane gases made in petroleum refineries
                    Propylene (i.e., propene) made in petroleum refineries
                    Refineries, petroleum
                    Refinery gases made in petroleum refineries
                    Road oils made in petroleum refineries
                    Solvents made in petroleum refineries
                    Still gases made in petroleum refineries
                    Styrene made in petroleum refineries
                    Tar made in petroleum refineries
                    Toluene made in petroleum refineries
                    Waxes, petroleum, made in petroleum refineries
                    Xylene made in petroleum refineries
324191 ‐ Petroleum Lubricating Oil and Grease Manufacturing
        This U.S. industry comprises establishments primarily engaged in blending or compounding refined
        petroleum to make lubricating oils and greases and/or re‐refining used petroleum lubricating oils.

                   Brake fluids, petroleum, made from refined petroleum
                   Cutting oils made from refined petroleum
                   Greases, petroleum lubricating, made from refined petroleum
                   Grinding oils, petroleum, made from refined petroleum
                   Hydraulic fluids, petroleum, made from refined petroleum
                   Lubricating oils and greases, petroleum, made from refined petroleum




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                    Motor oils, petroleum, made from refined petroleum
                    Oils, lubricating petroleum, made from refined petroleum
                    Oils, petroleum lubricating, re‐refining used
                    Petroleum lubricating oils made from refined petroleum
                    Re‐refining used petroleum lubricating oils
                    Rust arresting petroleum compounds made from refined petroleum
                    Transmission fluids, petroleum, made from refined petroleum
324199 ‐ All Other Petroleum and Coal Products Manufacturing
        This U.S. industry comprises establishments primarily engaged in manufacturing petroleum
        products (except asphalt paving, roofing, and saturated materials and lubricating oils and greases)
        from refined petroleum and coal products made in coke ovens not integrated with a steel mill.

                   Boulets (i.e., fuel bricks) made from refined petroleum
                   Briquettes, petroleum, made from refined petroleum
                   Calcining petroleum coke from refined petroleum

                    Coke oven products (e.g., coke, gases, tars) made in coke oven establishments
                    Fuel briquettes or boulets made from refined petroleum
                    Oil‐based additives made from refined petroleum
                    Petroleum jelly made from refined petroleum
                    Petroleum waxes made from refined petroleum
                    Road oils made from refined petroleum
                    Waxes, petroleum, made from refined petroleum
325110 ‐ Petrochemical Manufacturing
        This industry comprises establishments primarily engaged in (1) manufacturing acyclic (i.e.,
        aliphatic) hydrocarbons such as ethylene, propylene, and butylene made from refined petroleum
        or liquid hydrocarbon and/or (2) manufacturing cyclic aromatic hydrocarbons such as benzene,
        toluene, styrene, xylene, ethyl benzene, and cumene made from refined petroleum or liquid
        hydrocarbons.
                   Acyclic hydrocarbons (e.g., butene, ethylene, propene) (except acetylene) made from
                   refined petroleum or liquid hydrocarbons
                   Aliphatic (e.g., hydrocarbons) (except acetylene) made from refined petroleum or liquid
                   hydrocarbons
                   Benzene made from refined petroleum or liquid hydrocarbons
                   Butadiene made from refined petroleum or liquid hydrocarbons
                   Butane made from refined petroleum or liquid hydrocarbons
                   Butylene made from refined petroleum or liquid hydrocarbons
                   Cumene made from refined petroleum or liquid hydrocarbons

                   Cyclic aromatic hydrocarbons made from refined petroleum or liquid hydrocarbons
                   Dodecene made from refined petroleum or liquid hydrocarbons
                   Ethane made from refined petroleum or liquid hydrocarbons
                   Ethylbenzene made from refined petroleum or liquid hydrocarbons
                   Ethylene made from refined petroleum or liquid hydrocarbons
                   Heptanes made from refined petroleum or liquid hydrocarbons
                   Heptenes made from refined petroleum or liquid hydrocarbons
                   Isobutane made from refined petroleum or liquid hydrocarbons
                   Isobutene made from refined petroleum or liquid hydrocarbons
                   Isoprene made from refined petroleum or liquid hydrocarbons
                   Nonene made from refined petroleum or liquid hydrocarbons




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                    Olefins made from refined petroleum or liquid hydrocarbons
                    Paraffins made from refined petroleum or liquid hydrocarbons
                    Pentanes made from refined petroleum or liquid hydrocarbons
                    Pentenes made from refined petroleum or liquid hydrocarbons
                    Propylene made from refined petroleum or liquid hydrocarbons
                    Styrene made from refined petroleum or liquid hydrocarbons
                    Toluene made from refined petroleum or liquid hydrocarbons
                    Xylene made from refined petroleum or liquid hydrocarbons
325120 ‐ Industrial Gas Manufacturing
        This industry comprises establishments primarily engaged in manufacturing industrial organic and
        inorganic gases in compressed, liquid, and solid forms.
                    Acetylene manufacturing
                    Argon manufacturing
                    Carbon dioxide manufacturing
                    Chlorodifluoromethane manufacturing
                    Chlorofluorocarbon gases manufacturing
                    Compressed and liquefied industrial gas manufacturing
                    Dichlorodifluoromethane manufacturing
                    Dry ice (i.e., solid carbon dioxide) manufacturing
                    Fluorinated hydrocarbon gases manufacturing
                    Fluorocarbon gases manufacturing
                    Gases, industrial (i.e., compressed, liquefied, solid), manufacturing
                    Helium manufacturing
                    Helium recovery from natural gas
                    Hydrogen manufacturing
                    Ice, dry, manufacturing
                    Industrial gases manufacturing
                    Liquid air manufacturing
                    Monochlorodifluoromethane manufacturing
                    Neon manufacturing
                    Nitrogen manufacturing
                    Nitrous oxide manufacturing
                    Oxygen manufacturing
333132 ‐ Oil and Gas Field Machinery and Equipment Manufacturing
        This U.S. industry comprises establishments primarily engaged in (1) manufacturing oil and gas
        field machinery and equipment, such as oil and gas field drilling machinery and equipment; oil and
        gas field production machinery and equipment; and oil and gas field derricks and (2)
        manufacturing water well drilling machinery.
                    Bits, rock drill, oil and gas field‐type, manufacturing
                    Christmas tree assemblies, oil and gas field‐type, manufacturing
                    Derricks, oil and gas field‐type, manufacturing
                    Drilling equipment, oil and gas field‐type, manufacturing
                    Drilling rigs, oil and gas field‐type, manufacturing
                    Gas well machinery and equipment manufacturing
                    Oil and gas field‐type drilling machinery and equipment (except offshore floating
                    platforms) manufacturing
                    Rock drill bits, oil and gas field‐type, manufacturing
                    Water well drilling machinery manufacturing
                    Well logging equipment manufacturing
424710 ‐ Petroleum Bulk Stations and Terminals




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        This industry comprises establishments with bulk liquid storage facilities primarily engaged in the
        merchant wholesale distribution of crude petroleum and petroleum products, including liquefied
        petroleum gas.
                   Bulk gasoline stations
                   Bulk stations, petroleum
                   Crude oil terminals
                   Fuel oil bulk stations and terminals
                   Gasoline bulk stations and terminals
                   Liquefied petroleum gas (LPG) bulk stations and terminals
                   Lubricating oils and greases bulk stations and terminals
                   Oil, petroleum, bulk stations and terminals
                   Petroleum and petroleum products bulk stations and terminals
                   Propane bulk stations and terminals
                   Terminals, petroleum
424720 ‐ Petroleum and Petroleum Products Merchant Wholesalers (except Bulk Stations and Terminals)
        This industry comprises establishments primarily engaged in the merchant wholesale distribution
        of petroleum and petroleum products (except from bulk liquid storage facilities).
                   Crude oil merchant wholesalers (except bulk stations, terminals)
                   Fuel oil merchant wholesalers (except bulk stations, terminals)
                   Fuel oil truck jobbers
                   Fueling aircraft (except on contract basis)
                   Gasoline merchant wholesalers (except bulk stations, terminals)

                    Liquefied petroleum gas (LPG) merchant wholesalers (except bulk stations, terminals)

                   Lubricating oils and greases merchant wholesalers (except bulk stations, terminals)
                   Oil, petroleum, merchant wholesalers (except bulk stations, terminals)
                   Petroleum and petroleum products merchant wholesalers (except bulk stations,
                   terminals)
486110 ‐ Pipeline Transportation of Crude Oil
        This industry comprises establishments primarily engaged in the pipeline transportation of crude
        oil.
                   Booster pumping station, crude oil transportation
                   Crude oil pipeline transportation
                   Petroleum pipelines, crude
                   Pipeline transportation, crude oil
486210 ‐ Pipeline Transportation of Natural Gas
        This industry comprises establishments primarily engaged in the pipeline transportation of natural
        gas from processing plants to local distribution systems.
                   Booster pumping station, natural gas transportation
                   Gas, natural, pipeline operation
                   Natural gas pipeline transportation

                   Natural gas transmission (i.e., processing plants to local distribution systems)
                   Pipeline transportation, natural gas
                   Storage of natural gas
                   Transmission of natural gas via pipeline (i.e., processing plants to local distribution
                   systems)
486910 ‐ Pipeline Transportation of Refined Petroleum Products




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        This industry comprises establishments primarily engaged in the pipeline transportation of refined
        petroleum products.
                   Booster pumping station, refined petroleum products transportation
                   Gasoline pipeline transportation
                   Natural gas liquids pipeline transportation
                   Petroleum pipelines, refined
                   Pipeline transportation, gasoline and other refined petroleum products
                    Refined petroleum products pipeline transportation
486990 ‐ All Other Pipeline Transportation
        This industry comprises establishments primarily engaged in the pipeline transportation of
        products except crude oil, natural gas, and refined petroleum products.

                   Booster pumping station (except natural gas, petroleum)
                   Coal pipeline transportation

                   Pipeline transportation (except crude oil, natural gas, refined petroleum products)
                   Slurry pipeline transportation




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                             Economic Loss and Property Class Definition Exclusions

                  (Gaming, Banking, Insurance, Funds, Defense Contractors, and Developers)

Business Entities within the NAICS Code descriptions set forth in Sections I-IV below, or within the
descriptions set forth below in Sections V (Defense Contractors) and VI (Developers and Sellers of Real
Property), and Natural Persons (Individuals) employed by such business entities, are excluded from the
class to the extent and in the manner set forth in the Excluded Industries Chart [026686 - 026693].1

With respect to claims by any Business Entity or by a Natural Person related to his or her employment by
a Business Entity, the Claims Administrator shall determine the appropriate NAICS code for the Business
Entity based on his review of (a) the NAICS code shown on a Business Entity claimant’s 2010 tax return,
(b) 2010 business permits or license(s), and/or (c) other evidence of the business’s activities necessary
for the Claims Administrator to determine the appropriate NAICS code.

For Defense Contractors and Real Estate Developers or Sellers, the applicability of the exclusion will be
determined by the Claims Administrator based upon his review of (a) the claimant’s 2010 tax return,
(b) 2010 business permits or license(s), and/or (c) other evidence of the relevant business’s or
individual’s activities necessary for the Claims Administrator to determine whether the exclusion
applies.


                       2
    I. Gaming Industry
         713210 - Casinos (except Casino Hotels)
              This industry comprises establishments primarily engaged in operating gambling facilities that
              offer table wagering games along with other gambling activities, such as slot machines and sports
              betting. These establishments often provide food and beverage services. Included in this industry
              are floating casinos (i.e., gambling cruises, riverboat casinos).
                            Casinos (except casino hotels)
                            Cruises, gambling
                            Floating casinos (i.e., gambling cruises, riverboat casinos)
                            Gambling cruises
                            Riverboat casinos
                            Stand alone casinos (except slot machine parlors)
         713290 - Other Gambling Industries
              This industry comprises establishments primarily engaged in operating gambling facilities (except
              casinos or casino hotels) or providing gambling services.
                            Bingo halls
                            Bingo parlors
                            Bookies
                            Bookmakers
                            Card rooms (e.g., poker rooms)

1
  Business Entities and Natural Persons (Individuals) also may be subject to other exclusions as set forth in the
Agreement in Principle Regarding Deepwater Horizon Economic and Property Damages Settlement.
2
  The following business types will not be excluded: (1) bingo parlors and (2) video gaming at truck stops, bars,
restaurants, hotels, racetracks, bingo parlors, and off-track betting parlors.
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                           Coin-operated gambling device concession operators (i.e., supplying and servicing in
                           others' facilities)
                           Gambling control boards, operating gambling activities
                           Gambling device arcades or parlors, coin-operated
                           Gambling device concession operators (i.e., supplying and servicing in others'
                           facilities), coin-operated
                           Lottery control boards (i.e., operating lotteries)
                           Lottery corporations
                           Lottery ticket sales agents (except retail stores)
                           Lottery ticket vendors (except retail stores)
                           Off-track betting parlors
                            Slot machine concession operators (i.e., supplying and servicing in others' facilities)
                            Slot machine parlors
                            Video gambling device concession operators (i.e., supplying and servicing in others'
                            facilities)
                            Video gaming device concession operators (i.e., supplying and servicing in others'
                            facilities)
         721120 - Casino Hotels
             This industry comprises establishments primarily engaged in providing short-term lodging in hotel
             facilities with a casino on the premises. The casino on premises includes table wagering games and
             may include other gambling activities, such as slot machines and sports betting. These
             establishments generally offer a range of services and amenities, such as food and beverage
             services, entertainment, valet parking, swimming pools, and conference and convention facilities.
                           Casino hotels
                           Hotels, casino
                           Hotels, resort, with casinos
                           Hotels, seasonal, with casinos
                           Resort hotels with casinos
          711212 - Racetracks
              This U.S. industry comprises establishments primarily engaged in operating racetracks. These
              establishments may also present and /or promote the events, such as auto, dog, and horse races,
              held in these facilities.
                           Automobile racetracks
                           Dog racetracks
                           Drag strips
                           Greyhound dog racetracks
                           Harness racetracks
                           Horse racetracks
                           Motorcycle racetracks
                           Racetracks (e.g., automobile, dog, horse)
                           Snowmobile racetracks
                           Speedways
                           Stock car racetracks
                           Thoroughbred racetracks
                         3
    II. Banking Industry


3
 The following business types will not be excluded: standalone ATM businesses, payday loans or paycheck advance
businesses.
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  522110 - Commercial Banking
      This industry comprises establishments primarily engaged in accepting demand and other deposits
      and making commercial, industrial, and consumer loans. Commercial banks and branches of
      foreign banks are included in this industry.
                    Banks, commercial
                    Branches of foreign banks
                    Commercial banking
                    Commercial banks
                    Depository trust companies
                    National commercial banks
                    State commercial banks
  522120 - Savings Institutions
      This U.S. industry comprises establishments primarily engaged in accepting time deposits, making
      mortgage and real estate loans, and investing in high-grade securities. Savings and loan
      associations and savings banks are included in this industry.
                    Associations, savings and loan
                    Banks, savings
                    Federal savings and loan associations (S&L)
                    Federal savings banks
                    Institutions, savings
                    Mutual savings banks
                    Savings and loan associations (S&L)
                    Savings banks
                    Savings institutions
                    State savings and loan associations
                    State savings banks
  522190 - Other Depository Credit Intermediation
      This industry comprises establishments primarily engaged in accepting deposits and lending funds
      (except commercial banking, savings institutions, and credit unions). Establishments known as
      industrial banks or Morris Plans and primarily engaged in accepting deposits, and private banks
      (i.e., unincorporated banks) are included in this industry.
                    Banks, industrial (i.e., known as), depository
                    Banks, private (i.e., unincorporated)
                    Industrial banks (i.e., known as), depository
                    Morris Plans (i.e., known as), depository
                    Plans, Morris (i.e., known as), depository
                    Private banks (i.e., unincorporated)
  522210 - Credit Card Issuing
      This industry comprises establishments primarily engaged in providing credit by issuing credit
      cards. Credit card issuance provides the funds required to purchase goods and services in return
      for payment of the full balance or payments on an installment basis. Credit card banks are
      included in this industry.
                 Banks, credit card
                 Charge card issuing
                 Credit card banks
                 Credit card issuing
                 Issuing, credit card
  522291 - Consumer Lending


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      This U.S. industry comprises establishments primarily engaged in making unsecured cash loans to
      consumers.
                    Consumer finance companies (i.e., unsecured cash loans)
                    Consumer lending
                    Finance companies (i.e., unsecured cash loans)
                    Loan companies (i.e., consumer, personal, small, student)
                    Personal credit institutions (i.e., unsecured cash loans)
                    Personal finance companies (i.e., unsecured cash loans)
                    Small loan companies (i.e., unsecured cash loans)
                    Student loan companies
  522292 - Real Estate Credit
      This U.S. industry comprises establishments primarily engaged in lending funds with real estate as
      collateral.
                    Construction lending
                    Farm mortgage lending
                    Federal Land Banks
                    Home equity credit lending
                    Loan correspondents (i.e., lending funds with real estate as collaterial)
                    Mortgage banking (i.e., nondepository mortgage lending)
                    Mortgage companies
                    Real estate credit lending
                    Reverse mortgage lending
  522293 - International Trade Financing
      This U.S. industry comprises establishments primarily engaged in providing one or more of the
      following: (1) working capital funds to U.S. exporters; (2) lending funds to foreign buyers of U.S.
      goods; and/or (3) lending funds to domestic buyers of imported goods.
                    Agencies of foreign banks (i.e., trade financing)
                    Agreement corporations (i.e., international trade financing)
                    Banks, trade (i.e., international trade financing)
                    Edge Act corporations (i.e., international trade financing)
                    Export trading companies (i.e., international trade financing)
                    Export-Import banks
                    International trade financing
                    Trade banks (i.e., international trade financing)
                    Trade financing, international
  522294 - Secondary Market Financing
      This U.S. industry comprises establishments primarily engaged in buying, pooling, and repackaging
      loans for sale to others on the secondary market.
                    Federal Agricultural Mortgage Corporation
                    Federal Home Loan Mortgage Corporation (FHLMC)
                    Federal Intermediate Credit Bank
                    Federal National Mortgage Association (FNMA)
                    FHLMC (Federal Home Loan Mortgage Corporation)
                    Financing, secondary market
                    FNMA (Federal National Mortgage Association)
                    GNMA (Government National Mortgage Association)
                    Government National Mortgage Association (GNMA)
                    Government-sponsored enterprises providing secondary market financing
                    Real estate mortgage investment conduits (REMICs) issuing, private
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                    REMICs (real estate mortgage investment conduits) issuing, private
                    Repackaging loans for sale to others (i.e., private conduits)
                    Secondary market financing (i.e., buying, pooling, repackaging loans for sale to
                    others)
                    SLMA (Student Loan Marketing Association)
                    Student Loan Marketing Association (SLMA)
  522298 - All Other Nondepository Credit Intermediation [Except Pawn Shops]
      This U.S. industry comprises establishments primarily engaged in providing nondepository credit
      (except credit card issuing, sales financing, consumer lending, real estate credit, international
      trade financing, and secondary market financing). Examples of types of lending in this industry are:
      short-term inventory credit, agricultural lending (except real estate and sales financing) and
      consumer cash lending secured by personal property.
                    Agricultural credit institutions, making loans or extending credit (except real estate,
                    sales financing)
                    Agricultural lending (except real estate, sales financing)
                    Banks, industrial (i.e., known as), nondepository
                    Commodity Credit Corporation
                    Edge Act corporations (except international trade financing)
                    Factoring accounts receivable
                    Federal Home Loan Banks (FHLB)
                    Industrial banks (i.e., known as), nondepository
                    Industrial loan companies, nondepository
                    Morris Plans (i.e., known as), nondepository
                    National Credit Union Administration (NCUA)
                    Pawnshops
                    Plans, Morris (i.e., known as), nondepository
                    Purchasing of accounts receivable
                    Short-term inventory credit lending
  522310 - Mortgage and Nonmortgage Loan Brokers
      This industry comprises establishments primarily engaged in arranging loans by bringing
      borrowers and lenders together on a commission or fee basis.
                    Agencies, loan
                    Brokerages, loan
                    Brokerages, mortgage
                    Brokers' offices, loan
                    Brokers' offices, mortgage
                    Loan brokerages
                    Loan brokers' or agents' offices (i.e., independent)
                    Mortgage brokerages
                    Mortgage brokers' or agents' offices (i.e., independent)
  522320 - Financial Transactions Processing, Reserve, and Clearinghouse Activities
      This industry comprises establishments primarily engaged in providing one or more of the
      following: (1) financial transaction processing (except central bank); (2) reserve and liquidity
      services (except central bank); and/or (3) check or other financial instrument clearinghouse
      services (except central bank).
                    Automated clearinghouses, bank or check (except central bank)
                    Bank clearinghouse associations
                    Check clearing services (except central banks)
                    Check clearinghouse services (except central banks)

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                   Check validation services
                   Clearinghouses, bank or check
                   Credit card processing services
                   Electronic financial payment services
                   Electronic funds transfer services
                   Financial transactions processing (except central bank)
                   Processing financial transactions
                   Reserve and liquidity services (except central bank)
                   U.S. Central Credit Union
  522390 - Other Activities Related to Credit Intermediation
      This industry comprises establishments primarily engaged in facilitating credit intermediation
      (except mortgage and loan brokerage; and financial transactions processing, reserve, and
      clearinghouse activities).
                   Check cashing services
                   Loan servicing
                   Money order issuance services
                   Money transmission services
                   Travelers' check issuance services
  523110 - Investment Banking and Securities Dealing
      This industry comprises establishments primarily engaged in underwriting, originating, and/or
      maintaining markets for issues of securities. Investment bankers act as principals (i.e., investors
      who buy or sell on their own account) in firm commitment transactions or act as agents in best
      effort and standby commitments. This industry also includes establishments acting as principals in
      buying or selling securities generally on a spread basis, such as securities dealers or stock option
      dealers.
                     Banking, investment
                     Bond dealing (i.e., acting as a principal in dealing securities to investors)
                     Commercial paper dealing (i.e., acting as a principal in dealing securities to investors)
                     Investment banking
                     Making markets for securities
                     Market making for securities
                     Paper, dealing of commercial (i.e., acting as principal in dealing securities to
                     investors)
                     Securities dealers (i.e., acting as a principal in dealing securities to investors)
                     Securities dealing (i.e., acting as a principal in dealing securities to investors)
                     Securities distributing (i.e., acting as a principal in dealing securities to investors)
                     Securities floor traders (i.e., acting as a principal in dealing securities to investors)
                     Securities flotation companies
                     Securities originating (i.e., acting as a principal in dealing securities to investors)
                     Securities trading (i.e., acting as a principal in dealing securities to investors)
                     Securities underwriting
                     Stock options dealing (i.e., acting as a principal in dealing securities to investors)
                    Trading securities (i.e., acting as a principal in dealing securities to investors)
                    Underwriting securities
  523120 - Securities Brokerage

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       This industry comprises establishments primarily engaged in acting as agents (i.e., brokers)
       between buyers and sellers in buying or selling securities on a commission or transaction fee basis.
                   Bond brokerages
                   Brokerages, securities
                   Certificate of deposit (CD) brokers' offices
                   Commercial note brokers' offices
                   Mutual fund agencies (i.e., brokerages)
                   Mutual fund agents' (i.e., brokers') offices
                   Securities brokerages
                   Securities brokers' offices
                   Securities floor brokers
                   Stock brokerages
                   Stock brokers' offices
                   Stock options brokerages
  523130 - Commodity Contracts Dealing
      This industry comprises establishments primarily engaged in acting as principals (i.e., investors
      who buy or sell for their own account) in buying or selling spot or futures commodity contracts or
      options, such as precious metals, foreign currency, oil, or agricultural products, generally on a
      spread basis.
                   Commodity contract trading companies
                   Commodity contracts dealing (i.e., acting as a principal in dealing commodities to
                   investors)
                   Commodity contracts floor traders (i.e., acting as a principal in dealing commodities
                   to investors)
                   Commodity contracts floor trading (i.e., acting as a principal in dealing commodities
                   to investors)
                   Commodity contracts options dealing (i.e., acting as a principal in dealing
                   commodities to investors)
                   Commodity contracts traders (i.e., acting as a principal in dealing commodities to
                   investors)
                   Foreign currency exchange dealing (i.e., acting as a principal in dealing commodities
                   to investors)
                   Foreign currency exchange services (i.e., selling to the public)
                   Futures commodity contracts dealing (i.e., acting as a principal in dealing
                   commodities to investors)
                   Trading companies, commodity contracts
  523140 - Commodity Contracts Brokerage
      This industry comprises establishments primarily engaged in acting as agents (i.e., brokers) in
      buying or selling spot or future commodity contracts or options on a commission or transaction
      fee basis.
                   Brokerages, commodity contracts
                   Commodity contracts brokerages
                   Commodity contracts brokers' offices
                   Commodity contracts floor brokers
                   Commodity contracts options brokerages
                   Commodity futures brokerages
                   Financial futures brokerages
                   Futures commodity contracts brokerages
                   Futures commodity contracts brokers' offices
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  523210 - Securities and Commodity Exchanges
      This industry comprises establishments primarily engaged in furnishing physical or electronic
      marketplaces for the purpose of facilitating the buying and selling of stocks, stock options, bonds,
      or commodity contracts.
                    Commodity contracts exchanges
                    Exchanges, commodity contracts
                    Exchanges, securities
                    Futures commodity contracts exchanges
                    Securities exchanges
                    Stock exchanges
                    Stock or commodity options exchanges
  523910 - Miscellaneous Intermediation
      This industry comprises establishments primarily engaged in acting as principals (except
      investment bankers, securities dealers, and commodity contracts dealers) in buying or selling of
      financial contracts generally on a spread basis. Principals are investors that buy or sell for their
      own account.
                    Individuals investing in financial contracts on own account
                    Investment clubs
                    Mineral royalties or leases dealing (i.e., acting as a principal in dealing royalties or
                    leases to investors)
                    Oil royalty dealing (i.e., acting as a principal in dealing royalties to investors)
                    Tax liens dealing (i.e., acting as a principal in dealing tax liens to investors)
                    Venture capital companies
                    Viatical settlement companies
  523920 - Portfolio Management
      This industry comprises establishments primarily engaged in managing the portfolio assets (i.e.,
      funds) of others on a fee or commission basis. Establishments in this industry have the authority to
      make investment decisions, and they derive fees based on the size and/or overall performance of
      the portfolio.
                    Investment management
                    Managing investment funds
                    Managing mutual funds
                    Managing personal investment trusts
                    Managing trusts
                    Mutual fund managing
                    Pension fund managing
                    Personal investments trusts, managing
                    Portfolio fund managing
  523930 - Investment Advice
      This industry comprises establishments primarily engaged in providing customized investment
      advice to clients on a fee basis, but do not have the authority to execute trades. Primary activities
      performed by establishments in this industry are providing financial planning advice and
      investment counseling to meet the goals and needs of specific clients.
                    Certified financial planners, customized, fees paid by client
                    Financial investment advice services, customized, fees paid by client
                    Financial planning services, customized, fees paid by client
                    Investment advice consulting services, customized, fees paid by client
                    Investment advice counseling services, customized, fees paid by client
                    Investment advisory services, customized, fees paid by client
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     523991 - Trust, Fiduciary, and Custody Activities [Except to the extent a Trustee or Custodian of a
     Trust whose beneficiaries are one or more Natural Persons, or an executor of an estate of a Natural
     Person, or a guardian of a Natural Person asserts otherwise permitted claims.]
          This U.S. industry comprises establishments primarily engaged in providing trust, fiduciary, and
          custody services to others, as instructed, on a fee or contract basis, such as bank trust offices and
          escrow agencies (except real estate).
                       Administrators of private estates
                       Bank trust offices
                       Escrow agencies (except real estate)
                       Fiduciary agencies (except real estate)
                       Personal investments trust administration
                       Securities custodians
                       Trust administration, personal investment
                       Trust companies, nondepository
     523999 - Miscellaneous Financial Investment Activities
          This U.S. industry comprises establishments primarily engaged in acting as agents and/or brokers
          (except securities brokerages and commodity contracts brokerages) in buying or selling financial
          contracts and those providing financial investment services (except securities and commodity
          exchanges; portfolio management; investment advice; and trust, fiduciary, and custody services)
          on a fee or commission basis.
                       Clearinghouses, commodity exchange or securities exchange
                       Deposit brokers
                       Exchange clearinghouses, commodities or securities
                       Gas lease brokers' offices
                       Oil lease brokers' offices
                       Protective committees, security holders
                       Quotation services, securities
                       Quotation services, stock
                       Securities holders' protective services
                       Securities transfer agencies
                       Stock quotation services
                       Stock transfer agencies
                       Transfer agencies, securities
III. Insurance Industry
       524113 - Direct Life Insurance Carriers
           This U.S. industry comprises establishments primarily engaged in initially underwriting (i.e.,
           assuming the risk and assigning premiums) annuities and life insurance policies, disability income
           insurance policies, and accidental death and dismemberment insurance policies.
                       Accidental death and dismemberment insurance carriers, direct
                       Accidental death and dismemberment insurance underwriting, direct
                       Annuities underwriting
                       Cooperative life insurance organizations
                       Credit life insurance carriers, direct
                       Disability insurance carriers, direct
                       Disability insurance underwriting, direct
                       Fraternal life insurance organizations
                       Insurance carriers, disability, direct
                       Insurance carriers, life, direct
                       Insurance underwriting, disability, direct

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                    Insurance underwriting, life, direct
                    Life insurance carriers, direct
                    Savings bank life insurance carriers, direct
  524114 - Direct Health and Medical Insurance Carriers
      This U.S. industry comprises establishments primarily engaged in initially underwriting (i.e.,
      assuming the risk and assigning premiums) health and medical insurance policies. Group
      hospitalization plans and HMO establishments (except those providing health care services) that
      provide health and medical insurance policies without providing health care services are included
      in this industry.
                    Dental insurance carriers, direct
                    Group hospitalization plans without providing health care services
                    Health insurance carriers, direct
                    Hospital and medical service plans, direct, without providing health care services
                    Hospitalization insurance carriers, direct, without providing health care services
                    Insurance carriers, health, direct
                    Insurance underwriting, health and medical, direct
                    Medical insurance carriers, direct
                    Medical service plans without providing health care services
  524126 - Direct Property and Casualty Insurance Carriers
      This U.S. industry comprises establishments primarily engaged in initially underwriting (i.e.,
      assuming the risk and assigning premiums) insurance policies that protect policyholders against
      losses that may occur as a result of property damage or liability.
                    Agricultural (i.e., crop, livestock) insurance carriers, direct
                    Automobile insurance carriers, direct
                    Bonding, fidelity or surety insurance, direct
                    Burglary and theft insurance carriers, direct
                    Casualty insurance carriers, direct
                    Credit and other financial responsibility insurance carriers, direct
                    Crop insurance carrier, direct
                    Fidelity insurance carriers, direct
                    Fire insurance carriers, direct
                    Homeowners' insurance carriers, direct
                    Insurance carriers, fidelity, direct
                    Insurance carriers, property and casualty, direct
                    Insurance carriers, surety, direct
                    Insurance underwriting, property and casualty, direct
                    Liability insurance carriers, direct
                    Malpractice insurance carriers, direct
                    Marine insurance carriers, direct
                    Mortgage guaranty insurance carriers, direct
                    Plate glass insurance carriers, direct
                    Property and casualty insurance carriers, direct
                    Property damage insurance carriers, direct
                    Surety insurance carriers, direct
                    Workers' compensation insurance underwriting
  524127 - Direct Title Insurance Carriers
      This U.S. industry comprises establishments primarily engaged in initially underwriting (i.e.,
      assuming the risk and assigning premiums) insurance policies to protect the owners of real estate
      or real estate creditors against loss sustained by reason of any title defect to real property.
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                   Guaranteeing titles
                   Insurance carriers, title, direct
                   Insurance underwriting, title, direct
                   Real estate title insurance carriers, direct
                   Title insurance carriers, real estate, direct
  524128 - Other Direct Insurance (except Life, Health, and Medical) Carriers
      This U.S. industry comprises establishments primarily engaged in initially underwriting (e.g.,
      assuming the risk, assigning premiums) insurance policies (except life, disability income, accidental
      death and dismemberment, health and medical, property and casualty, and title insurance
      policies).
                   Bank deposit insurance carriers, direct
                   Burial insurance carriers, direct
                   Contact lens insurance, direct
                   Deposit or share insurance carriers, direct
                   Funeral insurance carriers, direct
                   Homeowners' warranty insurance carriers, direct
                   Pet health insurance carriers, direct
                   Product warranty insurance carriers, direct
                   Warranty insurance carriers (e.g., appliance, automobile, homeowners, product),
                   direct
  524130 - Reinsurance Carriers
      This industry comprises establishments primarily engaged in assuming all or part of the risk
      associated with existing insurance policies originally underwritten by other insurance carriers.
                   Accidental and health reinsurance carriers
                   Life reinsurance carriers
                   Marine reinsurance carriers
                   Medical reinsurance carriers
                   Property and casualty reinsurance carriers
                   Reinsurance carriers
  524210 - Insurance Agencies and Brokerages
      This industry comprises establishments primarily engaged in acting as agents (i.e., brokers) in
      selling annuities and insurance policies.
                   Agencies, insurance
                   Brokerages, insurance
                   Brokers' offices, insurance
                   Insurance agencies
                   Insurance brokerages
                   Life insurance agencies
  524291 - Claims Adjusting
      This industry comprises establishments primarily engaged in investigating, appraising, and settling
      insurance claims.
                   Cause-of-loss investigators, insurance
                   Claims adjusting, insurance
                   Fire investigators
                   Insurance claims adjusting
                   Insurance claims investigation services
                   Insurance settlement offices
                   Loss control consultants
  524292 - Third Party Administration of Insurance and Pension Funds
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          This U.S. industry comprises establishments primarily engaged in providing third party
          administration services of insurance and pension funds, such as claims processing and other
          administrative services to insurance carriers, employee-benefit plans, and self-insurance funds.
                       Claims processing services, insurance, third-party
                       Employee benefit plans, third-party administrative processing services
                       Insurance claims processing services, third party
                       Insurance fund, third party administrative services (except claims adjusting only)
                       Insurance plan administrative services (except claims adjusting only), third-party
                       Pension fund, third party administrative services
     524298 - All Other Insurance Related Activities
         This U.S. industry comprises establishments primarily engaged in providing insurance services on a
         contract or fee basis (except insurance agencies and brokerages, claims adjusting, and third party
         administration). Insurance advisory services and insurance ratemaking services are included in this
         industry.
                       Actuarial services, insurance
                       Insurance actuarial services
                       Insurance advisory services
                       Insurance coverage consulting services
                       Insurance exchanges
                       Insurance investigation services (except claims investigation)
                       Insurance loss prevention services
                       Insurance processing, contract or fee basis
                       Insurance rate making services
                       Insurance reporting services
                       Insurance underwriters laboratories and standards services
                       Medical cost evaluation services
                       Rate making services, insurance
IV. Funds, Trusts, and Other Financial Vehicles
     525110 - Pension Funds
          This industry comprises legal entities (i.e., funds, plans, and/or programs) organized to provide
          retirement income benefits exclusively for the sponsor's employees or members.
                      Employee benefit pension plans
                      Funds, employee benefit pension
                      Funds, pension
                      Pension funds
                      Pension plans (e.g., employee benefit, retirement)
                      Plans, pension
                      Retirement pension plans
                      Union pension funds
     525120 - Health and Welfare Funds
         This industry comprises legal entities (i.e., funds, plans, and/or programs) organized to provide
         medical, surgical, hospital, vacation, training, and other health- and welfare-related employee
         benefits exclusively for the sponsor's employees or members.
                      Employee benefit plans (except pension)
                      Funds, health and welfare
                      Health and welfare funds
                      Plans, health and welfare related employee benefit
                      Union health and welfare funds

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  525190 - Other Insurance Funds
      This industry comprises legal entities (i.e., funds (except pension, and health- and welfare-related
      employee benefit funds)) organized to provide insurance exclusively for the sponsor, firm, or its
      employees or members. Self-insurance funds (except employee benefit funds) and workers'
      compensation insurance funds are included in this industry.
                    Compensation, workers, insurance funds
                    Funds, self-insurance (except employee benefit funds)
                    Self-insurance funds (except employee benefit funds)
                    Workers' compensation insurance funds
  525910 - Open-End Investment Funds
      This industry comprises legal entities (i.e., open-end investment funds) organized to pool assets
      that consist of securities or other financial instruments. Shares in these pools are offered to the
      public in an initial offering with additional shares offered continuously and perpetually and
      redeemed at a specific price determined by the net asset value.
                     Funds, mutual, open-ended
                     Investment funds, open-ended
                     Money market mutual funds, open-ended
                     Mutual funds, open-ended
  525920 - Trusts, Estates, and Agency Accounts [Except to the extent a Trustee or Custodian of a Trust
  whose beneficiaries are one or more Natural Persons, or an executor of an estate of a Natural Person,
  or a guardian of a Natural Person asserts otherwise permitted claims.]
        This industry comprises legal entities, trusts, estates, or agency accounts, administered on behalf
        of the beneficiaries under the terms of a trust agreement, will, or agency agreement.
                   Bankruptcy estates
                   Personal estates (i.e., managing assets)
                   Personal investment trusts
                   Personal trusts
                   Private estates (i.e., administering on behalf of beneficiaries)
                   Testamentary trusts
                   Trusts, estates, and agency accounts
  525990 - Other Financial Vehicles
      This industry comprises legal entities (i.e., funds (except insurance and employee benefit funds;
      open-end investment funds; trusts, estates, and agency accounts)). Included in this industry are
      mortgage Real Estate Investment Trusts (REITs). Illustrative Examples: Closed-end investment
      funds Special purpose vehicles Collateralized Mortgage Obligations (CMOs) Unit investment trust
      funds Face-amount certificate funds Mortgage real estate investment trusts (REITs) Real Estate
      Mortgage Investment Conduits (REMICs).
                    Closed-end investment funds
                    CMOs (collateralized mortgage obligations)
                    Collateralized mortgage obligations (CMOs)
                    Face-amount certificate funds
                    Funds, mutual, closed-end
                    Investment funds, closed-end
                    Money market mutual funds, closed-end
                    Mortgage real estate investment trusts (REITs)
                    Mutual funds, closed-end
                    Profit-sharing funds
                    Real estate mortgage investment conduits (REMICs)
                    REMICs (real estate mortgage investment conduits)
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                      Special purpose financial vehicles
                      Unit investment trust funds


V. Defense Contractors and Their Sub-Contractors and Suppliers

Claims from businesses and their employees for which at least 50% of annual revenue is generated from
contracts with the United States Department of Defense will be considered defense contractors.



VI. Real Estate Developers or Sellers

See Agreement sections 2.2.4.7 and 5.9.3.




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       Industry Types Subject to Review by Claims Administrator for Potential
                                  Moratoria Losses
  I.    Industry Types Subject to Automatic Review by Claims Administrator for Potential
        Moratoria Losses

Businesses the Claims Administrator determines fall within the following codes and descriptions marked
with an “x,” shall be routed by the Claims Administrator to a team dedicated to the evaluation of
business economic loss claims for potential moratoria losses. Claimants shall be required to provide
supplemental information in order for Claims Administrator to conduct this review.

 237990 ‐ Other Heavy and Civil Engineering Construction
        This industry comprises establishments primarily engaged in heavy and engineering construction projects
        (excluding highway, street, bridge, and distribution line construction). The work performed may include new work,
        reconstruction, rehabilitation, and repairs. Specialty trade contractors are included in this group if they are
        engaged in activities primarily related to engineering construction projects (excluding highway, street, bridge,
        distribution line, oil and gas structure, and utilities building and structure construction). Construction projects
        involving water resources (e.g., dredging and land drainage), development of marine facilities, and projects
        involving open space improvement (e.g., parks and trails) are included in this industry.
                Anchored earth retention contractors
                Athletic field (except stadium) construction
                Avalanche, rockslide, or mudslide protection construction
                Breakwater construction
                Bridle path construction
                Bulkhead wall or embarkment construction
                Caisson (i.e., marine or pneumatic structures) construction
        X       Canal construction
        X       Channel construction
                Cofferdam construction
                Construction management, dam
        X       Construction management, marine structure
                Construction management, mass transit
                Construction management, outdoor recreation facility
                Construction management, tunnel
        X       Cribbing (i.e., shore protection), construction
        X       Dam construction
        X       Dike and other flood control structure construction
        X       Dock construction
        X       Drainage canal and ditch construction
        X       Drainage project construction
        X       Dredging (e.g., canal, channel, ditch, waterway)
                Drive‐in movie facility construction
                Earth retention system construction
                Earth‐filled dam construction
                Electricity generating plant, hydroelectric, construction
        X       Embankment construction
                Farm drainage tile installation
                Flood control project construction


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        X       Floodway canal and ditch construction
                Gabion construction
                Golf course construction
       X        Harbor construction
       X        Horizontal drilling (e.g., underground cable, pipeline, sewer installation)
                Hydroelectric generating facility construction
                Ice rink (except indoor) construction
                Jetty construction
                Land drainage contractors
       X        Levee construction
                Light rail system construction
       X        Lock and waterway construction
       X        Marine construction
                Microtunneling contractors
                Missile facility construction
                Monorail construction
                Nuclear waste disposal site construction
                Outdoor recreation facility construction
                Park and recreational open space improvement construction
       X        Pier construction
       X        Pile driving, marine
       X        Pipe‐jacking contractors
                Play ground construction
       X        Port facility construction
                Power plant, hydroelectric, construction
                Railroad construction
                Railway construction (e.g., interlocker, roadbed, signal, track)
                Railway roadbed construction
                Recreation area, open space, construction
                Recreational vehicle park construction
                Retaining walls, anchored (e.g., with piles, soil nails, tieback anchors), construction
                Revetment construction
                Riprap installation
       X        Rock removal, underwater
       X        Seawall, wave protection, construction
                Sediment control system construction
                Ski tow construction
       X        Spillway, floodwater, construction
                Sports field construction
                Streetcar line construction
                Subway construction
                Tennis courts, outdoor, construction
                Timber removal, underwater
                Trail construction
       X        Trenching, underwater
       X        Tunnel construction
       X        Wharf construction
238910 ‐ Site Preparation Contractors




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    This industry comprises establishments primarily engaged in site preparation activities, such as excavating and
    grading, demolition of buildings and other structures, septic system installation, and house moving. Earth moving
    and land clearing for all types of sites (e.g., building, nonbuilding, mining) is included in this industry.
    Establishments primarily engaged in construction equipment rental with operator (except cranes) are also
    included.
            Aerial or picker truck, construction, rental with operator
            Backfilling, construction
            Backhoe rental with operator
            Blast hole drilling (except mining)
            Blasting, building demolition
            Blasting, construction site
            Boring, for building construction
            Building demolition
            Bulldozer rental with operator
            Caisson (i.e., drilled building foundations) construction
            Cesspool construction
            Concrete breaking and cutting for demolition
            Construction equipment (except crane) rental with operator
    X       Core drilling and test boring for construction
            Crawler tractor rental with operator
            Cutting new rights of way
            Demolition contractor
            Demolition, building and structure
            Dewatering contractors
            Digging foundations
            Dirt moving for construction
    X       Dismantling engineering structures (e.g., oil storage tank)
            Drainage system (e.g., cesspool, septic tank) installation
            Drilled pier (i.e., for building foundations) contractors
            Drilled shaft (i.e., drilled building foundations) construction
            Dry well construction
            Equipment rental (except crane), construction, with operator
            Excavating, earthmoving or land clearing, mining (except overburden removal at open pit mine sites or
            quarries)
            Excavating, earthmoving, or land clearing contractors
            Excavation contractors
            Foundation digging (i.e., excavation)
            Foundation drilling contractors
            Grading construction sites
            Grave excavation contractors
            Ground thawing for construction site digging
            House demolishing
            House razing
            Hydrodemolition (i.e., demolition with pressurized water) contractors
            Land clearing
            Land leveling contractors
            Line slashing or cutting (except maintenance)
            Machinery, construction (except cranes), rental with operator
    X       Mine site preparation and related construction activities, construction contractors
            Pile driving, building foundation
            Piling (i.e., bored, cast‐in‐place, drilled), building foundation, contractors

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               Power shovel, construction, rental with operator
               Power, communication and pipe line right of way clearance (except maintenance)
               Right of way cutting (except maintenance)
               Septic system contractors
               Septic tank and weeping tile installation
               Soil compacting
               Soil test drilling
               Test boring for construction
               Trenching (except underwater)
       X       Underground tank (except hazardous material) removal
               Weeping tile installation
               Wrecking, building or other structure
325998 ‐ All Other Miscellaneous Chemical Product and Preparation Manufacturing
       This U.S. industry comprises establishments primarily engaged in manufacturing chemical products (except basic
       chemicals, resins, synthetic rubber; cellulosic and noncellulosic fiber and filaments; pesticides, fertilizers, and other
       agricultural chemicals; pharmaceuticals and medicines; paints, coatings and adhesives; soap, cleaning compounds,
       and toilet preparations; printing inks; explosives; custom compounding of purchased resins; and photographic
       films, papers, plates, and chemicals).
                Activated carbon or charcoal manufacturing
        X       Additive preparations for gasoline (e.g., antiknock preparations, detergents, gum inhibitors) manufacturing
                Aerosol can filling on a job order or contract basis
                Aerosol packaging services
                Anise oil manufacturing
                Antifreeze preparations manufacturing
                Antiscaling compounds manufacturing
                Bay oil manufacturing
                Brake fluid, synthetic, manufacturing
                Caps for toy pistols manufacturing
                Capsules, gelatin, empty, manufacturing
                Carbon, activated, manufacturing
                Carburetor cleaners manufacturing
                Cat litter manufacturing
                Cedar oil manufacturing
                Charcoal, activated, manufacturing
                Citronella oil manufacturing
                Clove oil manufacturing
        X       Concrete additive preparations (e.g., curing, hardening) manufacturing (If used offshore)
                Correction fluids (i.e., typewriter) manufacturing
                Crankcase additive preparations manufacturing
        X       Cutting oils, synthetic, manufacturing
                Defoamers and antifoaming agents manufacturing
                Degreasing preparations for machinery parts manufacturing
                Deicing preparations manufacturing
                Desalination kits manufacturing
                Distilled water manufacturing
                Drawing inks manufacturing
        X       Drilling mud compounds, conditioners, and additives (except bentonites) manufacturing
                Dye preparations, clothing, household‐type, manufacturing
                Embalming fluids manufacturing
                Engine degreasers manufacturing


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         Engine starting fluids manufacturing
         Essential oils manufacturing
         Eucalyptus oil manufacturing
         Fire extinguisher chemical preparations manufacturing
         Fire retardant chemical preparations manufacturing
         Fireworks manufacturing
         Flares manufacturing
         Fluxes (e.g., brazing, galvanizing, soldering, welding) manufacturing
         Foundry core oil, wash, and wax manufacturing
         Gelatin (except dessert preparations) manufacturing
         Gelatin capsules, empty, manufacturing
         Grapefruit oil manufacturing
         Greases, synthetic lubricating, manufacturing
    X    Hydraulic fluids, synthetic, manufacturing
         Incense manufacturing
         Indelible inks manufacturing
         India inks manufacturing
         Industrial salt manufacturing
         Inhibitors (e.g., corrosion, oxidation, polymerization) manufacturing
         Inks, writing, manufacturing
         Insulating oils manufacturing
         Lemon oil manufacturing
         Lighter fluids (e.g., charcoal, cigarette) manufacturing
         Lime oil manufacturing
         Lubricating oils and greases, synthetic, manufacturing
         Matches and match books manufacturing
         Motor oils, synthetic, manufacturing
         Napalm manufacturing
    X    Oil additive preparations manufacturing
         Oils (e.g., cutting, lubricating), synthetic, manufacturing
         Oils, lubricating, synthetic, manufacturing
         Orange oil manufacturing
         Orris oil manufacturing
         Ossein manufacturing
         Packer's fluids manufacturing
         Penetrating fluids, synthetic, manufacturing
         Peppermint oil manufacturing
         Pyrotechnics (e.g., flares, flashlight bombs, signals) manufacturing
         Radiator additive preparations manufacturing
         Recycling services for degreasing solvents (e.g., engine, machinery) manufacturing
         Retarders (e.g., flameproofing agents, mildewproofing agents) manufacturing
         Rubber processing preparations (e.g., accelerators, stabilizers) manufacturing
         Rust preventive preparations manufacturing
         Salt (except table) manufacturing
         Soil testing kits manufacturing
         Spearmint oil manufacturing
         Stamp pad ink manufacturing
         Sugar substitutes (i.e., synthetic sweeteners blended with other ingredients) made from purchased
         synthetic sweeteners
         Swimming pool chemical preparations manufacturing


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               Tint and dye preparations, household‐type (except hair), manufacturing
               Tire inflators, aerosol, manufacturing
               Transmission fluids, synthetic, manufacturing
               Water, distilled, manufacturing
               Wintergreen oil manufacturing
               Writing inks manufacturing
331111 ‐ Iron and Steel Mills
       This U.S. industry comprises establishments primarily engaged in one or more of the following: (1) direct reduction
       of iron ore; (2) manufacturing pig iron in molten or solid form; (3) converting pig iron into steel; (4) making steel;
       (5) making steel and manufacturing shapes (e.g., bar, plate, rod, sheet, strip, wire); and (6) making steel and
       forming tube and pipe.
               Armor plate made in iron and steel mills
               Axles, rolled or forged, made in iron and steel mills
               Balls, steel, made in iron and steel mills
               Bars, concrete reinforcing (rebar) made in steel mills
               Bars, iron, made in iron and steel mills
               Bars, steel, made in iron and steel mills
               Billets, steel, made in iron and steel mills
               Blackplate made in iron and steel mills
               Blast furnaces
               Blooms, steel, made in iron and steel mills
               Car wheels, rolled steel, made in iron and steel mills
               Coke oven products made in iron and steel mills
               Concrete reinforcing bar (rebar) made in iron and steel mills
               Direct reduction of iron ore
               Electrometallurgical steel manufacturing
               Fence posts, iron or steel, made in iron and steel mills
               Flakes, iron or steel, made in iron and steel mills
               Flats, iron or steel, made in iron and steel mills
               Forgings, iron or steel, made in iron and steel mills
               Frogs, iron or steel, made in iron and steel mills
               Galvanizing metals and metal formed products made in iron and steel mills
               Gun forgings made in iron and steel mills
               Hoops made in iron and steel mills
               Hoops, galvanized, made in iron and steel mills
               Hot‐rolling iron or steel products in iron and steel mills
               Ingot made in iron and steel mills
               Iron ore recovery from open hearth slag
               Iron sinter made in iron and steel mills
               Iron, pig, manufacturing
               Mesh, wire, made in iron and steel mills
               Mini‐mills, steel
               Nut rods, iron or steel, made in iron and steel mills
               Paste, iron or steel, made in iron and steel mills
               Pig iron manufacturing
               Pilings, iron or steel plain sheet, made in iron and steel mills
               Pipe, iron or steel, made in iron and steel mills
               Plate, iron or steel, made in iron and steel mills
               Powder, iron or steel, made in iron and steel mills
               Rail joints and fastenings made in iron and steel mills


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               Railroad crossings, iron or steel, made in iron and steel mills
               Rails rerolled or renewed in iron and steel mills
               Rails, iron or steel, made in iron and steel mills
               Rods, iron or steel, made in iron and steel mills
               Rounds, tube, steel, made in iron and steel mills
               Sheet pilings, plain, iron or steel, made in iron and steel mills
               Sheets, steel, made in iron and steel mills
               Shell slugs, steel, made in iron and steel mills
               Skelp, iron or steel, made in iron and steel mills
               Slab, steel, made in iron and steel mills
               Spike rods made in iron and steel mills
               Sponge iron
               Stainless steel made in iron and steel mills
               Steel balls made in iron and steel mills
               Steel manufacturing
               Steel mill products (e.g., bar, plate, rod, sheet, structural shapes) manufacturing
               Steel mills
               Steel, from pig iron, manufacturing
               Strip, galvanized iron or steel, made in iron and steel mills
               Strip, iron or steel, made in iron and steel mills
       X       Structural shapes, iron or steel, made in iron and steel mills
               Superalloys, iron or steel, manufacturing
               Template, made in iron and steel mills, manufacturing
               Terneplate made in iron and steel mills
               Ternes, iron or steel, long or short, made in iron and steel mills
               Tie plates, iron or steel, made in iron and steel mills
               Tin‐free steel made in iron and steel mills
               Tinplate made in iron and steel mills
               Tool steel made in iron and steel mills
       X       Tube rounds, iron or steel, made in iron and steel mills
       X       Tube, iron or steel, made in iron and steel mills
       X       Tubing, seamless steel, made in iron and steel mills
               Tubing, wrought iron or steel, made in iron and steel mills
       X       Well casings, iron or steel, made in iron and steel mills
               Wheels, car and locomotive, iron or steel, made in iron and steel mills
               Wire products, iron or steel, made in iron and steel mills
       X       Wrought iron or steel pipe and tubing made in iron and steel mills
331210 ‐ Iron and Steel Pipe and Tube Manufacturing from Purchased Steel
       This industry comprises establishments primarily engaged in manufacturing welded, riveted, or seamless pipe and
       tube from purchased iron or steel.
               Boiler tubes, wrought, made from purchased iron
               Conduit, welded and lock joint, made from purchased iron or steel
       X       Pipe (e.g., heavy riveted, lock joint, seamless, welded) made from purchased iron or steel
       X       Tube (e.g., heavy riveted, lock joint, seamless, welded) made from purchased iron or steel
               Tubing, mechanical and hypodermic sizes, cold‐drawn stainless steel, made from purchased steel
       X       Well casings (e.g., heavy riveted, lock joint, welded, wrought) made from purchased iron or steel
332410 ‐ Power Boiler and Heat Exchanger Manufacturing
       This industry comprises establishments primarily engaged in manufacturing power boilers and heat exchangers.
       Establishments in this industry may perform installation in addition to manufacturing power boilers and heat
       exchangers.


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               Aftercoolers (i.e., heat exchangers) manufacturing
               Barometric condensers manufacturing
               Boiler casings manufacturing
               Boilers, power, manufacturing
               Condenser boxes, metal, manufacturing
               Condensers, steam, manufacturing
               Economizers (i.e., power boiler accessory) manufacturing
               Exchangers, heat, manufacturing
               Heat exchangers manufacturing
               Intercooler shells manufacturing
       X       Marine power boilers manufacturing
               Nuclear reactor steam supply systems manufacturing
               Nuclear reactors control rod drive mechanisms manufacturing
               Nuclear reactors manufacturing
               Power boilers manufacturing
               Reactors, nuclear, manufacturing
               Stationary power boilers manufacturing
               Steam condensers manufacturing
332420 ‐ Metal Tank (Heavy Gauge) Manufacturing
       This industry comprises establishments primarily engaged in cutting, forming, and joining heavy gauge metal to
       manufacture tanks, vessels, and other containers.
       X       Absorbers, gas, heavy gauge metal, manufacturing
       X       Accumulators, industrial pressure vessels, heavy gauge metal, manufacturing
               Acetylene cylinders, heavy gauge metal, manufacturing
               Air receiver tanks, heavy gauge metal, manufacturing
               Annealing vats, heavy gauge metal, manufacturing
               Autoclaves, industrial‐type, heavy gauge metal, manufacturing
       X       Bulk storage tanks, heavy gauge metal, manufacturing (On Shore)
       X       Caissons, underwater work, heavy gauge metal, manufacturing
       X       Columns, fractionating, heavy gauge metal, manufacturing
               Cryogenic tanks, heavy gauge metal, manufacturing
               Cylinders, pressure, heavy gauge metal, manufacturing
               Digesters, industrial‐type, heavy gauge metal, manufacturing
               Farm storage tanks, heavy gauge metal, manufacturing
               Fermention tanks, heavy gauge metal tanks, manufacturing
       X       Gas storage tanks, heavy gauge metal, manufacturing
               Kettles, heavy gauge metal, manufacturing
       X       Liquefied petroleum gas (LPG) cylinders manufacturing
               Liquid oxygen tanks manufacturing
               Nuclear waste casks, heavy gauge metal, manufacturing
       X       Oil storage tanks, heavy gauge metal, manufacturing
       X       Petroleum storage tanks, heavy gauge metal, manufacturing
               Pots (e.g., annealing, melting, smelting), heavy gauge metal, manufacturing
               Retorts, heavy gauge metal, manufacturing
               Septic tanks, heavy gauge metal, manufacturing
               Smelting pots and retorts manufacturing
               Stills, heavy gauge metal, manufacturing
       X       Storage tanks, heavy gauge metal, manufacturing
       X       Tanks, heavy gauge metal, manufacturing
       X       Vacuum tanks, heavy gauge metal, manufacturing


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               Vats, heavy gauge metal, manufacturing
               Vessels, heavy gauge metal, manufacturing
               Water tanks, heavy gauge metal, manufacturing
332911 ‐ Industrial Valve Manufacturing
       This U.S. industry comprises establishments primarily engaged in manufacturing industrial valves and valves for
       water works and municipal water systems.
               Angle valves, industrial‐type, manufacturing
               Automatic (i.e., controlling‐type, regulating) valves, industrial‐type, manufacturing
               Ball valves, industrial‐type, manufacturing
               Boiler gauge cocks, industrial‐type, manufacturing
               Butterfly valves, industrial‐type, manufacturing
               Check valves, industrial‐type, manufacturing
               Compressed gas cylinder valves manufacturing
               Control valves, industrial‐type, manufacturing
               Cross valves, industrial‐type, manufacturing
               Fire hydrant valves manufacturing
               Fire hydrants, complete, manufacturing
               Gas valves, industrial‐type, manufacturing
               Gate valves, industrial‐type, manufacturing
               Globe valves, industrial‐type, manufacturing
               Nuclear application valves manufacturing
               Plug valves, industrial‐type, manufacturing
               Pressure control valves (except fluid power), industrial‐type, manufacturing
               Safety (i.e., pop‐off) valves, industrial‐type, manufacturing
               Solenoid valves (except fluid power), industrial‐type, manufacturing
               Steam traps, industrial‐type, manufacturing
               Stop valves, industrial‐type, manufacturing
               Straightway (i.e., Y‐type) valves, industrial‐type, manufacturing
               Thermostatic traps, industrial‐type, manufacturing
               Valves for nuclear applications manufacturing
               Valves for water works and municipal water systems manufacturing
       X       Valves, industrial‐type (e.g., check, gate, globe, relief, safety), manufacturing
               Waterworks and municipal water system valves manufacturing
332996 ‐ Fabricated Pipe and Pipe Fitting Manufacturing
       This U.S. industry comprises establishments primarily engaged in fabricating, such as cutting, threading and
       bending metal pipes and pipe fittings made from purchased metal pipe.

       X      Bends, pipe, made from purchased metal pipe
       X      Coils, pipe, made from purchased metal pipe
       X      Couplings, pipe, made from purchased metal pipe
       X      Fabricated pipe and pipe fittings made from purchased pipe
       X      Manifolds, pipe, made from purchased metal pipe
       X      Nipples, metal, made from purchased pipe
       X      Pipe and pipe fittings made from purchased metal pipe
       X      Pipe couplings made from purchased metal pipe
       X      Pipe fabricating (i.e., bending, cutting, threading) made from purchased metal pipe
       X      Pipe headers made from purchased metal pipe
       X      Tubes made from purchased metal pipe
       X      Wrought iron or steel pipe and tubing made from purchased metal pipe
333911 ‐ Pump and Pumping Equipment Manufacturing


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        This U.S. industry comprises establishments primarily engaged in manufacturing general purpose pumps and
        pumping equipment (except fluid power pumps and motors), such as reciprocating pumps, turbine pumps,
        centrifugal pumps, rotary pumps, diaphragm pumps, domestic water system pumps, oil well and oil field pumps
        and sump pumps.
                Centrifugal pumps manufacturing
        X       Oil‐well and oil‐field pumps manufacturing
        X       Pumps (except fluid power), general purpose, manufacturing
                Pumps for railroad equipment lubrication systems manufacturing
       X        Pumps, industrial and commercial‐type, general purpose, manufacturing
       X        Pumps, oil field or well, manufacturing
                Pumps, sump or water, residential‐type, manufacturing
                Sump pumps, residential‐type, manufacturing
336611 ‐ Ship Building and Repairing
       This U.S. industry comprises establishments primarily engaged in operating a shipyard. Shipyards are fixed facilities
       with drydocks and fabrication equipment capable of building a ship, defined as watercraft typically suitable or
       intended for other than personal or recreational use. Activities of shipyards include the construction of ships, their
       repair, conversion and alteration, the production of prefabricated ship and barge sections, and specialized services,
       such as ship scaling.
                Barge building
                Cargo ship building
                Container ship building
                Dredge building
       X        Drilling and production platforms, floating, oil and gas, building
                Drydock, floating, building
                Ferryboat building
                Fireboat building
                Fishing boat, commercial, building
                Hydrofoil vessel building and repairing in shipyard
                Naval ship building
       X        Oil and gas offshore floating platforms manufacturing
                Passenger ship building
                Patrol boat building
                Sailing ships, commercial, manufacturing
                Ship dismantling at shipyards
                Ship repair done in a shipyard
                Ship scaling services done at a shipyard
                Ships (i.e., not suitable or intended for personal use) manufacturing
                Shipyard (i.e., facility capable of building ships)
                Submarine building
                Towboat building and repairing
                Tugboat building
                Yachts built in shipyards
423830 ‐ Industrial Machinery and Equipment Merchant Wholesalers
       This industry comprises establishments primarily engaged in the merchant wholesale distribution of specialized
       machinery, equipment, and related parts generally used in manufacturing, oil well, and warehousing activities.
               Bakery machinery and equipment merchant wholesalers
               Beverage bottling machinery merchant wholesalers
               Blowers, industrial, merchant wholesalers
               Bottling machinery and equipment merchant wholesalers
               Cement‐making machinery merchant wholesalers

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         Chainsaws merchant wholesalers
         Chemical industries machinery and equipment merchant wholesalers
         Compressors (except air‐conditioning, refrigeration) merchant wholesalers
         Condensing units (except air‐conditioning, refrigeration) merchant wholesalers
         Conveying equipment (except farm) merchant wholesalers
         Cranes, industrial, merchant wholesalers
         Distillery machinery merchant wholesalers
         Elevators merchant wholesalers
         Engines, internal combustion (except aircraft, automotive), merchant wholesalers
         Engraving machinery merchant wholesalers
         Escalators merchant wholesalers
         Fans, industrial, merchant wholesalers
         Fluid‐power transmission equipment merchant wholesalers
         Food‐processing machinery and equipment merchant wholesalers
         Forklift trucks (except log) merchant wholesalers
         Foundry machinery and equipment merchant wholesalers
         Furnaces, industrial process, merchant wholesalers
         General‐purpose industrial machinery and equipment merchant wholesalers
         Handtools, machinists' precision, merchant wholesalers
         Hoists (except automotive) merchant wholesalers
         Hydraulic power transmission equipment merchant wholesalers
         Hydraulic pumps and parts merchant wholesalers
         Industrial machinery and equipment (except electrical) merchant wholesalers
         Industrial trucks, tractors, or trailers merchant wholesalers
         Instruments (except electrical) (e.g., controlling, indicating, recording) merchant wholesalers
         Internal combustion engines (except aircraft, nondiesel automotive, nondiesel truck) merchant wholesalers
         Kilns, industrial, merchant wholesalers
         Ladders merchant wholesalers
         Lift trucks, industrial, merchant wholesalers
         Machine tools and accessories merchant wholesalers
         Machinists' precision measuring tools merchant wholesalers
         Materials handling machinery and equipment merchant wholesalers
         Measuring and testing equipment (except automotive) merchant wholesalers
         Metalworking machinery and equipment merchant wholesalers
         Meters (except electrical, parking) merchant wholesalers
    X    Mining machinery and equipment, petroleum, merchant wholesalers
    X    Oil well machinery and equipment merchant wholesalers
    X    Oil well supply houses merchant wholesalers
         Ovens, industrial, merchant wholesalers
         Packing machinery and equipment merchant wholesalers
         Pallets and skids merchant wholesalers
         Paper and pulp industries manufacturing machinery merchant wholesalers
         Patterns (except shoe), industrial, merchant wholesalers
    X    Pipeline machinery and equipment merchant wholesalers
         Pistons, hydraulic and pneumatic, merchant wholesalers
         Plastics industries machinery, equipment, and supplies merchant wholesalers
    X    Pneumatic pumps and parts merchant wholesalers
    X    Pollution control equipment (except air) merchant wholesalers
         Printing trade machinery, equipment, and supplies merchant wholesalers
    X    Pumps and pumping equipment, industrial‐type, merchant wholesalers


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        X       Refinery machinery and equipment merchant wholesalers
                Sawmill machinery, equipment, and supplies merchant wholesalers
                Sewing machines, industrial, merchant wholesalers
                Shoe manufacturing and repairing machinery merchant wholesalers
                Smelting machinery and equipment merchant wholesalers
                Special purpose industrial machinery and equipment merchant wholesalers
                Spray painting equipment, industrial‐type, merchant wholesalers
                Stackers, industrial, merchant wholesalers
                Testing and measuring equipment, electrical (except automotive), merchant wholesalers
                Textile machinery and equipment merchant wholesalers
                Tire recapping machinery merchant wholesalers
                Tools, machinists' precision, merchant wholesalers
                Tractors, industrial, merchant wholesalers
                Trailers, industrial, merchant wholesalers
                Trucks, industrial, merchant wholesalers
                Turbines (except transportation) merchant wholesalers
                Twist drills merchant wholesalers
                Valves, hydraulic and pneumatic, merchant wholesalers
                Water treatment equipment, industrial, merchant wholesalers
                Welding machinery and equipment merchant wholesalers
                Winches merchant wholesalers
                Woodworking machinery merchant wholesalers
424690 ‐ Other Chemical and Allied Products Merchant Wholesalers
       This industry comprises establishments primarily engaged in the merchant wholesale distribution of chemicals and
       allied products (except agricultural and medicinal chemicals, paints and varnishes, fireworks, and plastics materials
       and basic forms and shapes).
               Acids merchant wholesalers
               Adhesives and sealants merchant wholesalers
               Alcohol, industrial, merchant wholesalers
               Alkalies merchant wholesalers
               Ammonia (except fertilizer material) merchant wholesalers
               Antifreeze merchant wholesalers
               Aromatic chemicals merchant wholesalers
               Automotive chemicals (except lubricating greases, lubrication oils) merchant wholesalers
               Bleaches merchant wholesalers
               Carbon black merchant wholesalers
               Caulking materials merchant wholesalers
               Caustic soda merchant wholesalers
        X      Chemical additives (e.g., concrete, food, fuel, oil) merchant wholesalers
               Chemical gases merchant wholesalers
               Chemicals (except agriculture) (e.g., automotive, household, industrial, photographic) merchant
               wholesalers
               Cleaning compounds and preparations merchant wholesalers
               Coal tar products, primary and intermediate, merchant wholesalers
               Compressed gases (except LP gas) merchant wholesalers
        X      Concrete additives merchant wholesalers
               Cyclic crudes and intermediates merchant wholesalers
               Deodorants (except personal) merchant wholesalers
               Detergents merchant wholesalers
        X      Drilling muds merchant wholesalers


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               Dry ice merchant wholesalers
               Dyes, industrial, merchant wholesalers
               Dyestuffs merchant wholesalers
               Essential oils merchant wholesalers
               Explosives (except ammunition, fireworks) merchant wholesalers
               Fibers, manmade, merchant wholesalers
               Fire extinguisher preparations merchant wholesalers
               Gases, compressed and liquefied (except liquefied petroleum gas), merchant wholesalers
               Gelatin, inedible, merchant wholesalers
               Glues merchant wholesalers
               Gum and wood chemicals merchant wholesalers
               Ice, dry, merchant wholesalers
               Industrial chemicals merchant wholesalers
               Industrial gases merchant wholesalers
               Industrial salts merchant wholesalers
               Inorganic chemicals merchant wholesalers
               Janitorial chemicals merchant wholesalers
               Laundry soap, chips, and powder, merchant wholesalers
               Liquefied gases (except LP) merchant wholesalers
               Man‐made fibers merchant wholesalers
               Mastics (except construction) merchant wholesalers
               Metal cyanides merchant wholesalers
               Oil additives merchant wholesalers
       X       Oil drilling muds merchant wholesalers
               Organic chemicals merchant wholesalers
               Pesticides (except agricultural) merchant wholesalers
               Polishes (e.g., automobile, furniture, metal, shoe, stove) merchant wholesalers
               Resins, synthetic rubber, merchant wholesalers
               Rosins merchant wholesalers
               Salts, industrial, merchant wholesalers
               Sealants merchant wholesalers
               Sulfuric acid merchant wholesalers
               Surface active agents merchant wholesalers
               Synthetic rubber merchant wholesalers
               Turpentine merchant wholesalers
               Water softening compounds merchant wholesalers
               Waxes (except petroleum) merchant wholesalers
               Welding gases merchant wholesalers
               Wood treating preparations merchant wholesalers
425120 ‐ Wholesale Trade Agents and Brokers
       This industry comprises wholesale trade agents and brokers acting on behalf of buyers or sellers in the wholesale
       distribution of goods. Agents and brokers do not take title to the goods being sold but rather receive a commission
       or fee for their service. Agents and brokers for all durable and nondurable goods are included in this industry.
              Agents and brokers, durable goods, wholesale trade
              Agents and brokers, nondurable goods, wholesale trade
              Automobile auctions, wholesale
              Durable goods agents and brokers, wholesale trade
              Nondurable goods agents and brokers, wholesale trade
       X      Petroleum brokers
481211 ‐ Nonscheduled Chartered Passenger Air Transportation


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       This U.S. industry comprises establishments primarily engaged in providing air transportation of passengers or
       passengers and cargo with no regular routes and regular schedules.
       X        Air passenger carriers, nonscheduled
       X        Air taxi services
       X        Aircraft charter services, passenger
       X        Charter air passenger services
       X        Helicopter passenger carriers (except scenic, sightseeing), nonscheduled
       X        Nonscheduled air passenger transportation
       X       Passenger air transportation, nonscheduled
       X       Passenger carriers, air, nonscheduled
483113 ‐ Coastal and Great Lakes Freight Transportation
       This U.S. industry comprises establishments primarily engaged in providing water transportation of cargo in coastal
       waters, on the Great Lakes System, or deep seas between ports of the United States, Puerto Rico, and United
       States island possessions or protectorates. Marine transportation establishments using the facilities of the St.
       Lawrence Seaway Authority Commission are considered to be using the Great Lakes Water Transportation System.
       Establishments primarily engaged in providing coastal and/or Great Lakes barge transportation services are
       included in this industry.

       X        Barge transportation, coastal or Great Lakes (including St. Lawrence Seaway)
       X        Coastal freight transportation to and from domestic ports
       X        Coastal shipping of freight to and from domestic ports
       X        Deep sea freight transportation to or from domestic ports (including Puerto Rico)
       X        Freight shipping on the Great Lakes system (including St. Lawrence Seaway)
       X        Freight transportation, deep sea, to and from domestic ports
       X        Great Lakes freight transportation (including St. Lawrence Seaway)
       X        Intercoastal freight transportation to and from domestic ports
       X        Lake freight transportation, Great Lakes (including St. Lawrence Seaway)
       X        Ship chartering with crew, coastal or Great Lakes freight transportation (including St. Lawrence Seaway)
       X        Shipping freight to and from domestic ports (i.e., coastal, deep sea (including Puerto Rico), Great Lakes
                system (including St. Lawrence Seaway))
532412 ‐ Construction, Mining, and Forestry Machinery and Equipment Rental and Leasing
       This U.S. industry comprises establishments primarily engaged in renting or leasing heavy equipment without
       operators that may be used for construction, mining, or forestry, such as bulldozers, earthmoving equipment, well‐
       drilling machinery and equipment, or cranes.
               Bulldozer rental or leasing without operator
               Construction form rental
               Construction machinery and equipment rental or leasing without operator
       X       Crane rental or leasing without operator
               Earth moving equipment rental or leasing without operator
               Forestry machinery and equipment rental or leasing
               Heavy construction equipment rental without operator
               Logging equipment rental or leasing without operator
               Mining machinery and equipment rental or leasing
       X       Oil field machinery and equipment rental or leasing
       X       Oil well drilling machinery and equipment rental or leasing
               Welding equipment rental or leasing
       X       Well drilling machinery and equipment rental or leasing
541330 ‐ Engineering Services




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       This industry comprises establishments primarily engaged in applying physical laws and principles of engineering in
       the design, development, and utilization of machines, materials, instruments, structures, processes, and systems.
       The assignments undertaken by these establishments may involve any of the following activities: provision of
       advice, preparation of feasibility studies, preparation of preliminary and final plans and designs, provision of
       technical services during the construction or installation phase, inspection and evaluation of engineering projects,
       and related services.
               Acoustical engineering consulting services
               Acoustical system engineering design services
               Boat engineering design services
               Chemical engineering services
               Civil engineering services
               Combustion engineering consulting services
               Construction engineering services
               Consulting engineers' offices
               Consulting engineers' private practices
               Electrical engineering services
               Engineering consulting services
               Engineering design services
               Engineering services
               Engineers' offices
               Engineers' private practices
       X       Environmental engineering services
               Erosion control engineering services
       X       Geological engineering services
       X       Geophysical engineering services
               Heating engineering consulting services
               Industrial engineering services
               Logging engineering services
       X       Marine engineering services
               Mechanical engineering services
       X       Mining engineering services
       X       Petroleum engineering services
               Traffic engineering consulting services
541360 ‐ Geophysical Surveying and Mapping Services
       This industry comprises establishments primarily engaged in gathering, interpreting, and mapping geophysical
       data. Establishments in this industry often specialize in locating and measuring the extent of subsurface resources,
       such as oil, gas, and minerals, but they may also conduct surveys for engineering purposes. Establishments in this
       industry use a variety of surveying techniques depending on the purpose of the survey, including magnetic surveys,
       gravity surveys, seismic surveys, or electrical and electromagnetic surveys.
       X       Aerial geophysical surveying services
       X       Electrical geophysical surveying services
       X       Electromagnetic geophysical surveying services
       X       Geological surveying services
       X       Geophysical mapping services
       X       Geophysical surveying services
       X       Gravity geophysical surveying services
       X       Magnetic geophysical surveying services
       X       Mapping services, geophysical
       X       Radioactive geophysical surveying services
       X       Remote sensing geophysical surveying services

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       X       Seismic geophysical surveying services
       X       Surveying services, geophysical
541690 ‐ Other Scientific and Technical Consulting Services
       This industry comprises establishments primarily engaged in providing advice and assistance to businesses and
       other organizations on scientific and technical issues (except environmental).
               Agricultural consulting services
               Agrology consulting services
               Agronomy consulting services
               Biological consulting services
       X       Chemical consulting services
               Dairy herd consulting services
               Economic consulting services
       X       Energy consulting services
               Entomology consulting services
       X       Geochemical consulting services
               Horticultural consulting services
               Hydrology consulting services
               Livestock breeding consulting services
               Motion picture consulting services
               Nuclear energy consulting services
               Physics consulting services
               Radio consulting services
       X       Safety consulting services
               Security consulting services
811310 ‐ Commercial and Industrial Machinery and Equipment (except Automotive and Electronic) Repair and
Maintenance
       This industry comprises establishments primarily engaged in the repair and maintenance of commercial and
       industrial machinery and equipment. Establishments in this industry either sharpen/install commercial and
       industrial machinery blades and saws or provide welding (e.g., automotive, general) repair services; or repair
       agricultural and other heavy and industrial machinery and equipment (e.g., forklifts and other materials handling
       equipment, machine tools, commercial refrigeration equipment, construction equipment, and mining machinery).
               Agricultural machinery and equipment repair and maintenance services
               Armature rewinding services (except on an assembly line or factory basis)
               Blade sharpening, commercial and industrial machinery and equipment
               Coil rewinding (except on an assembly line or factory basis)
       X       Commercial and industrial machinery repair and maintenance services
               Commercial refrigeration equipment repair and maintenance services
       X       Construction machinery and equipment repair and maintenance services
       X       Electric motor repair and maintenance services, commercial or industrial
               Electrical generating and transmission equipment repair and maintenance services
               Engine repair (except automotive, small engine)
               Farm machinery and equipment repair and maintenance services
               Food machinery repair and maintenance services
               Forestry machinery and equipment repair and maintenance services
               Forklift repair and maintenance services
               Foundry machinery and equipment repair and maintenance services
               Freezer, commercial, repair and maintenance services
       X       Heavy machinery and equipment repair and maintenance services
       X       Hydraulic equipment repair and maintenance services
       X       Industrial equipment and machinery repair and maintenance services

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                Industrial truck (e.g., forklifts) repair and maintenance services
                Machine tools repair and maintenance services
                Materials handling equipment repair and maintenance services
                Mechanical power transmission equipment repair and maintenance services
        X       Mining machinery and equipment repair and maintenance services
        X       Motor repair and maintenance services, commercial or industrial
                Paper making machinery repair and maintenance services
                Printing trade machinery repair and maintenance services
                Reconditioning shipping barrels and drums
                Refrigeration equipment repair and maintenance services, industrial and commercial‐type
                Rewinding armatures (except on an assembly line or factory basis)
                Service machinery and equipment repair and maintenance services
                Textile machinery repair and maintenance services
                Tractor, farm or construction equipment repair and maintenance services
                Truck refrigeration repair and maintenance services
                Welding repair services (e.g., automotive, general)


 II.    Industry Types Subject to Question Regarding Support Services to Oil & Gas Industry
        and Possible Review by Claims Administrator for Potential Moratoria Losses

For businesses the Claims Administrator determines fall within the following codes and descriptions
marked with an “x,” claimant must submit a sworn claim form answering this question: “In 2009, did
your business provide significant services, goods, and/or supplies to businesses in the offshore oil & gas
industry in the Gulf of Mexico?” If the claimant responds affirmatively, its claim shall be routed by the
Claims Administrator to a team dedicated to the evaluation of business economic loss claims for
potential moratoria losses. Claimant shall be required to provide supplemental information in order for
Claims Administrator to conduct this review.

 488310 ‐ Port and Harbor Operations
        This industry comprises establishments primarily engaged in operating ports, harbors (including docking and pier
        facilities), or canals.
        X        Canal maintenance services (except dredging)
        X        Canal operation
        X        Docking facility operations
        X         Harbor maintenance services (except dredging)
        X         Harbor operation
        X         Lighthouse operation
        X         Maintenance services, waterfront terminal (except dredging)
        X        Port facility operation
        X        Seaway operation
        X        Waterfront terminal operation (e.g., docks, piers, wharves)
        X        Wharf operation
 488320 ‐ Marine Cargo Handling
        This industry comprises establishments primarily engaged in providing stevedoring and other marine cargo
        handling services (except warehousing).
        X         Loading and unloading services at ports and harbors
        X         Longshoremen services
        X        Marine cargo handling services

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       X       Ship hold cleaning services
       X       Stevedoring services
488330 ‐ Navigational Services to Shipping
       This industry comprises establishments primarily engaged in providing navigational services to shipping. Marine
       salvage establishments are included in this industry.
       X       Cargo salvaging, marine
       X       Docking and undocking marine vessel services
       X       Harbor tugboat services
       X       Marine salvaging services
       X       Marine vessel traffic reporting services
       X       Piloting services, water transportation
       X       Radio beacon (i.e., ship navigation) services
       X       Tugboat services, harbor operation
541330 ‐ Engineering Services
       This industry comprises establishments primarily engaged in applying physical laws and principles of engineering in
       the design, development, and utilization of machines, materials, instruments, structures, processes, and systems.
       The assignments undertaken by these establishments may involve any of the following activities: provision of
       advice, preparation of feasibility studies, preparation of preliminary and final plans and designs, provision of
       technical services during the construction or installation phase, inspection and evaluation of engineering projects,
       and related services.
               Acoustical engineering consulting services
               Acoustical system engineering design services
               Boat engineering design services
       X       Chemical engineering services
               Civil engineering services
               Combustion engineering consulting services
       X       Construction engineering services
       X       Consulting engineers' offices
       X       Consulting engineers' private practices
       X       Electrical engineering services
       X       Engineering consulting services
       X       Engineering design services
       X       Engineering services
       X       Engineers' offices
       X       Engineers' private practices
               Environmental engineering services
               Erosion control engineering services
               Geological engineering services
               Geophysical engineering services
               Heating engineering consulting services
       X       Industrial engineering services
               Logging engineering services
               Marine engineering services
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               Mining engineering services
               Petroleum engineering services
               Traffic engineering consulting services
561990 ‐ All Other Support Services




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        This industry comprises establishments primarily engaged in providing day‐to‐day business and other
        organizational support services (except office administrative services, facilities support services, employment
        services, business support services, travel arrangement and reservation services, security and investigation
        services, services to buildings and other structures, packaging and labeling services, and convention and trade
        show organizing services). Illustrative Examples: Bartering services Flagging (i.e., traffic control) services Bottle
        exchanges Float decorating services Cloth cutting, bolting, or winding for the trade Inventory taking services
        Contract meter reading services Lumber grading services Diving services on a contract or fee basis.
               Auctioneers, independent
               Bartering services
               Bottle exchanges
               Cloth cutting, bolting, or winding for the trade
               Coin pick‐up services, parking meter
               Coupon processing services
               Coupon redemption services (i.e., clearinghouse)
       X       Diving services on a contract or fee basis
               Document shredding services
               Electrical meter reading services, contract
               Fire fighting services as a commercial activity
               Flagging (i.e., traffic control) services
               Float decorating services
               Gas meter reading services, contract
               Inventory computing services
               Inventory taking services
               License issuing services (except government), motor vehicle
               Locating underground utility lines prior to digging
               Lumber grading services
               Meter reading services, contract
               Motor vehicle license issuing services, private franchise
               Printing brokers
               Private volunteer fire fighting
               Tape slitting (e.g., cutting plastic or leather into widths) for the trade
               Textile cutting services
               Trading stamp promotion and sale to stores
               Trading stamp redemption services
722310 ‐ Food Service Contractors
       This industry comprises establishments primarily engaged in providing food services at institutional, governmental,
       commercial, or industrial locations of others based on contractual arrangements with these type of organizations
       for a specified period of time. The establishments of this industry provide food services for the convenience of the
       contracting organization or the contracting organization's customers. The contractual arrangement of these
       establishments with contracting organizations may vary from type of facility operated (e.g., cafeteria, restaurant,
       fast‐food eating place), revenue sharing, cost structure, to providing personnel. Management staff is always
       provided by the food service contractors.
               Airline food services contractors
               Cafeteria food services contractors (e.g., government office cafeterias, hospital cafeterias, school
               cafeterias)
               Food concession contractors (e.g., convention facilities, entertainment facilities, sporting facilities)
               Food service contractors, airline
               Food service contractors, cafeteria
               Food service contractors, concession operator (e.g., convention facilities, entertainment facilities, sporting
               facilities)
       X       Industrial caterers (i.e., providing food services on a contractural arrangement (except single‐event basis))

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                                       Other Released Parties
Abdon Callais Offshore, Inc.
Admiral Robert J Papp Jr.
Admiral Thad Allen
Admiral Towing, LLC
Aerotek, Inc.
Airborne Support, Inc.
Airborne Support International, Inc.
Alford Safety Services Inc.
Alford Services Inc.
Ameri-Force, Inc.
Ameri-Force Craft Services, Inc.
American Pollution Control Corporation
Anadarko Petroleum Company
Anadarko Petroleum Corporation
Anadarko E&P Company LP
Apex Environmental Services, LLC
Art Catering, Inc.
Ashland Services, LLC
B&B Environmental Services, Inc.
Belle Chasse Marine Transportation, Inc.
BJ Services Company, USA
Blue Marlin Services of Acadiana, LLC
Bobby Lynn's Marina, Inc.
BP America Inc.
BP America Production Company
BP Company North America Inc.
BP Corporation North America Inc.
BP Energy Company
BP Exploration (Alaska) Inc.
BP Global Special Products (Americas) Inc.
BP Holdings North America Limited
BP Exploration & Production Inc.
BP p.l.c.
BP Products North America Inc.
BP International Ltd.
BP Corporation North America Inc. Savings Plan Investment Oversight Committee
Brett Cocales
Brian Morel
Cabildo Services, LLC
Cabildo Staffing, LLC
Cahaba Disaster Recovery LLC
Cal Dive International, Inc.
Cameron Corporation
Cameron International Corporation
Cameron International Corporation f/k/a Cooper Cameron Corporation
Cameron International Corporation d/b/a/ Cameron Systems Corporation
Center for Toxicology and Environmental Health L.L.C.
Chill Boats L.L.C.
Chouest Shorebase Services, LLC
Clean Harbors, Inc.
Clean Tank LLC
Clean Tank Inc.
Core Industries, Inc.
Core 4 Kebawk, LLC



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Crossmar, Inc.
Crowder/Gulf Joint Venture
Crowder Gulf Disaster Recovery
Danos and Curole Marine Contractors, LLC
Danos & Curole Staffing, L.L.C.
David Sims
Deepwater Horizon Oil Spill Trust
Diamond Offshore Company
DOF Subsea USA, Inc.
Don J. Vidrine
DRC Emergency Services, LLC
DRC Marine, LLC
DRC Recovery Services, LLC
Dril-Quip, Inc.
Dynamic Aviation Group, Inc.
Eastern Research Group, Inc.
Environmental Standards, Inc.
Environmental Safety & Health Consulting Services
Environmental Safety & Health Environmental Services
ES&H, Inc.
ESIS, Inc.
Exponent, Inc.
Faucheaux Brothers Airboat Services, Inc.
Global Diving & Salvage, Inc.
Global Employment Services, Inc.
Global Fabrication, LLC
Global Marine International, Inc.
Graham Gulf Inc.
Grand Isle Shipyard Inc.
Gregg Walz
Guilbeau Marine, Inc.
Guilbeau Boat Rentals, LLC
Gulfmark Offshore, Inc.
Gulf Offshore Logistics, LLC
Gulf Offshore Logistics International, LLC
Gulf Services Industrial, LLC
HEPACO, Inc.
Hilcorp Energy Company
Hyundai Heavy Industries Co. Ltd, Inc.
Hyundai Motor Company
I-Transit Response, L.L.C
International Air Response, Inc.
Island Ventures II, LLC
JMN Specialties, Inc.
JNB Operating LLC
John Guide
K & K Marine, LLC
LaBorde Marine Services, LLC
Lane Aviation
Lawson Environmental Service LLC
Lawson Environmental Service & Response Company
Lee Lambert
Lord Edmund John Browne
Lynden Air Cargo, LLC
Lynden, Inc.
Maco of Louisiana, LLC

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Maco Services, Inc.
Marine Spill Response Corporation
Mark Bly
Mark Hafle
M-I L.L.C.
M-I Drilling Fluids L.L.C.
M-I Swaco
Miller Environmental Group, Inc.
Mitchell Marine
Mitsui & Co. (USA), Inc.
Mitsui & Co. Ltd.
Mitsui Oil Exploration Co. Ltd.
ModuSpec USA, Inc.
Monica Ann LLC
Moran Environmental Recovery, LLC
MOEX Offshore 2007 LLC
MOEX USA Corporation
M/V Monica Ann
M/V Pat Tilman
M/V Damon B. Bankston
M/V Max Chouest
M/V Ocean Interventions
M/V C. Express
M/V Capt. David
M/V Joe Griffin
M/V Mr. Sidney
M/V Hilda Lab
M/V Premier Explorer
M/V Sailfish
M/V Seacor Washington
M/V Emerald Coast
M/V Admiral Lee
M/V Seacor Vanguard
M/V Whuppa Snappa
Nalco Energy Services, LP
Nalco Holding Company
Nalco Finance Holdings LLC
Nalco Finance Holdings Inc.
Nalco Holdings LLC
Nalco Company
National Response Corporation
Nature's Way Marine, LLC
Nautical Ventures, LLC
Nautical Solutions, LLC
O’Brien’s Response Management, Inc.
Ocean Runner, Inc.
Ocean Therapy Solutions, LLC
Oceaneering International, Inc.
Odyssea Marine, Inc.
Offshore Cleaning Systems L.L.C.
Offshore Service Vessels, LLC
Offshore Inland Marine & Oilfield Services, Inc.
Oil Recovery Company, Inc. of Alabama
Oilfield Marine Contractors, LLC
Parsons Commercial Services Inc.
Parsons Services Company

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Parsons Facility Services Company
Parsons Corporation
Patriot Environmental Services Incorporated
Peneton Company
Perennial Contractors, LLC
Peneton Corporation
Production Services Network U.S., Inc.
Quality Container, Inc.
Quality Energy Services, Inc.
Ranger Offshore, Inc.
Reel Pipe, LLC
Resolve Marine Services, Inc.
Robert Kaluza
Ronald W. Sepulvado
Schlumberger, Ltd.
Seacor Holdings Inc.
Seacor Marine, LLC
Seacor Marine, Inc.
Seacor Marine International, Inc.
Seacor Offshore LLC
Seacor Worldwide, Inc.
Sealion Shipping LTD
Sea Support Services, L.L.C.
Sea Tow of South Miss, Inc.
Seafairer Boat, LLC
Shamrock Management LLC et al.
Shoreline Services, LLC
Siemens Financial, Inc.
Shoreline Construction, LLC
Smith Marine, Inc.
Southern Cat, Inc.
Southern Environmental of Louisiana, LLC
Stallion Offshore Quarters, Inc.
Subsea 7 LLC
Tamara's Group, LLC
Team Labor Force, LLC
Technical Marine Maintenance Services, L.L.C.
The Modern Group, Ltd.
The Modern Group GP-SUB, Inc.
The O’Brien Group, LLC
The Response Group, Inc.
Tiburon Divers, Inc.
Tidewater, Inc.
Tidewater Marine LLC
Tiger Rentals, Ltd.
Tiger Safety, LLC
Toisa Limited
Total Safety U.S., Inc.
Twenty Grand Offshore, LLC
Twenty Grand Marine Service, LLC
Twenty Grand Offshore Inc.
USES/Construct Corps
United States Environmental Services, LLC
United States Maritime Services, Inc.
Viscardi Industrial Services, LLC
Weatherford International Ltd.

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Weatherford U.S. L.P.
Wood Group Production Services, Inc.
Worley Catastrophe Services, LLC
Worley Catastrophe Response, LLC




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1. ASSIGNMENT AND PROTECTIONS.
  1.1.        The Parties have agreed to the terms of an assignment and certain protections for
              Released Parties as set forth in this Attachment:

         1.1.1.      Satisfaction of Compensatory Damages. The Economic Class, Plaintiffs,
                     and all Economic Class Members agree and acknowledge that the
                     Settlement Payment(s), in addition to constituting consideration from the
                     Released Parties, also constitute full, complete, and total satisfaction of all
                     of their Compensatory Damages against the Transocean Parties and the
                     Halliburton Parties.

         1.1.2.      Protections for Released Parties. The Economic Class, Plaintiffs, and all
                     Economic Class Members promise, agree, acknowledge, represent, warrant,
                     and covenant as follows:

          1.1.2.1.    No Assignment of Economic Class’s, Plaintiffs’, or Economic Class
                      Members’ Claims or Reassignment of Assigned Claims. Neither the
                      Economic Class nor any Plaintiff or Economic Class Member shall assign
                      or reassign, or shall attempt to assign or reassign, to any person or entity
                      other than BP any rights or claims arising out of, due to, resulting from, or
                      relating in any way to, directly or indirectly, the Deepwater Horizon
                      Incident, including attempts to reassign the Assigned Claims. Any such
                      assignment or reassignment, or attempt to assign or reassign, to any person
                      or entity other than BP any rights or claims arising out of, due to, resulting
                      from, or relating in any way to, directly or indirectly, the Deepwater
                      Horizon Incident shall be void, invalid, and of no force and effect.

          1.1.2.2.    No Recovery of Additional Compensatory Damages. Neither the
                      Economic Class nor any Plaintiff or Economic Class Member shall accept
                      or attempt to recover, through insurance, reinsurance, indemnification,
                      contribution, subrogation, litigation, settlement, or otherwise, any
                      Compensatory Damages from the Transocean Parties and the Halliburton



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                   Parties, except from Assigned Claims subject to the terms and conditions
                   of Section 1.1.2.4. Nothing in this Section 1.1.2.2 shall impair or impact
                   rights to pursue Transocean and Halliburton for exemplary and punitive
                   damages reserved by the Economic Class and Economic Class Members
                   in Sections 3.6, 3.7, 10.2, and 10.3 of the Agreement and claimed as either
                   individuals or members of the Economic Class.

        1.1.2.3.   Non-Execution and Non-Collection for Compensatory Damages. In
                   the event that the Economic Class or any of the Plaintiffs or Economic
                   Class Members is or becomes the beneficiary of any judgment, decision,
                   award, or settlement arising out of, due to, resulting from, or relating in
                   any way to, directly or indirectly, the Deepwater Horizon Incident, the
                   Economic Class and/or such Plaintiffs and/or Economic Class Members
                   shall not accept, execute on, attempt to collect, or otherwise seek recovery
                   of any Compensatory Damages from the Transocean Parties or from the
                   Halliburton Parties, except from Assigned Claims subject to the terms and
                   conditions of Section 1.1.2.4. Nothing in this Section 1.1.2.3 shall impair
                   or impact rights to pursue Transocean and Halliburton for exemplary and
                   punitive damages reserved by the Economic Class and Economic Class
                   Members in Sections 3.6, 3.7, 10.2, and 10.3 of the Agreement and
                   claimed as either individuals or members of the Economic Class.

        1.1.2.4.   Conditional Collection of Damages. In the event that the Economic
                   Class or any of the Plaintiffs and/or Economic Class Members is or
                   becomes the beneficiary of any judgment, decision, award, or settlement
                   arising out of, due to, resulting from, or relating in any way to, directly or
                   indirectly, the Deepwater Horizon Incident, including from Assigned
                   Claims and/or Expressly Reserved Claims, the Economic Class and/or
                   such Plaintiffs and/or Economic Class Members shall not accept, execute
                   on, attempt to collect, or otherwise seek recovery of any Damages, to the
                   extent that any Other Party is seeking or may seek to recover such
                   Damages from any Released Party, whether through indemnity,
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                   contribution, subrogation, assignment, or any other theory of recovery, by
                   contract, pursuant to applicable law or regulation, or otherwise, directly or
                   indirectly. The Economic Class, Plaintiffs, and/or Economic Class
                   Members may, however, accept, execute on, attempt to collect, or
                   otherwise seek recovery of Damages if and when a court or tribunal of
                   competent jurisdiction has finally determined that Other Parties cannot
                   recover such Damages whether through indemnity, contribution,
                   subrogation, assignment or any other theory of recovery, by contract,
                   pursuant to applicable law or regulation, or otherwise, directly or
                   indirectly, from any Released Party For purposes of this Section 1.1.2.4,
                   “finally determined” shall mean the conclusion of any applicable appeals
                   or other rights to seek review by certiorari or otherwise, or the lapse of any
                   and all such rights, or the lapse of any and all applicable limitations or
                   repose periods.

        1.1.2.5.   Conditions on Future Settlements. The Economic Class, Plaintiffs,
                   and/or Economic Class Members may settle or compromise any rights,
                   demands, or claims with the Transocean Parties, the Halliburton Parties,
                   and/or any Other Parties arising out of, due to, resulting from, or relating
                   in any way to, directly or indirectly, the Deepwater Horizon Incident if but
                   only if the Transocean Parties, the Halliburton Parties, and/or such Other
                   Party, as the case may be, agrees as part of that settlement or compromise
                   to a full and final release of, dismissal of, and covenant not to sue for any
                   and all rights to recover, directly or indirectly, from the Released Parties
                   (whether through indemnity, contribution, subrogation, assignment or any
                   other theory of recovery, by contract, pursuant to applicable law or
                   regulation, or otherwise) for any Damages or other relief or consideration
                   provided under or relating to such settlement or compromise (whether the
                   settlement is of a class, of individual claims, or otherwise), including from
                   Expressly Reserved Claims, and further represents and warrants that it has
                   not assigned and will not assign any rights to recover for such Damages or
                   other relief or consideration (whether through indemnity, contribution,
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                   subrogation, or otherwise). As part of this commitment and without
                   limitation, the Economic Class, Plaintiffs, and/or Economic Class
                   Members shall not settle or compromise with the Transocean Parties, the
                   Halliburton Parties, and/or any Other Parties on terms that might allow
                   any insurers, reinsurers, or indemnitors thereof to claim against any
                   Released Parties for indemnification, subrogation, contribution,
                   assignment or under any other theory of recovery. The Economic Class,
                   Plaintiffs, and Economic Class Members agree that, before any such
                   settlement or compromise is executed, BP shall have the right to approve
                   language in any such settlement or compromise memorializing the
                   representation and warranty set forth in this Section 1.1.2.5, which
                   approval shall not be unreasonably withheld.

        1.1.2.6.   Indemnity to Released Parties. Notwithstanding any provision in the
                   Agreement to the contrary, if any Other Party recovers or seeks to recover
                   from any Released Party (under any theory of recovery, including
                   indemnity, contribution, or subrogation, and including from Assigned
                   Claims and/or Expressly Reserved Claims) any Damages either (a) paid to
                   a particular Plaintiff or Economic Class Member for which a release was
                   given to BP through the Settlement or in an Individual Release, or (b) by,
                   through, under, or on account of such Plaintiff or Economic Class Member
                   for which a release was given to BP through the Settlement or in an
                   Individual Release; then that Plaintiff or Economic Class Member shall
                   indemnify (but not defend) the Released Parties, but only to the extent of
                   Settlement Payment(s) received by that particular Plaintiff or Economic
                   Class Member (by way of example, if a particular Plaintiff has received
                   $100.00 in Settlement Payment(s), its indemnity obligation would be
                   capped at this amount). This indemnity obligation owed by a Plaintiff or
                   Economic Class Member who has given a release to BP includes any and
                   all claims made or other actions taken by that Economic Class Member in
                   breach of Sections 1.1.2.1 through 1.1.2.5.

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        1.1.2.7.    Notice Regarding Indemnity. Plaintiffs and Economic Class Members
                    expressly acknowledge that, to the fullest extent allowed by law, the
                    indemnity obligations contained in Section 1.1.2.6 apply to claims against
                    Released Parties predicated on negligence, gross negligence, willful
                    misconduct, strict liability, intentional torts, liability based on contractual
                    indemnity, and any and all other theories of liability, and any and all
                    awards of attorneys’ fees or other costs or expenses The Plaintiffs and
                    Economic Class Members acknowledge that this indemnity is for conduct
                    occurring before the date of the Agreement and therefore is not affected by
                    public policies or other law prohibiting agreements to indemnify in
                    advance of certain conduct. THE PLAINTIFFS AND ECONOMIC
                    CLASS MEMBERS ACKNOWLEDGE THAT THIS SECTION
                    1.1.2.7 COMPLIES WITH ANY REQUIREMENT TO EXPRESSLY
                    STATE THAT LIABILITY FOR SUCH CLAIMS IS INDEMNIFIED
                    AND THAT THIS SECTION 1.1.2.7 IS CONSPICUOUS AND
                    AFFORDS FAIR AND ADEQUATE NOTICE.

        1.1.2.8.    No Set-off. Should the Economic Class, Plaintiffs, or the Economic Class
                    Members succeed in recovering monies from Transocean or Halliburton,
                    BP agrees that it would not be entitled to set-off such recovery against its
                    obligation to make Settlement Payment(s). Notwithstanding this Section
                    1.1.2.8, however, the Economic Class, Plaintiffs, and Economic Class
                    Members acknowledge and agree that this “no set-off” term does not
                    apply to any right BP may have pursuant to the Agreement to receive a
                    credit for monies received by Economic Class Members.

      1.1.3.       Assignment. To the fullest extent allowed by law and applicable contracts,
                   and subject to Sections 1.1.2, 1.1.4, and 1.1.5, upon Preliminary Approval,
                   and subject to occurrence of the Effective Date as a condition subsequent,
                   BP assigns to the Economic Class, only as a juridical entity and not to
                   Economic Class Members individually, the following claims and causes of
                   action against Transocean and Halliburton (but no other party) arising out
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                   of, due to, resulting from, or relating in any way to, directly or indirectly, to
                   the Deepwater Horizon Incident, on the terms and conditions set forth
                   herein:

        1.1.3.1.    All damages related to the repair, replacement, and/or re-drilling of the
                    MC-252 Well;

        1.1.3.2.    All economic damages for the loss of the MC-252 Well, including lost
                    profits, lost hydrocarbons, and diminution in value of the leasehold;

        1.1.3.3.    All costs that BP incurred to control the MC-252 Well and/or to respond
                    to, contain, and/or clean up the DWH Spill;

        1.1.3.4.    All rights to indemnity, contribution, or subrogation for claims paid by BP
                    and/or the GCCF on or before the entry of the Preliminary Approval
                    Order, subject, however, to (a) BP’s retention of its right to pursue the
                    payments identified in Section 1.1.4.2, which are expressly retained, and
                    (b) BP’s retention of its right to recover from Transocean and Halliburton
                    for the payments identified in Section 1.1.4.2;

        1.1.3.5.    All claims or causes of action to pursue reimbursement of Settlement
                    Payment(s) under theories of indemnification, contribution, subrogation,
                    or any other theory of recovery;

        1.1.3.6.      ll punitive exemplary, multiple, or non-compensatory damages;

        1.1.3.7.    All claims and causes of action to recover the damages, losses, costs, fees,
                    and amounts set forth in Sections 1.1.3.1-1.1 3 6 including BP’s claims
                    for breach of contract, unseaworthiness, negligence, gross negligence,
                    willful misconduct, fraud, fraudulent concealment, and intentional torts
                    and including BP’s claims in the BP Parties’ Counter-Complaint, Cross-
                    Complaint And Third Party Complaint Against Transocean And Claim In
                    Limitation, Docket No. 2074 in Case 2:10-md-02179-CJB-SS, and BP’s
                    Cross-Complaint And Third-Party Complaint Against Halliburton, Docket

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                    No. 2082 in Case 2:10-md-02179-CJB-SS.

        1.1.3.8.    BP agrees to cooperate, at its expense, in discovery with the Economic
                    Class in the prosecution of the Assigned Claims, through the provision of
                    evidence and witnesses, and the Economic Class agrees to exercise
                    reasonable restraint in their requests for assistance. The Economic Class
                    pledges to use its best efforts to avoid having to call BP employees as
                    witnesses in court for a trial or other proceedings pursuing Assigned
                    Claims.

      1.1.4.       All Defenses and Other Claims Retained.        ll of BP’s claims not
                   expressly assigned by Section 1.1.3 are hereby retained.

        1.1.4.1.    Notwithstanding Section 1.1.3 and to avoid doubt, BP does not assign any
                    claim for indemnification or contribution or subrogation of amounts it
                    might pay for fines, penalties, or sanctions, including under the Clean
                    Water Act or other federal or state laws. Nothing in this provision shall be
                    construed to indicate that BP believes such claims are valid, and BP
                    reserves all legal arguments against such claims.

        1.1.4.2.    Notwithstanding Section 1.1.3 and to avoid doubt, BP does not assign, and
                    in fact retains, any claim for indemnification, contribution, subrogation, or
                    insurance coverage for amounts paid by the GCCF and/or BP on or before
                    the entry of the Preliminary Approval Order to settle or resolve any
                    personal injury, bodily injury, and/or wrongful death claims of the
                    employees of Transocean or Transocean’s contractors who were on board
                    the Deepwater Horizon on April 20, 2010, whether brought by such
                    employees or their representatives, including for amounts the GCCF paid
                    for any “Employee Settlement” and to resolve “Employee Claims” as
                    defined and provided for in the Agreement Relating to Payment of
                    Transocean Employee Settlement Claims and as approved by Court order
                    entered on December 13, 2011 (Rec. Doc. 4893) (hereafter referred to as
                    “Insurance Proceeds for Transocean Personnel”). BP warrants that it has
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                   not received any Insurance Proceeds for Transocean Personnel to date.
                   This retention is subject to the terms of Section 5.14 of the Agreement.

        1.1.4.3.   Notwithstanding Section 1.1.3 and to avoid doubt, the Economic Class,
                   Plaintiffs, and Economic Class Members acknowledge and agree that BP
                   retains its right to receive a credit for monies received by the Economic
                   Class, Plaintiffs, and/or Economic Class Members pursuant to the terms of
                   the Agreement.

        1.1.4.4.   Further, notwithstanding any other provision of the Agreement, BP hereby
                   retains all defenses, regardless of how designated, against all claims and
                   causes of action of the Transocean Parties and/or the Halliburton Parties
                   against any of the Released Parties, including all defenses against the
                   Transocean Parties’ and the Halliburton Parties’ claims for contractual
                   indemnification against BP which shall include BP’s rights to allege and
                   argue breach of contract, gross negligence, willful misconduct, fraud,
                   and/or intentional torts as defenses to contractual indemnification and to
                   seek or oppose reconsideration, appeal, or other review of any decisions
                   by courts or arbitrators regarding contractual indemnification between BP
                   and the Transocean Parties and/or the Halliburton Parties, including (a) the
                   Order and Reasons as to Transocean and BP’s Cross-Motions for Partial
                   Summary Judgment Regarding Indemnity, Docket No. 5446 in Case 2:10-
                   md-02179-CJB-SS and (b) the Order and Reasons as to Halliburton’s and
                   BP’s Cross-Motions for Partial Summary Judgment Regarding Indemnity,
                   Docket No. 5493 in Case 2:10-md-02179-CJB-SS.

        1.1.4.5.   Neither the provisions regarding Assigned Claims, nor any other provision
                   in the Agreement shall limit BP’s ability to take any action to defend
                   itself in any litigation or arbitration.

        1.1.4.6.   No Warranties for Assigned Claims. BP does not make, and expressly
                   disclaims, any representations or warranties regarding the Assigned
                   Claims, including but not limited to representations and warranties
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                     regarding the validity, value, enforceability, defenses to, or assignability
                     of the Assigned Claims. The invalidity, illegality, or unenforceability of
                     the assignment of any or all Assigned Claims shall not operate to
                     invalidate the Agreement or the Individual Releases, and shall not affect
                     the validity or enforceability of any other provision, or portion thereof, of
                     the Agreement or the Individual Releases. Should the Effective Date
                     occur but part or all of the assignment be held invalid, BP acknowledges
                     and agrees that it will not seek to pursue such Assigned Claims that were
                     the subject of the invalidated assignment.

         1.1.5.    Retention of Assigned Claims. The occurrence of the Effective Date is a
                   condition subsequent of the assignment of the ssigned Claims If the
                   Effective Date does not occur for any reason the ssignment made in
                   Section 1.1 3 shall become null and void and the Assigned Claims shall be
                   retained by BP If any of the Assigned Claims have been liquidated by the
                   Economic Class through judgment or settlement with Transocean and/or
                   Halliburton, such funds shall not be disbursed until the Effective Date has
                   occurred and no compromise, release, or other impairment of the Assigned
                   Claims shall become operative until the Effective Date.      ny attempt to
                   release, compromise or otherwise impair the Assigned Claims shall not
                   become operative until the Effective Date, and any attempt to release,
                   compromise, or otherwise impair the Assigned Claims with an operative
                   date before the Effective Date shall be null and void.

2. DEFINITIONS.

  2.1.        The capitalized terms used in this Attachment shall have the same definitions as
              in the Agreement unless defined in this Attachment. In the event of any conflict,
              the definitions in this Attachment shall prevail over any definitions used in the
              Agreement for purposes of applying the terms of this Attachment.

  2.2.        Agreement shall mean the Economic and Property Damages Settlement
              Agreement, including all of its attachments and exhibits.

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  2.3.    Assigned Claims shall mean the claims defined in Section 1.1.3, excluding the
          Retained Claims defined in Section 1.1.4.

  2.4.    Compensatory Damages shall mean any and all forms of damages, known or
          unknown, intended to or having the effect of satisfying, compensating, or
          reimbursing the Economic Class’s, Plaintiffs’ and or Economic Class Members’
          claims for actual economic or pecuniary costs, expenses, damages, liability, or
          other losses or injuries arising out of, due to, resulting from, or relating in any
          way to, directly or indirectly, the Deepwater Horizon Incident, regardless of what
          such damages are designated, called or labeled Compensatory Damages do not
          include and may not be interpreted to have any overlap with punitive, exemplary
          multiple or non-compensatory damages. Bodily Injury Claims (including
          wrongful death) are not included in Compensatory Damages. Claims of BP
          shareholders in any derivative or direct action solely in their capacity as BP
          shareholders are not included in Compensatory Damages The Parties
          acknowledge and agree that the term Compensatory Damages as defined and used
          herein does not limit the amounts to be used for the calculation of punitive or
          other non-compensatory damages in any current or future litigation pursued by
          the Economic Class, Plaintiffs, and/or Economic Class Members. Nothing herein
          shall be deemed to limit the right of an Economic Class Member to pursue against
          BP Moratoria Losses or other claims expressly reserved under Section 3 of the
          Agreement.

  2.5.    Damages shall mean all forms of damages defined as broadly as possible without
          exception, including losses, costs, expenses, taxes, requests, royalties, rents, fees,
          profits, profit shares, earning capacity, loss of subsistence, damages to real or
          personal property, diminution in property value, punitive damages, exemplary
          damages, multiple damages, non-compensatory damages, Compensatory
          Damages, economic damages, injuries, liens, remedies, debts, claims, causes of
          action, or liabilities.




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  2.6.    Halliburton shall mean Halliburton Energy Services, Inc. and all and any of its
          Affiliates, other than any Natural Person or Entity that is also an Affiliate of any
          of the Released Parties as of April 16, 2012.

  2.7.    Halliburton Parties shall mean Halliburton (including all persons, entities,
          subsidiaries, divisions and business units comprised thereby); each of
          Halliburton’s respective past present and future directors officers employees
          general or limited partners, members, joint venturers, and shareholders, and their
          past, present and future spouses, heirs, beneficiaries, estates, executors,
          administrators, personal representatives, attorneys, agents, trustees, insurers,
          reinsurers, predecessors, successors, indemnitees, assigns, Affiliates; any natural,
          legal or juridical person or entity acting on behalf of or having liability in respect
          of Halliburton, in their respective capacities as such; and the federal Oil Spill
          Liability Trust Fund and any state or local fund, and each of their respective
          Affiliates including their officers, directors, shareholders, employees, and agents.

  2.8.    Other Party shall mean every person, entity, or party other than the Released
          Parties.

  2.9.    Retained Claims shall mean the claims retained by BP in Section 1.1.4.

  2.10.   Transocean shall mean Transocean Ltd., Transocean, Inc., Transocean Offshore
          Deepwater Drilling Inc., Transocean Deepwater Inc., Transocean Holdings LLC,
          and Triton Asset Leasing GmbH and all and any of their Affiliates, other than any
          Natural Person or Entity that is also an Affiliate any of the Released Parties as of
          April 16, 2012.

  2.11.   Transocean Parties shall mean Transocean (including all persons, entities,
          subsidiaries, divisions and business units comprised thereby); each of
          Transocean’s respective past, present and future directors, officers, employees,
          general or limited partners, members, joint venturers, and shareholders, and their
          past, present and future spouses, heirs, beneficiaries, estates, executors,
          administrators, personal representatives, attorneys, agents, trustees, insurers,

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          reinsurers, predecessors, successors, indemnitees, assigns, Affiliates; any natural,
          legal or juridical person or entity acting on behalf of or having liability in respect
          of Transocean, in their respective capacities as such; and the federal Oil Spill
          Liability Trust Fund and any state or local fund, and each of their respective
          Affiliates including their officers, directors, shareholders, employees, and agents.




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Map of Gulf Coast Area




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Map of Specified Gulf Waters




                See inset
           A    on Page 2




 B     C                         D
                                                               G
                                                                                                                       See inset
                                                                            H
                                                          F                                                            on Page 3
                                                                                               K
                                 E                                                    I    J


LEGEND                                                                                                                              L

     Specified Gulf Waters                                                                BOUNDARY POINTS IN GULF OF MEXICO
                                                                   Point   Latitude           Longitude    Point      Latitude     Longitude
     Waters Not Included in Class Definition: State Waters
     Within 3 Marine Leagues (9 Nautical Miles) of Coasts of         A     28.206ᵒN          ‐96.318ᵒW       G       25.703ᵒN      ‐91.092ᵒW
     Texas Counties Not Included in Gulf Coast Area                  B     25.956ᵒN          ‐97.145ᵒW       H       25.669ᵒN      ‐88.385ᵒW
                                                                     C     25.971ᵒN          ‐96.980ᵒW       I       24.933ᵒN      ‐87.210ᵒW
     Boundaries of National Territorial                              D     25.997ᵒN          ‐93.445ᵒW       J       24.941ᵒN      ‐86.938ᵒW
     Waters                                                          E     24.734ᵒN          ‐93.664ᵒW       K       25.207ᵒN              1
                                                                                                                                   ‐86.553ᵒW
                                                                     F     25.445ᵒN          ‐91.645ᵒW       L       23.925ᵒN      ‐81.216ᵒW
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Map of Specified Gulf Waters

 BRAZORIA COUNTY                                                                 GALVESTON COUNTY
                                                                     A




                                                                 B

                                                                            C




                                                                                        D




LEGEND
  Specified Gulf Waters
                                                                                    BOUNDARY POINTS
  Waters Not Included in Class Definition: State Waters
  Within 3 Marine Leagues (9 Nautical Miles) of Coasts of                Point     Latitude       Longitude
  Texas Counties Not Included in Gulf Coast Area                          A        29.197ᵒN      ‐95.057ᵒW
   Boundaries of National Territorial                                      B       29.086ᵒN      ‐95.130ᵒW
   Waters
                                                                           C       29.063ᵒN      ‐95.092ᵒW
   County Boundaries                                                                                             2
                                                                          D        28.986ᵒN      ‐94.978ᵒW
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Map of Specified Gulf Waters

         MIAMI‐DADE
         COUNTY
                      B
                              C
       A                                        D




                                                                              E




                                  MONROE COUNTY



LEGEND
  Specified Gulf Waters                                                       BOUNDARY POINTS
                                                                  Point      Latitude       Longitude
  Waters Not Included in Class Definition: State Waters
  Within 3 Marine Leagues (9 Nautical Miles) of Coasts of           A        25.306ᵒN      ‐80.372ᵒW
  Texas Counties Not Included in Gulf Coast Area
                                                                    B        25.354ᵒN      ‐80.265ᵒW
   Boundaries of National Territorial                               C        25.342ᵒN      ‐80.251ᵒW
   Waters
                                                                   D         25.314ᵒN      ‐80.150ᵒW
   County Boundaries                                                                                           3
                                                                    E        25.184ᵒN      ‐79.692ᵒW
                                                                                                            028893
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               BP CORPORATION NORTH AMERICA INC. GUARANTEE

1.      Guarantee of Obligations. For good and valuable consideration received, the receipt
and sufficiency of which are hereby acknowledged, BP Corporation North America Inc., a
corporation organized under the laws of Indiana (the “First Guarantor”), subject to the terms
and conditions herein, hereby absolutely, irrecoverably, and unconditionally guarantees the
Economic and Property Damages Settlement Class (the “Beneficiary”), by and through (i) the
Claims Administrator, or (ii) Stephen J. Herman and/or James Parkerson Roy, or their
successors, acting as Economic and Property Damages Class Settlement Counsel (“Lead Class
Counsel”), that BP Exploration and Production Inc. and BP America Production Company
(collectively, the “Primary Obligors”) will duly and punctually pay all of the Primary Obligors’
payment obligations (the “Obligations”) under that certain Deepwater Horizon Economic and
Property Damages Settlement Agreement to be dated on or around April 18, 2012 (the
“Agreement”), as and when required in accordance with the terms thereof, in each case, without
regard to whether such obligation is direct or indirect, contingent or otherwise, now or hereafter
existing or owing, or incurred or payable before or after commencement of any proceedings by
or against the Primary Obligors under any applicable bankruptcy or insolvency law or similar
law or proceeding. This guarantee (the “Guarantee”) is given in accordance with Section 37 of
the Agreement. For purposes of this Guarantee, all capitalized terms not otherwise defined
herein shall have the meaning ascribed to such term in the Agreement.

2.      Event of Default of Primary Obligors. The Primary Obligors shall be deemed in
default solely after the occurrence of all of the following events (“Default”):

       (a)   The Primary Obligors have failed to pay an Obligation within the period allowed
by the Agreement.

       (b)     The Claims Administrator or Lead Class Counsel issues a Demand (defined in
Clause (b)) to the Primary Obligors and the First Guarantor alleging that the Primary Obligors
have not paid their Obligations within the period allowed by the greement

        (c)     The Primary Obligors do not cure the alleged breach within five ( ) business days
after receipt of the Demand

       (d)     The Claims Administrator or Lead Class Counsel shall concurrently notify the
Court (presiding judge or magistrate of the division of the District Court for the Eastern District
of Louisiana having oversight of the Agreement) of the alleged breach, and First Guarantor shall
not oppose expedited consultation and or mediation of the dispute

       (e)     The Court informally consults regarding and or mediates the dispute

       (f)      The Primary Obligors fail to take curative action within the greater of (i) two
business days after the conclusion of the consultation and/or mediation with the Court, or (ii) the
balance of the time period specified in Clause 2(c).

3.    Obligation of First Guarantor. If and only if the Primary Obligors are in Default and
such Default has not been cured and is continuing, then First Guarantor must pay or procure the


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payment of the applicable overdue and unpaid Obligations of the Primary Obligors within the
greater of (i) 15 days from receipt of the Demand or (ii) five business days after the
determination of a Default as specified in Clauses 2(a) – (f).

4.      Joint and Several Obligation. The First Guarantor’s obligations under this Guarantee
are contingent upon the occurrence and continuation of a Default by the Primary Obligors. Upon
and after the occurrence, and during the continuance, of a Default, (a) this Guarantee shall be a
guarantee of payment, and not of collection, of the applicable overdue and unpaid Obligations;
(b) the First Guarantor’s obligations hereunder shall be on a “joint and several” basis with the
Primary Obligors to the same degree and extent as if the First Guarantor had been a co-principal
obligor of the applicable unpaid Obligations, and (c) a separate action or actions may be brought
and prosecuted against the First Guarantor to enforce this Guarantee, irrespective of whether any
action is brought upon the Primary Obligors or whether any Primary Obligor is joined in any
such action or actions.

5.      Duration. The obligations of the First Guarantor set forth herein constitute the full
recourse obligations of the First Guarantor enforceable against it to the full extent of all its assets
and properties and shall remain in full force and effect until the earlier of (i) such time as all the
Obligations of the Primary Obligors under the Agreement have been performed in full and so
declared by Court order, or (ii) such time as the Agreement terminates or becomes null and void
for any of the reasons set out in Section 21 of the Agreement.

6.      Waiver of Defenses. The obligations of the First Guarantor hereunder shall not be
subject to any counterclaim, setoff, deduction, diminution, abatement, stay, recoupment,
suspension, deferment, reduction or defense (other than full and strict payment or other
satisfaction of the Obligations) based upon any claim the First Guarantor may have against the
Beneficiary or any other obligor. Subject to Clause 5, the obligations of the First Guarantor
hereunder shall remain in full force and effect without regard to, and shall not be released,
discharged or reduced (except to the extent of any defenses to payment or performance to which
the Primary Obligors are entitled under the Agreement) for any reason, including (a) any
amendment or waiver of any term of the Agreement, whether or not the Beneficiary, Primary
Obligors, or the First Guarantor has notice or knowledge of any of the foregoing; or (b) any
bankruptcy, insolvency or similar proceeding with respect to the First Guarantor or Primary
Obligors or their respective properties, or any action taken by any trustee or receiver or by any
court in any such proceeding. The First Guarantor also waives any right to demand arbitration or
mediation, and any right to a jury trial. The obligations of the First Guarantor hereunder shall be
subject to, and the First Guarantor shall be entitled to assert, any counterclaim, setoff, deduction,
or defense that the Primary Obligors could assert against the Beneficiary under the Agreement.

7.     Waiver of Notice. Except as set forth in this Guarantee, the First Guarantor
unconditionally waives all notices which may be required by statute, rule of law or otherwise to
preserve any rights against the First Guarantor hereunder, including (a) notice of the acceptance
of this Guarantee by the Beneficiary or any assignee thereof, or the modification of the
Obligations or notice of any other matters relating thereto; (b) any presentment, demand, notice
of dishonor, protest or nonpayment of any damages or other amounts payable under the
Agreement; (c) any requirement for the enforcement, assertion or exercise of any right or remedy
under the Agreement; (d) any requirement of diligence; (e) if the Primary Obligors are in


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Default, the right to require the Beneficiary to proceed against the Primary Obligors or any other
person liable on the Obligations, and the Guarantor waives the right to have the property of the
Primary Obligors first applied to discharge the Obligations.

8.      Subordination of Rights. The First Guarantor shall be subrogated to all rights of the
Beneficiary against the Primary Obligors in respect of any amounts paid by the First Guarantor
pursuant to the Guarantee, provided that the First Guarantor waives any rights it may acquire by
way of subrogation under this Guarantee, by any payment made hereunder or otherwise
(including, without limitation, any statutory rights of subrogation under Section 509 of the
Bankruptcy Code, 11 U.S.C. § 509, or otherwise), reimbursement, exoneration, contribution,
indemnification, or any right to participate in any claim or remedy of the Beneficiary against the
Primary Obligors or any collateral which the Beneficiary now has or acquires, until all of the
Obligations shall have been irrevocably and indefeasibly paid to the Beneficiary in full. If (a)
the First Guarantor shall make payment to the Beneficiary of all or any part of the Obligations,
and (b) all the Obligations shall have been indefeasibly paid in full, then the Beneficiary shall, at
the First Guarantor’s request, execute and deliver to the First Guarantor appropriate documents
necessary to evidence the transfer by subrogation to the First Guarantor of any interest in the
Obligations resulting from such payment of the First Guarantor. Any sums received by the First
Guarantor in violation of the foregoing shall be held in trust for the Beneficiary and shall be
promptly paid over to the Claims Administrator or Lead Class Counsel on behalf of the
Beneficiary without any need for further action of any kind by the Beneficiary, to be credited and
applied against the Obligations.

9.     Demands.

        (a)     This Guarantee may only be enforced by the Claims Administrator or Lead Class
Counsel on behalf of the Beneficiary and may not be enforced by any other Natural Person or
Entity, including, without limitation, any member of the Beneficiary.

       (b)     Any demand sent by the Claims Administrator or Lead Class Counsel to the First
Guarantor under this Guarantee shall be in writing and shall (i) state the reasons for making such
demand, and (ii) clearly identify the Obligations under the Agreement which the Primary
Obligors have failed to pay, and such notice shall be delivered or sent by email, facsimile, and
overnight mail to the First Guarantor at its address as provided under Clause 12(b) (“Demand”).

       (c)    All Demands to proceed under this Guarantee must be sent to the First Guarantor
by the Claims Administrator or Lead Class Counsel.

10.    Representations and Warranties.

       (a)     The First Guarantor is a corporation duly formed and validly existing under the
laws of the State of Indiana.

        (b)     The First Guarantor has the power and authority to execute, deliver and perform
its obligations under this Guarantee and has taken all necessary action to authorize the execution,
delivery and performance of this Guarantee. No consent is required for the due execution,
delivery, and performance by the First Guarantor of this Guarantee, except those that have been
obtained and are in full force and effect.

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         (c)    The authorization, execution, delivery and performance of this Guarantee by the
First Guarantor will not result in any breach of or default under (or any condition which with the
giving of notice or lapse of time or both would constitute a breach or default under) (i) the
constituent documents of the First Guarantor, or (ii) any contract, indenture, mortgage, security
agreement or other document, instrument or agreement or any judgment, order or decree or law,
rule, or regulation to which the First Guarantor is a party or to which the First Guarantor or any
of its property is subject.

11.     Sole Remedy. The First Guarantor’s obligations under this Guarantee are the sole and
exclusive remedy of the Beneficiary against the First Guarantor under the Agreement. The First
Guarantor’s entire obligation to the Beneficiary is the guarantee of the Obligations and the other
obligations expressly set forth in Clause 12 and the First Guarantor shall have no other
obligations of any kind to the Beneficiary. No person or entity, other than the Beneficiary acting
through the Claims Administrator or Lead Class Counsel, shall have any rights, remedies or
recourse to the First Guarantor under this Guarantee.

12.    Miscellaneous.

       (a)     The First Guarantor shall not assign any of its rights or delegate any of its duties
under this Guarantee to any person or entity without the prior written consent of the
Beneficiaries. This Guarantee shall be binding upon First Guarantor, its successors, and assigns,
and shall inure to the benefit of Beneficiary, its successors, and assigns.

        (b)    Any notice to the First Guarantor pursuant to this Guarantee shall be sent by
electronic mail, facsimile, and overnight mail to the following individuals, who are authorized to
receive all notices, demands, suits to perform, and all other correspondence arising out of the
Guarantee:

       John E. (Jack) Lynch Jr.                            James J. Neath
       Deputy Group General Counsel                        Associate General Counsel
       U.S. General Counsel                                BP America Inc.
       BP America Inc.                                     501 Westlake Park Boulevard
       501 Westlake Park Boulevard                         Houston, TX 77079
       Houston, TX 77079                                   Fax: 281-366-5901
       Fax: 713-375-2808                                   E-mail: James.Neath@bp.com
       E-mail: John.Lynch@uk.bp.com




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Any notice to Beneficiary pursuant to this Guarantee shall be sent by electronic mail, facsimile,
and overnight mail to the following individuals in their capacity as Lead Class Counsel:

       Stephen J. Herman                                 James Parkerson Roy
       Herman Herman Katz & Cotlar LLP                   Domengeaux Wright Roy & Edwards
       820 O’Keefe venue                                 LLC 556 Jefferson Street, Suite 500
       New Orleans, LA 70113                             Lafayette, LA 70501
       Fax: 504- - 02                                    Fax: 337-233-2796
       E-mail: sherman@hhkc.com                          E-Mail: jimr@wrightroy.com

Any notice to the Claims Administrator pursuant to this Guarantee shall be sent by electronic
mail, facsimile, and overnight mail to the following individual in his capacity as the Claims
Administrator:

       Patrick Juneau
       Juneau David, APLC
       Post Office Drawer 2 8
        afayette,     0 0 - 2 8
       Fax:     -2 -00
       E-mail: paj@juneaudavid.com
                fgg@juneaudavid.com

Whenever any notice is sent related to this Guarantee, such notice shall be sent to all of the
addressees listed in this Clause 12(b).

      (c)     This Guarantee shall not be amended without the written consent of the First
Guarantor and the Beneficiaries.

       (d)     The provisions of this Guarantee shall be deemed severable, and if any one or
more provisions of this Guarantee shall be determined to be invalid or unenforceable, all other
provisions shall, nevertheless, remain in full force and effect.

        (e)   If the First Guarantor has performed under this Guarantee, then within 30 days of
a written demand, the First Guarantor shall pay all reasonably incurred and properly documented
out-of-pocket costs, fees, and/or expenses incurred by the Claims Administrator and/or Lead
Class Counsel, including fees and disbursements of counsel, in connection with the pursuit of
performance under this Guarantee.

     (f)   THIS GUARANTEE SHALL BE GOVERNED IN ALL RESPECTS,
INCLUDING AS TO VALIDITY, INTERPRETATION AND EFFECT, BY THE LAWS OF
THE STATE OF NEW YORK, WITHOUT GIVING EFFECT TO ITS PRINCIPLES OR
RULES OF CONFLICT OF LAWS, TO THE EXTENT SUCH PRINCIPLES OR RULES ARE
NOT MANDATORILY APPLICABLE BY STATUTE AND WOULD PERMIT OR REQUIRE
THE APPLICATION OF THE LAWS OF ANOTHER JURISDICTION.



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        (g)     Pursuant to the Court’s continuing jurisdiction over the greement, the First
Guarantor, Beneficiary, Claims Administrator, and Lead Class Counsel agree that the United
States District Court for the Eastern District of Louisiana shall have exclusive jurisdiction and
venue to enforce, interpret, give effect to, or resolve any disputes, cases, or controversies
concerning this Guarantee. If MDL 2179 has not yet been terminated, any pleading filed on
behalf of any complainant party relating to the Guarantee shall be accompanied by a legal
request for such dispute, case, or controversy to be made part of MDL 2179. In all other respects
and purposes unrelated to matters involving the Guarantee or its enforcement, the First Guarantor
specifically reserves any and all defenses to the jurisdiction and venue of this Court. The
Beneficiary, Claims Administrator, and Lead Class Counsel agree that the First Guarantor’s
agreement in this Clause 12(g) does not constitute a waiver of jurisdictional defenses, consent to
jurisdiction, or an act supporting or sufficient to establish jurisdiction over the First Guarantor
for any matter besides disputes, cases, or controversies concerning this Guarantee.




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                            BP P.L.C. BACK-UP GUARANTEE

1.     Recitals.

       (a)    Whereas, BP Corporation North America Inc., an Indiana corporation (the “First
Guarantor”), is providing a guarantee (the “BPCNA Guarantee”) in favor of the Economic and
Property Damages Settlement Class (the “Beneficiary”) in connection with that certain
Deepwater Horizon Economic and Property Damages Settlement Agreement to be dated on or
around April 18, 2012 (the “Agreement”), guaranteeing the payment obligations (the
“Obligations”) of BP Exploration and Production Inc. and BP America Production Company
(the “Primary Obligors”) under the Agreement.

      (b)     Whereas, the First Guarantor is a wholly-owned indirect subsidiary of BP p.l.c., a
company incorporated in England and Wales (the “Second Guarantor”), and the Second
Guarantor has agreed to provide this guarantee (the “Guarantee”) pursuant to Section 37 of the
Agreement.

        (c)    Now, therefore, for good and valuable consideration received, the receipt and
sufficiency of which are hereby acknowledged, the Second Guarantor agrees as follows:

2.      Guarantee of Obligations. The Second Guarantor, subject to the terms and conditions
herein, including, without limitation, the occurrence and continuance of a BPCNA Default,
hereby absolutely, irrecoverably, and unconditionally guarantees the Beneficiary, by and through
(i) the Claims Administrator, or (ii) Stephen J. Herman and/or James Parkerson Roy, or their
successors, acting as Economic and Property Damages Class Settlement Counsel (“Lead Class
Counsel”), that the Primary Obligors (or, if applicable, the First Guarantor) will duly and
punctually pay all of the Primary Obligors’ Obligations under the Agreement, as and when
required in accordance with the terms thereof, in each case, without regard to whether such
obligation is direct or indirect, contingent or otherwise, now or hereafter existing or owing, or
incurred or payable before or after commencement of any proceedings by or against the Primary
Obligors under any applicable bankruptcy or insolvency law or similar law or proceeding. For
purposes of this Guarantee, all capitalized terms not otherwise defined herein shall have the
meaning ascribed to such term in the Agreement.

3.     Event of Default of Primary Obligors and First Guarantor. The Primary Obligors
and the First Guarantor shall be deemed in default solely after the occurrence of all of the
following events (“BPCNA Default”):

       (a)   The Primary Obligors have failed to pay an Obligation within the period allowed
by the Agreement.

        (b)   The Claims Administrator or Lead Class Counsel issues a Demand (defined in
Clause 11(b)) to the Primary Obligors, the First Guarantor, and the Second Guarantor alleging
that the Primary Obligors have not paid their Obligations within the period allowed by the
Agreement.




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        (c)     The Primary Obligors do not cure the alleged breach within five (5) business days
after receipt of the Demand

        (d)    The Claims Administrator or Lead Class Counsel shall concurrently notify the
Court (presiding judge or magistrate of the division of the District Court for the Eastern District
of Louisiana having oversight of the Agreement) of the alleged breach, and Second Guarantor
shall not oppose expedited consultation and or mediation of the dispute

       (e)     The Court informally consults regarding and or mediates the dispute

       (f)      The Primary Obligors fail to take curative action within the greater of (i) two
business days after the conclusion of the consultation and/or mediation with the Court, or (ii) the
balance of the time period specified in Clause 3(c).

       (g)     The occurrence and continuation of either: (i) a failure by First Guarantor to pay
the applicable Obligations or otherwise cure the Default (as defined in the BPCNA Guarantee) of
the Primary Obligors within the time specified in the BPCNA Guarantee, or (ii) a Net Worth
Event as defined hereinafter.

4.     Obligation of Second Guarantor. If and only if a BPCNA Default has occurred and
such BPCNA Default has not been cured and is continuing, then Second Guarantor must pay or
procure the payment of the applicable overdue and unpaid Obligations of the Primary Obligors
within the greater of (i) 30 days from receipt of the Demand or (ii) 15 days after the
determination of a BPCNA Default as specified in Clauses 3(a) – (g).

5.     Net Worth Event. For purposes of this Guarantee, the terms set forth below have the
following meanings.

       “Consolidated Net Worth” means Total Assets less Total Liabilities.
       “G P” means, as at any date of determination, generally accepted accounting
       principles in the United States.
       “Net Worth Event” means the Consolidated Net Worth of the First Guarantor, as
       demonstrated in the most recently produced audited, annual consolidated balance sheet
       shall be less than ten billion ( 10,000,000,000), pursuant to audited financials that First
       Guarantor shall produce to Lead Class Counsel and the Claims Administrator at least
       once a year, subject to a customary confidentiality agreement reasonably acceptable to
       the First Guarantor and the Second Guarantor. f the annual audited financials required
       hereunder (subject to the confidentiality agreement) are not produced on or before the
       earlier of (a) 120 days after the end of First Guarantor’s fiscal year or (b) the date the
       audited financials are provided to the First Guarantor’s creditors, a Net Worth Event will
       immediately be deemed to have occurred without the need for further action of any kind;
       provided, however, that the First Guarantor’s subsequent provision of the audited
       financials to ead Class Counsel and the Claims dministrator showing the Consolidated
       Net Worth of the First Guarantor to be in excess of ten billion dollars ( 10,000,000,000)
       shall immediately cure the Net Worth Event



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       “Total ssets” means, as at any date of determination, all assets of the First Guarantor
       and its subsidiaries on a consolidated basis in conformity with GAAP.
       “Total iabilities” means, as at any date of determination, all liabilities of the First
       Guarantor and its subsidiaries on a consolidated basis in conformity with GAAP.
6.      Joint and Several Obligation. The Second Guarantor’s obligations under this
Guarantee are contingent upon the occurrence and continuation of a BPCNA Default. Upon and
after the occurrence, and during the continuance, of a BPCNA Default, (a) this Guarantee shall
be a guarantee of payment, and not of collection, of the applicable overdue and unpaid
Obligations; (b) the Second Guarantor’s obligations hereunder shall be on a “joint and several”
basis with the Primary Obligors and the First Guarantor to the same degree and extent as if the
Second Guarantor had been a co-principal obligor of the applicable unpaid Obligations, and (c) a
separate action or actions may be brought and prosecuted against the Second Guarantor to
enforce this Guarantee, irrespective of whether any action is brought upon the Primary Obligors
or the First Guarantor or whether any Primary Obligor or First Guarantor is joined in any such
action or actions.

7.       Duration. The obligations of the Second Guarantor set forth herein constitute the full
recourse obligations of the Second Guarantor enforceable against it to the full extent of all its
assets and properties and shall remain in full force and effect until the earlier of (i) such time as
all the Obligations of the Primary Obligors under the Agreement have been performed in full and
so declared by Court order, (ii) five years after the Effective Date, as defined in the Agreement,
or (iii) such time as the Agreement terminates or becomes null and void for any of the reasons set
out in Section 21 of the Agreement.

8.      Waiver of Defenses. The obligations of the Second Guarantor hereunder shall not be
subject to any counterclaim, setoff, deduction, diminution, abatement, stay, recoupment,
suspension, deferment, reduction or defense (other than full and strict payment or other
satisfaction of the Obligations) based upon any claim the Second Guarantor may have against the
Beneficiary or any other obligor. Subject to Clause 7, the obligations of the Second Guarantor
hereunder shall remain in full force and effect without regard to, and shall not be released,
discharged or reduced (except to the extent of any defenses to payment or performance to which
the Primary Obligors are entitled under the Agreement) for any reason, including (a) any
amendment or waiver of any term of the Agreement, whether or not the Beneficiary, Primary
Obligors, or the Second Guarantor has notice or knowledge of any of the foregoing; or (b) any
bankruptcy, insolvency or similar proceeding with respect to the First Guarantor or Primary
Obligors or their respective properties, or any action taken by any trustee or receiver or by any
court in any such proceeding. The Second Guarantor also waives any right to demand arbitration
or mediation, and any right to a jury trial. The obligations of the Second Guarantor hereunder
shall be subject to, and the Second Guarantor shall be entitled to assert, any counterclaim, setoff,
deduction, or defense that the Primary Obligors could assert against the Beneficiary under the
Agreement.

9.     Waiver of Notice. Except as set forth in this Guarantee, the Second Guarantor
unconditionally waives all notices which may be required by statute, rule of law or otherwise to
preserve any rights against the Second Guarantor hereunder, including (a) notice of the
acceptance of this Guarantee by the Beneficiary or any assignee thereof, or the modification of


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the Obligations or notice of any other matters relating thereto; (b) any presentment, demand,
notice of dishonor, protest or nonpayment of any damages or other amounts payable under the
Agreement; (c) any requirement for the enforcement, assertion or exercise of any right or remedy
under the Agreement; (d) any requirement of diligence; (e) if the Primary Obligors are in default,
the right to require the Beneficiary to proceed against the Primary Obligors or any other person
liable on the Obligations, and the Second Guarantor waives the right to have the property of the
Primary Obligors first applied to discharge the Obligations.

10.     Subordination of Rights. The Second Guarantor shall be subrogated to all rights of the
Beneficiary against the Primary Obligors and the First Guarantor in respect of any amounts paid
by the Second Guarantor pursuant to the Guarantee, provided that the Second Guarantor waives
any rights it may acquire by way of subrogation under this Guarantee, by any payment made
hereunder or otherwise (including, without limitation, any statutory rights of subrogation under
Section 509 of the Bankruptcy Code, 11 U.S.C. § 509, or otherwise), reimbursement,
exoneration, contribution, indemnification, or any right to participate in any claim or remedy of
the Beneficiary against the Primary Obligors or any collateral which the Beneficiary now has or
acquires, until all of the Obligations shall have been irrevocably and indefeasibly paid to the
Beneficiary in full. If (a) the Second Guarantor shall make payment to the Beneficiary of all or
any part of the Obligations, and (b) all the Obligations shall have been indefeasibly paid in full,
then the Beneficiary shall, at the Second Guarantor’s request, execute and deliver to the Second
Guarantor appropriate documents necessary to evidence the transfer by subrogation to the
Second Guarantor of any interest in the Obligations resulting from such payment of the Second
Guarantor. Any sums received by the Second Guarantor in violation of the foregoing shall be
held in trust for the Beneficiary and shall be promptly paid over to the Claims Administrator or
Lead Class Counsel on behalf of the Beneficiary without any need for further action of any kind
by the Beneficiary, to be credited and applied against the Obligations.

11.    Demands.

        (a)     This Guarantee may only be enforced by the Claims Administrator or Lead Class
Counsel on behalf of the Beneficiary and may not be enforced by any other Natural Person or
Entity, including, without limitation, any member of the Beneficiary.

        (b)    Any demand sent by the Claims Administrator or Lead Class Counsel to the
Second Guarantor under this Guarantee shall be in writing and shall (i) state the reasons for
making such demand, and (ii) clearly identify the Obligations under the Agreement which the
Primary Obligors have failed to pay, and such notice shall be delivered or sent by email,
facsimile, and overnight mail to the Second Guarantor at its address as provided under Clause
14(b) (“Demand”).

      (c)     All Demands to proceed under this Guarantee must be sent to the Second
Guarantor by the Claims Administrator or Lead Class Counsel.

12.    Representations and Warranties.

       (a)    The Second Guarantor is a company duly formed and validly existing under the
laws of England and Wales.


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        (b)    The Second Guarantor has the power and authority to execute, deliver and
perform its obligations under this Guarantee and has taken all necessary action to authorize the
execution, delivery and performance of this Guarantee. No consent is required for the due
execution, delivery, and performance by the Second Guarantor of this Guarantee, except those
that have been obtained and are in full force and effect.

        (c)    The authorization, execution, delivery and performance of this Guarantee by the
Second Guarantor will not result in any breach of or default under (or any condition which with
the giving of notice or lapse of time or both would constitute a breach or default under) (i) the
constituent documents of the Second Guarantor, or (ii) any contract, indenture, mortgage,
security agreement or other document, instrument or agreement or any judgment, order or decree
or law, rule, or regulation to which the Second Guarantor is a party or to which the Second
Guarantor or any of its property is subject.

13.     Sole Remedy. The Second Guarantor’s obligations under this Guarantee are the sole and
exclusive remedy of the Beneficiary against the Second Guarantor under the Agreement. The
Second Guarantor’s entire obligation to the Beneficiary is the guarantee of the Obligations and
the other obligations expressly set forth in Clause 14 and the Second Guarantor shall have no
other obligations of any kind to the Beneficiary. No person or entity, other than the Beneficiary
acting through the Claims Administrator or Lead Class Counsel, shall have any rights, remedies
or recourse to the Second Guarantor under this Guarantee.

14.    Miscellaneous.

       (a)     The Second Guarantor shall not assign any of its rights or delegate any of its
duties under this Guarantee to any person or entity without the prior written consent of the
Beneficiaries. This Guarantee shall be binding upon Second Guarantor, its successors, and
assigns, and shall inure to the benefit of Beneficiary, its successors, and assigns.

        (b)    Any notice to the Second Guarantor pursuant to this Guarantee shall be sent by
electronic mail, facsimile, and overnight mail to the following individuals, who are authorized to
receive all notices, demands, suits to perform, and all other correspondence arising out of the
Guarantee:

       Rupert Bondy                                       David Bucknall
       Group General Counsel                              Group Treasurer
       BP p.l.c.                                          BP p.l.c.
       1 St James's Square                                4th Floor
       London SW1Y 4PD                                    20 Canada Square
       United Kingdom                                     London E14 5NJ
       Fax: +44-20-7496-4242                              United Kingdom
       E-mail: Rupert.Bondy@uk.bp.com                     Fax: +44-20-7948-7783
                                                          E-mail: David.Bucknall@uk.bp.com




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       John E. (Jack) Lynch Jr.                          James J. Neath
       Deputy Group General Counsel                      Associate General Counsel
       U.S. General Counsel                              BP America Inc.
       BP America Inc.                                   501 Westlake Park Boulevard
       501 Westlake Park Boulevard                       Houston, TX 77079
       Houston, TX 77079                                 Fax: 281-366-5901
       Fax: 713-375-2808                                 E-mail: James.Neath@bp.com
       E-mail: John.Lynch@uk.bp.com

Any notice to Beneficiary pursuant to this Guarantee shall be sent by electronic mail, facsimile,
and overnight mail to the following individuals in their capacity as Lead Class Counsel:

       Stephen J. Herman                                 James Parkerson Roy
       Herman Herman Katz & Cotlar LLP                   Domengeaux Wright Roy & Edwards
       820 O’Keefe venue                                 LLC 556 Jefferson Street, Suite 500
       New Orleans, LA 70113                             Lafayette, LA 70501
       Fax: 504-561-6024                                 Fax: 337-233-2796
       E-mail: sherman@hhkc.com                          E-Mail: jimr@wrightroy.com

Any notice to the Claims Administrator pursuant to this Guarantee shall be sent by electronic
mail, facsimile, and overnight mail to the following individual in his capacity as the Claims
Administrator:

       Patrick Juneau
       Juneau David, APLC
       Post Office Drawer 51268
        afayette,    70505-1268
       Fax: 337-269-0061
       E-mail: paj@juneaudavid.com
                fgg@juneaudavid.com

Whenever any notice is sent related to this Guarantee, such notice shall be sent to all of the
addressees listed in this Clause 14(b).

      (c)     This Guarantee shall not be amended without the written consent of the Second
Guarantor and the Beneficiaries.

       (d)     The provisions of this Guarantee shall be deemed severable, and if any one or
more provisions of this Guarantee shall be determined to be invalid or unenforceable, all other
provisions shall, nevertheless, remain in full force and effect.




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        (e)     If the Second Guarantor has performed under this Guarantee, then within 30 days
of a written demand, the Second Guarantor shall pay all reasonably incurred and properly
documented out-of-pocket costs, fees, and/or expenses incurred by the Claims Administrator
and/or Lead Class Counsel, including fees and disbursements of counsel, in connection with the
pursuit of performance under this Guarantee.

     (f)   THIS GUARANTEE SHALL BE GOVERNED IN ALL RESPECTS,
INCLUDING AS TO VALIDITY, INTERPRETATION AND EFFECT, BY THE LAWS OF
THE STATE OF NEW YORK, WITHOUT GIVING EFFECT TO ITS PRINCIPLES OR
RULES OF CONFLICT OF LAWS, TO THE EXTENT SUCH PRINCIPLES OR RULES ARE
NOT MANDATORILY APPLICABLE BY STATUTE AND WOULD PERMIT OR REQUIRE
THE APPLICATION OF THE LAWS OF ANOTHER JURISDICTION.

       (g)      Pursuant to the Court’s continuing jurisdiction over the greement, the Second
Guarantor, Beneficiary, Claims Administrator, and Lead Class Counsel agree that the United
States District Court for the Eastern District of Louisiana shall have exclusive jurisdiction and
venue to enforce, interpret, give effect to, or resolve any disputes, cases, or controversies
concerning this Guarantee. If MDL 2179 has not yet been terminated, any pleading filed on
behalf of any complainant party relating to the Guarantee shall be accompanied by a legal
request for such dispute, case, or controversy to be made part of MDL 2179. In all other respects
and purposes unrelated to matters involving the Guarantee or its enforcement, the Second
Guarantor specifically reserves any and all defenses to the jurisdiction and venue of this Court.
The Beneficiary, Claims Administrator, and Lead Class Counsel agree that the Second
Guarantor’s agreement in this Clause 14(g) does not constitute a waiver of jurisdictional
defenses, consent to jurisdiction, or an act supporting or sufficient to establish jurisdiction over
the Second Guarantor for any matter besides disputes, cases, or controversies concerning this
Guarantee.




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                   Procedures for Filing and Briefing of Appeals

1.   The Claims Administrator shall designate an appeals coordinator (“Appeals
Coordinator”) to coordinate the appeals process set forth in Section 6 of the
Agreement.

2.     Appeals shall be commenced by the appellant filing with the Appeals
Coordinator within the applicable time frames set forth in Section 6 of the
Agreement a Notice of Appeal stating the appellant’s election to appeal, the issues
being appealed and the relief requested. The Appeals Coordinator shall provide a
copy of the Notice of Appeal to the appellee. Such copy shall be provided by
electronic mail if the appellee has provided the Claims Administrator with an
electronic mail address or otherwise by U.S. Mail.

3.     Upon receiving a Notice of Appeal, the Appeals Coordinator shall issue a
schedule to the appellant and the appellee, and shall provide the address and email
address at which to serve the parties to the appeal and Lead Class Counsel. The
schedule shall set forth specific due dates (month, day, and year) so that there is a
clear understanding of the following applicable deadlines:

       A.      For appeals to which the “baseball” process applies pursuant to
Section 6 of the Agreement, the appellant and appellee shall file their Initial
Proposal with the Appeals Coordinator, and serve the other party by electronic
mail and overnight delivery within 15 days of the date that the Appeals
Coordinator transmits the Notice of Appeal to the appellee via email and overnight
delivery. Any party may file a memorandum in support of its Initial Proposal
together with its Initial Proposal. By no later than 25 days of the date that the
Appeals Coordinator transmits the Notice of Appeal to the appellee, if the appeal
has not been settled by the appellant and appellee, the appellant and appellee shall
each file its Final Proposal and shall serve the other party by electronic mail,
overnight delivery, or U.S. Mail.

       B.    For appeals to which “baseball” does not apply pursuant to the
Agreement, the appellant shall file with the Appeals Coordinator, and serve the
appellee, an opening memorandum in support of its appeal explaining the basis for
its appeal within 10 days of the date that the Appeals Coordinator transmits the
Notice of Appeal to the appellee. The appellee may file an opposition
memorandum by no later than 25 days of the date that the Appeals Coordinator
transmits the Notice of Appeal to the appellee. The appellee shall file the
opposition memorandum on the appellant by electronic mail, overnight delivery, or


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U.S. Mail. The appellant may file a reply brief by no later than 35 days after the
date that the Appeals Coordinator transmits the Notice of Appeal to the appellee.
The appellant shall file the reply memorandum on the appellee by electronic mail,
overnight delivery, or U.S. Mail.

4.    The Appeals Coordinator may grant extensions to the above-mentioned
deadlines in the Appeals Coordinator’s discretion.

5.   The Appeals Coordinator, upon concurrence of the Claims Administrator,
may amend and/or adopt procedures as necessary to implement Section 6 of the
Agreement after providing notice and a right to comment by the BP Parties and
Lead Class Counsel.

6.    The Appeals Coordinator shall post on the Court Approved Settlement
Program web site and make available in hard copy a protocol summarizing these
procedures and mechanism for filing appeals and documents in connection
therewith (i.e., address for filing appeals and documents in connection therewith).

7.    All decisions of Appeal Panelists shall be emailed to attorneys for the parties
and Lead Class Counsel. In addition, public versions shall be created with
personally identifying information redacted.

8.     Pursuant to Section 6.6 of the Settlement Agreement, the Court maintains
the discretionary right to review any Appeal determination and upon reviewing
such determination, the Court shall treat the Appeal determination as if it were a
recommendation by a Magistrate Judge.




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             Important Information About the Attached Full and Final Release,
                           Settlement, and Covenant Not to Sue

All claimants have the right to consult with an attorney of their own choosing prior to
accepting any settlement payment or signing a release of legal rights. If you are represented by
an attorney in connection with your claim, confer with your attorney before signing this
document.

The attached Full and Final Release, Settlement, and Covenant Not to Sue (“Individual Release”)
is a binding legal document. By signing this document, you are forever waiving and releasing all
claims that you may have against BP or any other party in connection with the Deepwater
Horizon Incident (as defined in the Individual Release) except for Expressly Reserved Claims (as
defined in the Individual Release).

By signing the attached Individual Release, you are forever giving up and discharging any
rights that you may have for any costs, damages, causes of actions, claims, or other relief
related to or arising from the Deepwater Horizon Incident except for Expressly Reserved Claims
even if you are not currently aware of such costs or damages and even if such costs or
damages arise in the future (i.e., additional oil impacts) or do not manifest themselves until
the future.

By signing the attached Individual Release, you acknowledge that you have read and understand the
terms of the Individual Release, and that you execute the Individual Release voluntarily and without
being pressured or influenced by, and without relying upon, any statement or representation made by
any person acting on behalf of BP or any other released party.

The settlement payment you have been offered arises under the auspices of the federal District
Court in New Orleans presiding over the multidistrict litigation titled In re Oil Spill by the Oil Rig
“Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010 (MDL No. 2179). A class action
settlement has been proposed in that case, but the Court has not yet given final approval of that
proposed settlement. If the Court does approve the proposed class action settlement, an appellate
court could reverse the approval. In addition, it is possible that the terms of the proposed
settlement may change in the future—for better or for worse—as a result of further legal
proceedings. However, if you sign this Individual Release, none of those uncertain future events
will affect you. By signing this Individual Release you are forever waiving and releasing all
claims that you may have against BP (except for Expressly Reserved Claims) in exchange
for the compensation being provided. In fact, even if the Court does not approve the proposed
class action settlement agreement or the approval is reversed by an appellate court, you shall
continue to be bound by this Individual Release.

For a Business Claimant, if the business is a sole proprietorship and you are the owner and you
are married, or if the business is jointly owned by you and your spouse, both you and your spouse
must sign the Individual Release. For an Individual Claimant, if you are married, both you and your
spouse must sign the Individual Release. You and your spouse should not sign the Individual
Release unless you both intend to release and give up all of your claims.




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By signing below, you acknowledge that you have read and understand the information above. You
elect to accept the payment as a final settlement of all claims against any party in connection with
the Deepwater Horizon Incident except for Expressly Reserved Claims. You consent to the use
and disclosure by the Claims Administrator and those assisting the Claims Administrator of any
information that the Claims Administrator believes necessary and/or helpful to process your claim
for compensation and payment and to any legitimate business purposes associated with administering
the settlement facility. Finally, you consent to the Claims Administrator providing documentation and
information to Lead Class Counsel, BP, and the Court as provided for in the Settlement Agreement.

                                     ACKNOWLEDGMENT

I/We acknowledge that I/we have read and understand the information above. I/We consent to
the claimant’s election to accept the payment as a final settlement of all claims of claimant against
any party in connection with the Deepwater Horizon Incident except for Expressly Reserved Claims.



Signature of Claimant                                                        Date



Signature of Claimant’s Spouse                                               Date




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        FULL AND FINAL RELEASE, SETTLEMENT, AND COVENANT NOT TO SUE

        1.       Definitions: For purposes of this Individual Release, the following definitions shall
apply, and in the case of defined nouns, the singular shall include the plural and vice versa:

                 (a)     “Affiliate” means with respect to any Natural Person or Entity, any other
Natural Person or Entity that directly or indirectly, through one or more intermediaries, controls, or is
controlled by, or is under common control with, such Natural Person or Entity.

                (b)      “Assigned Claims” means the claims defined in Exhibit 21 to the Settlement
Agreement.

                 (c)     “Bodily Injury Claims” means claims and damages, including lost wages, for or
resulting from personal injury, latent injury, future injury, progression of existing injury, damage, disease,
death, fear of disease or injury or death, mental or physical pain or suffering, or emotional or mental
harm, anguish or loss of enjoyment of life, including any claim for mental health injury, arising out of,
due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon Incident.

                  (d)     “BP” means BP Exploration & Production Inc., BP America Production
Company, BP America Inc., BP Company North America Inc., BP Corporation North America Inc., BP
Corporation North America Inc. Savings Plan Investment Oversight Committee, BP Energy Company,
BP Exploration (Alaska) Inc., BP Global Special Products (America) Inc., BP Holdings North America
Limited, BP p.l.c., BP Products North America Inc., and each of their respective direct or indirect parents,
subsidiaries and subsidiary undertakings (as those terms are defined in the U.K. Companies Act 2006),
Affiliates, divisions, and business units.

              (e)    “Claim” means any demand or request for compensation (other than Bodily
Injury Claims or Expressly Reserved Claims), together with any properly completed forms and
accompanying required documentation, submitted by a Claimant to the Settlement Program.

              (f)    “Claimant” means any Natural Person or Entity that submits a Claim to the
Settlement Program seeking compensation as a member of the Economic Class.

                (g)      “Coastal Real Property” means property in the Coastal Real Property Claim
Zone.

              (h)     “Coastal Real Property Claim Framework” means that process described in
the document captioned Coastal Real Property Claim Frameworks, attached as Exhibit 11A to the
Settlement Agreement.

               (i)    “Coastal Real Property Claim Zone” means the areas identified on the Coastal
Real Property Compensation Zone Map included with the Coastal Real Property Claim Framework.

               (j)      “Coastal Real Property Damage” means a loss to Real Property claimed to
have been suffered by a Coastal Real Property owner or lessee in the Coastal Real Property Claim
Zone allegedly arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the
Deepwater Horizon Incident that is separate from Seafood Compensation Program, Economic
Damage, Real Property Sales Damage, Wetlands Real Property Damage, VoO Charter Payment,
Vessel Physical Damage and Subsistence Damage, and is more fully described in Exhibit 11A to the
Settlement Agreement.




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                  (k)     “Compensatory Damages” means any and all forms of damages, nown or
un nown, intended to or having the effect of satisfying, compensating, or reimbursing Claimant’s claims
for actual economic or pecuniary costs, expenses, damages, lia ility, or other losses or injuries arising out
of, due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon
Incident, regardless of what such damages are designated, called or labeled. Compensatory Damages
do not include and may not e interpreted to have any overlap with punitive, exemplary, multiple, or non-
compensatory damages. Bodily Injury Claims (including wrongful death) are not included in
Compensatory Damages. Claims of BP shareholders in any derivative or direct action solely in their
capacity as BP shareholders are not included in Compensatory Damages BP and Claimant
acknowledge and agree that the term Compensatory Damages as defined and used herein does not limit
the amounts to be used for the calculation of punitive or other non-compensatory damages in any current
or future litigation pursued by Claimant. Nothing herein shall be deemed to limit Claimant’s rights to
pursue Moratoria Losses or other claims expressly reserved against BP under Section 3 of the Settlement
Agreement.

                (l)      “Damages” means all forms of damages defined as broadly as possible without
exception, including losses, costs, expenses, taxes, requests, royalties, rents, fees, profits, profit shares,
earning capacity, loss of subsistence, damages to real or personal property, diminution in property value,
punitive damages, exemplary damages, multiple damages, non-compensatory damages, Compensatory
Damages, economic damages, injuries, liens, remedies, debts, claims, causes of action, or liabilities.

              (m)      “Deepwater Horizon Economic Litigation” means all Claims brought by
Claimant or any Economic Class Member for damage covered by the Seafood Compensation
Program, Coastal Real Property Damage, Economic Damage, Real Property Sales Damage,
Subsistence Damage, VoO Charter Payment, Vessel Physical Damage or Wetlands Real Property
Damage allegedly arising out of, due to, resulting from, or relating in any way to, directly or indirectly,
the Deepwater Horizon Incident, in the MDL Action.

                 (n)      “Deepwater Horizon Incident” means the events, actions, inactions and
omissions leading up to and including (i) the blowout of the MC252 Well, (ii) the explosions and fire on
board the Deepwater Horizon on or about April 20, 2010, (iii) the sinking of the Deepwater Horizon on
or about April 22, 2010, (iv) the release of oil, other hydrocarbons and other substances from the MC252
Well and/or the Deepwater Horizon and its appurtenances, (v) the efforts to contain the MC252 Well, (vi)
Response Activities, including the VoO Program; (vii) the operation of the GCCF; and (viii) BP public
statements relating to all of the foregoing.

               (o)     “DHOST” means the Deepwater Horizon Oil Spill Trust, which is the
irrevocable common law trust established under Delaware law in accordance with the trust agreement
titled “Deepwater Horizon Oil Spill Trust” dated August 6, 2010, and entered into among BP Exploration
& Production Inc.; John S. Martin, Jr. and Kent D. Syverud, as individual trustees; and Citigroup Trust-
Delaware, N.A., as corporate trustee.

                (p)      “Economic Class” means the Economic and Property Damages Settlement
Class.

                (q)      “Economic Damage” means loss of profits, income, and/or earnings arising in
the Gulf Coast Areas or Specified Gulf Waters allegedly arising out of, due to, resulting from, or
relating in any way to, directly or indirectly, the Deepwater Horizon Incident; provided, however, that
Economic Damage does not include (1) loss of profits or earnings, or damages for injury relating to Real
Property or personal property that constitutes any part of the Seafood Compensation Program, Coastal
Real Property Damage, Real Property Sales Damage, Wetlands Real Property Damage, Vessel


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Physical Damage, or (2) VoO Charter Payment, or (3) damages for loss of Subsistence use of natural
resources, which constitutes Subsistence Damage.

                 (r)     “Entity” means an organization or entity, other than a Governmental
Organization, operating or having operated for profit or not-for-profit, including a partnership, a
corporation, a limited liability company, an association, a joint stock company, a trust, a joint venture or
an unincorporated association of any kind or description.

                 (s)     “Expressly Reserved Claims” means the following Claims that are not
recognized or released under this Individual Release, and are reserved to Claimant: (1) Bodily Injury
Claims; (2) claims of BP shareholders in any derivative or direct action solely in their capacity as BP
shareholders; (3) claims of Natural Persons and Entities for Moratoria Losses; (4) claims relating to
menhaden (or “pogy”) fishing, processing, selling, catching, or harvesting; and (5) claims for Economic
Damage suffered by Entities or employees (to the extent they allege Economic Damage based on their
employment by such an Entity during the Class Period) in the Banking, Gaming, Financial, Insurance,
Oil and Gas, Real Estate Development, and Defense Contractor Industries, and entities selling or
marketing BP-branded fuel, including jobbers and branded retailers, as defined in the Settlement
Agreement; and (6) claims for punitive or exemplary damages against Halliburton and Transocean
subject to the provisions of Section 11 of the Settlement Agreement; and (7) the rights of the Claimant
to recover additional benefits from the Economic Class secured by virtue of the efforts of the Economic
Class to pursue Assigned Claims, again subject to the provisions of Section 11 of the Settlement
Agreement.

                (t)     “Finfish” means fish other than shellfish and octopuses.

                (u)     “Game” includes nutria, min , otters, raccoons, mus rats, alligators, and other
wildlife.

                (v)     “GCCF” means the Gulf Coast Claims Facility.

                (w)      “Governmental Organization” means: (a) the government of the United States
of America, (b) any state or local government, (c) any agency, branch, commission, department, or unit of
the government of the United States of America or of any state or local government, or (d) any Affiliate
of, or any business or organization of any type that is owned in whole or in part to the extent of at least
51% by the government of the United States of America or any state or local government, or any of their
agencies, branches, commissions, departments, or units.

                 (x)    “Gulf Coast Areas” means the States of Louisiana, Mississippi, and Alabama;
the counties of Chambers, Galveston, Jefferson and Orange in the State of Texas; and the counties of Bay,
Calhoun, Charlotte, Citrus, Collier, Dixie, Escambia, Franklin, Gadsden, Gulf, Hernando, Hillsborough,
Holmes, Jackson, Jefferson, Lee, Leon, Levy, Liberty, Manatee, Monroe, Okaloosa, Pasco, Pinellas,
Santa Rosa, Sarasota, Taylor, Wakulla, Walton and Washington in the State of Florida, including all
adjacent Gulf waters, bays, estuaries, straits, and other tidal or brackish waters within the States of
Louisiana, Mississippi, Alabama or those described counties of Texas or Florida.

                 (y)     “Halliburton” means Halliburton Energy Services, Inc. and all and any of its
Affiliates, other than any Natural Person or Entity that is also an Affiliate of any of the Released
Parties as of April 16, 2012.

                 (z)     “Halliburton Parties” shall mean Halliburton (including all persons, entities,
subsidiaries, divisions and business units comprised thereby); each of Halliburton’s respective past,



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present and future directors, officers, employees, general or limited partners, members, joint venturers,
and shareholders, and the past, present and future spouses, heirs, beneficiaries, estates, executors,
administrators, personal representatives, attorneys, agents, trustees, insurers, reinsurers, predecessors,
successors, indemnitees, assigns, Affiliates; any natural, legal or juridical person or entity acting on
behalf of or having liability in respect of Halliburton, in their respective capacities as such; and the
federal Oil Spill Liability Trust Fund and any state or local fund, and each of their respective Affiliates
including their officers, directors, shareholders, employees, and agents.

                 (aa)     “Incompetent Claimant” means a Natural Person who lacks the capacity to
enter into a contract on his or her behalf at the time this Individual Release is executed, in accordance
with the state laws of that person’s domicile as applied to adult capacity issues, whether through power of
attorney agency documents, guardianship, conservatorship, tutorship, or otherwise.

               (bb)     “Individual Release” means this Full and Final Release, Settlement, and
Covenant Not to Sue.

                 (cc)   “MC252 Well” means the exploratory well named “Macondo” that was eing
drilled by the Transocean Marianas and Deepwater Horizon rigs in Mississippi Canyon, Block 252 on the
outer continental shelf in the Gulf of Mexico, approximately 130 miles southeast of New Orleans,
Louisiana.

               (dd)     “MDL Action” means the federal multidistrict litigation pending before the
United States District Court for the Eastern District of Louisiana, titled, In re: Oil Spill by the Oil Rig
“Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010 (MDL No. 2179).

                 (ee)     “Minor Claimant” means a Natural Person whose age is below that of the
majority rule for the State in which the minor resides at the time this Individual Release is executed.

                 (ff)     “Moratoria Loss” means any loss whatsoever caused by or resulting from
federal regulatory action or inaction directed at offshore oil industry activity — including shallow water
and deepwater activity — that occurred after May 28, 2010, including the federal moratoria on offshore
permitting and drilling activities imposed on May 28, 2010 and July 12, 2010 and new or revised safety
rules, regulations, inspections, or permitting practices.

                (gg)   “Natural Person” means a human being, and includes the estate of a human
being who died on or after April 20, 2010. For purposes of this Individual Release, a Natural Person
that is the estate of a human being who died on or after April 20, 2010, a Minor Claimant or
Incompetent Claimant, shall be deemed to act through his, her or its Representative.

                (hh)    “OPA” means the Oil Pollution Act of 1990, 33 U.S.C. § 2701, et seq.

                (ii)    “Other Party” means every person, entity, or party other than the Released
Parties.

                (jj)    “Other Released Parties” means Released Parties other than BP.

               (kk)     “Real Property” means land, including improvements thereon, and property of
any nature appurtenant or affixed thereto.

                 (ll)    “Real Property Sales Compensation Zone” shall be defined as Residential
Parcels identified in the Real Property Compensation Zone Map.



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                (mm) “Real Property Compensation Zone Map” means the map(s) attached as
Exhibit 13B to the Settlement Agreement.

                 (nn)   “Real Property Sales Damage” means damages for realized damage on the sale
of Residential Parcels arising out of, due to, resulting from, or relating in any way to, directly or
indirectly, the Deepwater Horizon Incident.

                  (oo)     “Released Claims” means all claims arising out of, due to, resulting from, or
relating in any way to, directly or indirectly, the Deepwater Horizon Incident, including any and all
actions, claims, costs, expenses, taxes, rents, fees, profit shares, liens, remedies, debts, demands,
liabilities, obligations, or promises of any kind or nature whatsoever, in both law or in equity, past or
present, whether known or unknown, including claims for any and all Unknown Claims or damages,
future injuries, damages or losses not currently known, but which may later develop, provided they arise
out of, are due to, result from, or relate in any way to, directly or indirectly, the Deepwater Horizon
Incident, and regardless of the legal or equitable theory, arising under any source of law whether
international, federal, state, or local, and regardless of whether pursuant to statutory law, codal law,
adjudication, quasi-adjudication, regulation, or ordinance, including common law, maritime or admiralty,
statutory and non-statutory attorneys’ fees, reach of contract, reach of any covenant of good faith
and/or fair dealing, fraud, misrepresentation, fraudulent concealment, deception, consumer fraud,
antitrust, defamation, tortious interference with contract or business expectations, loss of business
expectations or opportunities, loss of employment or earning capacity, diminution of property value,
violation of the federal Racketeer Influenced and Corrupt Organizations Act or any similar state law,
violations of any consumer protection act, punitive damages, exemplary damages, multiple damages, non-
compensatory damages, Compensatory Damages, pain and suffering, interest, injunctive relief,
declaratory judgment, costs, deceptive practices, unfair business practices, regulation, strict liability,
negligence, gross negligence, willful misconduct, nuisance, trespass, fraudulent concealment, statutory
violations, including OPA or other statutory claims, unfair business practices, breach of fiduciary duty,
and all other theories whether existing now or arising in the future, arising out of, due to, resulting from,
or relating in any way to, directly or indirectly, the Deepwater Horizon Incident. Released Claims
shall not include Expressly Reserved Claims.

                 (pp)     “Released Parties,” for purposes of the Released Claims, means (i) BP
(including all persons, entities, subsidiaries, divisions and business units comprised thereby), together
with (ii) DHOST; (iii) the persons, entities, divisions, and business units listed on Attachment A; (iv)
each of BP’s and the Other Released Parties’ respective past, present and future directors, officers,
employees, general or limited partners, members, joint venturers, and shareholders, and their past, present
and future spouses, heirs, beneficiaries, estates, executors, administrators, personal representatives,
attorneys, agents, trustees, insurers, reinsurers, predecessors, successors, indemnitees, assigns; (v) any
natural, legal or juridical person or Entity acting on behalf of or having liability in respect of BP or the
Other Released Parties, in their respective capacities as such; and (vi) the federal Oil Spill Liability
Trust Fund and any state or local fund, and, as to i-vi above, each of their respective Affiliates including
their Affiliates’ officers, directors, shareholders, employees, and agents. Released Parties will also
include any vessels owned or chartered by any Released Party (except for the Deepwater Horizon itself).
Notwithstanding anything herein to the contrary, in no event shall any of the following be deemed to be a
Released Party: Transocean or Halliburton. Claimant specifically reserves its rights for punitive and
exemplary damages against Transocean and Halliburton subject to the provisions of Paragraph 11 of the
Settlement Agreement. Furthermore, nothing herein shall impair the rights of the Claimant to recover
additional benefits from the Economic Class secured by virtue of the efforts of the Economic Class to
pursue Assigned Claims, again subject to the provisions of Paragraph 11 of the Settlement Agreement.




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                  (qq)     “Residential Parcels” means those parcels within the Real Property Sales
Compensation Zone for which the county where the parcel is located has designated the parcel as a
residential classification.

                (rr)     “Response Activities” means the clean up, remediation efforts, and all other
responsive actions (including the use and handling of dispersants) relating to the releases of oil, other
hydrocarbons and other pollutants from the MC252 Well and/or the Deepwater Horizon and its
appurtenances and the Deepwater Horizon Incident.

                (ss)    “Seafood” means fish and shellfish, including shrimp, oysters, cra , and Finfish,
caught in the Specified Gulf Waters. Seafood shall exclude menhaden.

                (tt)   “Seafood Compensation Program” means the program defined in Section 5.2
of the Settlement Agreement.

               (uu)   “Settlement Agreement” means the Economic and Property Damages
Settlement Agreement.

               (vv)    “Settlement Program” means the Deepwater Horizon Court Supervised
Settlement Program created pursuant to the Settlement Agreement.

                (ww) “Specified Gulf Waters” means the U.S. waters of the Gulf of Mexico and all
adjacent bays, estuaries, straits, and other tidal or brackish waters within the Gulf Coast Areas, as
specifically shown and described in Exhibit 23 to the Settlement Agreement.

                (xx)     “Subsistence” means fishing or hunting to harvest, catch, barter, consume or
trade Gulf of Mexico natural resources (including Seafood and Game), in a traditional or customary
manner, to sustain basic personal or family dietary, economic security, shelter, tool, or clothing needs.

                (yy)     “Subsistence Damage” means a loss of value of Subsistence use of natural
resources alleged to arise out of, result from or relate in any way to, directly or indirectly, the Deepwater
Horizon Incident.

                 (zz)    “Transocean” means Transocean Ltd., Transocean, Inc., Transocean Offshore
Deepwater Drilling Inc., Transocean Deepwater Inc., Transocean Holdings LLC, and Triton Asset
Leasing GmbH and all and any of their Affiliates, other than any Natural Person or Entity that is also an
Affiliate of any of the Released Parties.

                 (aaa) “Transocean Parties” means Transocean (including all persons, entities,
subsidiaries, divisions and business units comprised thereby); each of Transocean’s respective past,
present and future directors, officers, employees, general or limited partners, members, joint venturers,
and shareholders, and the past, present and future spouses, heirs, beneficiaries, estates, executors,
administrators, personal representatives, attorneys, agents, trustees, insurers, reinsurers, predecessors,
successors, indemnitees, assigns, Affiliates; any natural, legal or juridical person or entity acting on
behalf of or having liability in respect of Transocean, in their respective capacities as such; and the
federal Oil Spill Liability Trust Fund and any state or local fund, and each of their respective Affiliates
including their officers, directors, shareholders, employees, and agents.

                (bbb) “Unknown Claims” and damages or not currently known claims and damages
(whether or not capitalized) means all past, present, and future claims and damages arising out of facts,
including new facts or facts found hereafter to be other than or different from the facts now believed



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to be true, arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the
Deepwater Horizon Incident covered by this Individual Release that Claimant does not, in whole
or in part, know or suspect to exist and which, if known by them, might have affected their decision to
provide such Individual Release, including all claims arising out of new facts or facts found hereafter to
be other than or different from the facts now believed to be true.

                (ccc) “Vessel Physical Damage” means physical damage that was sustained by an
eligible Claimant’s eligi le vessel due to or resulting from the Deepwater Horizon Incident or the
Deepwater Horizon Incident response cleanup operations, including the VoO Program, that were
consistent with the National Contingency Plan or specifically ordered by the Federal On-Scene
Coordinator or delegates thereof.

                (ddd) “VoO Charter Payment” means a loss alleged by a VoO Charter Payment
Claimant for any payment or compensation related to participation in the VoO Program that satisfies the
requirements set forth in Section 5.5 of the Settlement Agreement.

                (eee) “VoO Charter Payment Claimant” means an Economic Class Member
claiming to have suffered a VoO Charter Payment loss.

                (fff)  “VoO Master Vessel Charter Agreement” means the standard agreements
utilized by BP and its agents or subcontractors to charter the vessels available for work or service in
connection with the VoO Program.

            (ggg) “VoO Program” means the program through which vessel owners performed
wor for BP or BP’s authorized agents pursuant to the terms of the VoO Master Vessel Charter
Agreement.

               (hhh) “Wetlands Real Property Claim Framework” means the rules descri ed in the
document captioned Wetlands Real Property Claim Frameworks, attached the Settlement Agreement as
Exhibits 12A-12B.

                (iii)   “Wetlands Real Property Claimant” means an Economic Class Member
claiming to have suffered Wetlands Real Property Damage.

              (jjj)  “Wetlands Real Property Damage” means a loss alleged by a Wetlands Real
Property Claimant that satisfies the requirements set forth in the Wetlands Real Property Claim
Framework.

        2.       Release. In consideration of payment in the amount of [insert $$], previous payments
for Claims referenced and released herein, and the right to receive additional Settlement Payment(s) for
any additional Claims, if any, pursuant to the terms of Section 4.4.8 of the Settlement Agreement, which
Claimant accepts as sufficient and adequate consideration for any and all Released Claims, Claimant,
on behalf of Claimant and Claimant’s heirs, beneficiaries, estates, executors, administrators, personal
representatives, agents, trustees, insurers, reinsurers, subsidiaries, corporate parents, predecessors,
successors, indemnitors, subrogees, assigns, and any natural, legal or juridical person or entity entitled to
assert any claim on behalf of or in respect of any Claimant, hereby releases and forever discharges with
prejudice, and covenants not to sue, the Released Parties for any and all Released Claims; provided
however that this Individual Release does not apply to, and the term Released Claims does not include,
Expressly Reserved Claims. In the event a Released Party is sold or otherwise transferred to or
purchases or otherwise acquires, or enters into a partnership or joint venture with, a Natural Person or
Entity that is not otherwise a Released Party immediately prior to giving effect to such transaction, then



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the non-Released Party shall as a result of such transaction obtain a benefit under this Individual
Release only with respect to any liability of the Released Party that it, or any such partnership or joint
venture, has acquired or assumed or otherwise become liable for, and not in its own right.

         3.     Release Is Comprehensive. Claimant agrees and acknowledges that the consideration
granted in Paragraph 2 above constitutes full, complete, and total satisfaction of all of the Released
Claims against the Released Parties. In addition, Claimant agrees and acknowledges that the
consideration granted in Paragraph 2 above also constitutes full, complete, and total satisfaction of all of
Claimant’s Compensatory Damage Claims against the Transocean Parties and the Halliburton
Parties.

         4.      Non-General Release. Claimant expressly waives and releases with prejudice, and
shall be deemed to have waived and released with prejudice, any and all rights that it may have under any
law, codal law, statute, regulation, adjudication, quasi-adjudication, decision, administrative decision, or
common law principle that would otherwise limit the effect of the Individual Release to those claims or
matters actually known or suspected to exist at the time of execution of the Individual Release.
California law is not applicable to this Individual Release, but purely for illustrative purposes the
Released Claims include, but are not limited to the release of claims provided for in Section 1542 of the
California Civil Code, which provides as follows: “A general release does not extend to claims which the
creditor does not know or suspect to exist in his or her favor at the time of executing the release, which if
known by him or her must have materially affected his or her settlement with the de tor ”

        5.      Contribution, Subrogation, Indemnity. This Individual Release is not intended to
prevent BP from exercising its rights of contribution, subrogation, or indemnity under OPA or any other
law, including its rights of assignment regarding Assigned Claims as set forth in Exhibit 21 to the
Settlement Agreement. BP is hereby subrogated to any and all rights that the Economic Class
Members, or any of them, may have had or have arising out of, due to, resulting from, or relating in any
way to, directly or indirectly, the Deepwater Horizon Incident under OPA. All such rights of BP to
contribution, indemnity, and subrogation, and BP’s su rogation to the rights of Economic Class
Members, are subject to the provisions regarding Assigned Claims in Exhibit 21 to the Settlement
Agreement.

        6.      Consideration. Claimant agrees that this Individual Release is entered into in
consideration of the agreements, promises, and mutual covenants set forth in this Individual Release and
for such other good and valuable consideration the receipt and sufficiency of which are hereby
acknowledged.

       7.       No Further Action. Claimant agrees not to file federal or state judicial or
administrative proceedings concerning cleanup, removal, spill response or remediation of Coastal Real
Property Damages and Wetlands Real Property Damages, or the underlying Real Property, as a
means to seek the redress of Released Claims.

        8.      Dismissal of All Claims.

                (a)     In consideration of the benefits provided under this Individual Release, all
        Released Claims by or on behalf of Claimant against any and all Released Parties shall be
        dismissed with prejudice in any lawsuit in which the Claimant is a party.

               (b)    This Individual Release shall be the exclusive remedy for any and all Released
        Claims by or on behalf of Claimant against any and all Released Parties, and Claimant shall




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       not recover, directly or indirectly, any sums from any Released Parties for any Released Claims
       other than those received for the Released Claims under the terms of this Individual Release.

                 (c)     Claimant agrees that Claimant, and all other Natural Persons and Entities
       claiming by, through, or on behalf of Claimant will be forever barred and enjoined from
       commencing, filing, initiating, instituting, prosecuting, maintaining, or consenting to any judicial,
       arbitral, or regulatory action against the Released Parties with respect to the Released Claims.

                (d)     If Claimant commences, files, initiates, or institutes any new action or other
       proceeding for any Released Claims against the Released Parties in any federal or state court,
       arbitration tribunal, or administrative or other forum, such action or other proceeding shall be
       dismissed with prejudice and at Claimant’s cost; provided, however, before any costs may be
       assessed, counsel for such Claimant, or, if not represented, such Claimant shall be given
       reasonable notice and an opportunity voluntarily to dismiss such new action or proceeding with
       prejudice. Furthermore, if Claimant brings any legal action before any Court, arbitration panel,
       regulatory agency, or other tribunal to enforce its rights under this Individual Release, such
       Released Party shall be entitled to recover any and all related costs and expenses (including
       attorneys’ fees) from any Claimant in violation or breach of its obligations under this Individual
       Release.

        9.     No Admission of Liability or Wrongdoing by BP. The Paragraph 2 payment to
Claimant is made without any admission of liability or wrongdoing by BP or any other Released Party
and is made purely by way of compromise and settlement.

        10.    Claimant Warranty. Claimant represents and warrants that Claimant or Claimant’s
undersigned representative in the case of a business entity has authority to execute this Individual
Release on behalf of Claimant.

       11.     Additional Protections for Released Parties.                Claimant promises, agrees,
acknowledges, represents, warrants, and covenants as follows:

                (a)     No Assignment of Claims. Claimant shall not assign or reassign, or attempt to
       assign or reassign, to any person or entity other than BP any rights or claims arising out of, due
       to, resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon
       Incident. Any such assignment or reassignment, or attempt to assign or reassign, to any Natural
       Person or Entity other than BP any rights or claims arising out of, due to, resulting from, or
       relating in any way to, directly or indirectly, the Deepwater Horizon Incident shall be void,
       invalid, and of no force and effect.

               (b)     No Recovery of Additional Compensatory Damages. Claimant shall not
       accept or attempt to recover, through insurance, reinsurance, indemnification, contribution,
       subrogation, litigation, settlement, or otherwise, any Compensatory Damages from the
       Transocean Parties and/or the Halliburton Parties. Nothing in this Paragraph 11(b) shall
       impair or impact Claimant’s rights to pursue Transocean and Halliburton for exemplary and
       punitive damages individually or through the Economic Class.

               (c)     Non-Execution and Non-Collection for Compensatory Damages. In the event
       that Claimant is or becomes the beneficiary of any judgment, decision, award, or settlement
       arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the
       Deepwater Horizon Incident, Claimant shall not accept, execute on, attempt to collect, or
       otherwise seek recovery of any Compensatory Damages from the Transocean Parties and/or


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     the Halliburton Parties. Nothing in this Paragraph 11(c) shall impair or impact Claimant’s
     rights to pursue Transocean and Halliburton for exemplary and punitive damages individually
     or through the Economic Class.

              (d)     Conditional Collection of Damages. In the event that Claimant is or becomes
     the beneficiary of any judgment, decision, award, or settlement arising out of, due to, resulting
     from, or relating in any way to, directly or indirectly, the Deepwater Horizon Incident,
     including from Assigned Claims and/or Expressly Reserved Claims, Claimant shall not accept,
     execute on, attempt to collect, or otherwise seek recovery of any Damages, to the extent that any
     Other Party is see ing or may see to recover such Damages from any Released Party, whether
     through indemnity, contribution, subrogation, assignment, or any other theory of recovery, by
     contract, pursuant to applicable law or regulation, or otherwise, directly or indirectly. Claimant
     may, however, accept, execute on, attempt to collect, or otherwise seek recovery of Damages if
     and when a court or tribunal of competent jurisdiction has finally determined that Other Parties
     cannot recover such Damages, whether through indemnity, contribution, subrogation, assignment
     or any other theory of recovery, by contract, pursuant to applicable law or regulation, or
     otherwise, directly or indirectly, from any Released Party For purposes of this Paragraph 11(d),
     “finally determined” shall mean the conclusion of any applica le appeals or other rights to see
     review by certiorari or otherwise, or the lapse of any and all such rights, or the lapse of any and
     all applicable limitations or repose periods.

              (e)     Conditions on Future Settlements. Claimant may settle or compromise any
     rights, demands, or claims with the Transocean Parties, the Halliburton Parties, and/or any
     Other Parties arising out of, due to, resulting from, or relating in any way to, directly or
     indirectly, the Deepwater Horizon Incident if but only if the Transocean Parties, the
     Halliburton Parties, and/or such Other Party, as the case may be, agrees as part of that
     settlement or compromise to a full and final release of, dismissal of, and covenant not to sue for
     any and all rights to recover, directly or indirectly, from the Released Parties (whether through
     indemnity, contribution, subrogation, assignment or any other theory of recovery, by contract,
     pursuant to applicable law or regulation, or otherwise) for any Damages or other relief or
     consideration provided under or relating to such settlement or compromise (whether the
     settlement is of a class, of individual claims, or otherwise), including from Expressly Reserved
     Claims, and further represents and warrants that it has not assigned and will not assign any rights
     to recover for such Damages or other relief or consideration (whether through indemnity,
     contribution, subrogation, or otherwise). As part of this commitment and without limitation,
     Claimant shall not to settle or compromise with the Transocean Parties, the Halliburton
     Parties, and/or any Other Parties on terms that might allow any insurers, reinsurers, or
     indemnitors thereof to claim against any Released Parties for indemnification, subrogation,
     contribution, assignment or under any other theory of recovery. Claimant agrees that, before any
     such settlement or compromise is executed, BP shall have the right to approve language in any
     such settlement or compromise memorializing the representation and warranty set forth in this
     Paragraph 11(e), which approval shall not be unreasonably withheld.

              (f)    Indemnity to Released Parties. Notwithstanding any provision in this
     Individual Release to the contrary, if any Other Party recovers or seeks to recover from any
     Released Party (under any theory of recovery, including indemnity, contribution, or subrogation,
     and including from Assigned Claims and/or Expressly Reserved Claims) any Damages either
     (a) paid to Claimant, or (b) by, through, under, or on account of Claimant; then Claimant shall
     indemnify (not defend) the Released Parties, but only to the extent of the consideration received
     in Paragraph 2 above (by way of example, if Claimant has received $100.00 pursuant to
     Paragraph 2 above, its indemnity obligation would be capped at this amount). This indemnity


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        obligation owed by Claimant includes any and all claims made or other actions taken by that
        Claimant taken in breach of this Individual Release.

                 (g)       Notice Regarding Indemnity. Claimant expressly acknowledges that, to the
        fullest extent allowed by law, the indemnity obligations contained in Paragraph 11(f) above apply
        to claims against Released Parties predicated on negligence, gross negligence, willful
        misconduct, strict liability, intentional torts, liability based on contractual indemnity, and any and
        all other theories of liability, and any and all awards of attorneys’ fees or other costs or expenses.
        Claimant acknowledges that this indemnity is for conduct occurring before the date of this
        Individual Release and therefore is not affected by public policies or other law prohibiting
        agreements to indemnify in advance of certain conduct. CLAIMANT ACKNOWLEDGES
        THAT THIS PARAGRAPH 11(g) COMPLIES WITH ANY REQUIREMENT TO
        EXPRESSLY STATE THAT LIABILITY FOR SUCH CLAIMS IS INDEMNIFIED AND
        THAT THIS PARAGRAPH 11(g) IS CONSPICUOUS AND AFFORDS FAIR AND
        ADEQUATE NOTICE.

        12.      Claimant Signature Requirements. Claimant must personally sign the Individual
Release, rather than through an attorney or otherwise. An electronic signature is insufficient. In addition
to signing and accepting the overall Individual Release immediately below, Claimant agrees to
separately sign and vouch for the accuracy of the certifications contained in Attachment “B ”

        13.      Spouse’s Signature. If the Claimant has a living spouse, the Claimant’s spouse must
also personally sign below. An electronic signature is insufficient. The Claimant and his or her spouse
should not sign the Individual Release unless they both intend to release all Released Claims.

         14.     Choice of Law. Notwithstanding the law applicable to the underlying claims, which is a
disputed issue not resolved by this Individual Release, this Individual Release and all questions with
respect to the construction and enforcement thereof and the rights and liabilities hereto shall be
interpreted in accord with General Maritime Law, as well as in a manner intended to comply with OPA.

         15.    Superseding Nature of Agreement. This Individual Release constitutes the final,
complete, and exclusive agreement and understanding between BP and Claimant and supersedes any and
all other agreements, written or oral, between BP and Claimant with respect to such subject matter of this
Individual Release in settlement of Claims arising out of or related to the Deepwater Horizon Incident.

        16.      Continuing Effectiveness of Agreement. This Individual Release shall remain
effective regardless of any appeals or court decisions relating in any way to the liability of the Released
Parties in any current or future litigation. This Individual Release shall also remain effective
regardless of whether the Settlement Agreement resolving the Claims of the Economic Class is
approved.

         17.     Choice of Federal Forum and Waiver of State Forums. Any and all disputes, cases, or
controversies concerning this Individual Release, including without limitation disputes concerning the
interpretation or enforceability of this Individual Release, shall be filed only in the United States District
Court for the Eastern District of Louisiana, accompanied by a legal request made on behalf of any
complainant party (whether one of the Released Parties or the Claimant) for such dispute to be made
part of the MDL Action if the MDL Action has not yet been terminated. No actions to enforce this
Individual Release shall be filed in any state court, arbitration tribunal, or administrative agency and
Claimant represents and warrants that it shall not file such an action in any state court, arbitration
tribunal, or administrative agency. Claimant agrees not to contest the existence of federal jurisdiction in
the MDL Action or the United States District Court for the Eastern District of Louisiana .


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        18.     Reservation of Rights. Notwithstanding the above and foregoing Individual Release,
Claimant hereby reserves: (i) the right to additional settlement payments for any additional Claims, if
any, pursuant to the terms of Section 4.4.8 of the Settlement Agreement; (ii) any and all rights or claims
to which Claimant may be entitled for additional distributions from and funds held in reserve or trust
(including, but not limited to, the Seafood Compensation Program, Assigned Claims and/or
Transocean Personnel Insurance Proceeds) according to the terms of the Settlement Agreement; and (iii)
Expressly Reserved Claims.

         19.    Claimant’s Responsibility for Attorneys’ Fees. To the extent that Claimant has
retained or engaged a private attorney to represent him or her or it in connection with the Deepwater
Horizon Incident, Claimant acknowledges and agrees that he or she or it, and not the BP Parties, is
solely responsible for any attorneys’ fees or costs owed to such attorney by the Claimant.




Claimant’s Name                                 Claimant’s Signature &                        Date
                                                Title, if Business Entity Claimant


Claimant’s Spouse’s Name                        Claimant’s Spouse’s Signature,                Date
                                                if applicable




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Attachment “A” Listing Released Parties
Abdon Callais Offshore, Inc.
Admiral Robert J Papp Jr.
Admiral Thad Allen
Admiral Towing, LLC
Aerotek, Inc.
Airborne Support, Inc.
Airborne Support International, Inc.
Alford Safety Services Inc.
Alford Services Inc.
Ameri-Force, Inc.
Ameri-Force Craft Services, Inc.
American Pollution Control Corporation
Anadarko Petroleum Company
Anadarko Petroleum Corporation
Anadarko E&P Company LP
Apex Environmental Services, LLC
Art Catering, Inc.
Ashland Services, LLC
B&B Environmental Services, Inc.
Belle Chasse Marine Transportation, Inc.
BJ Services Company, USA
Blue Marlin Services of Acadiana, LLC
Bobby Lynn's Marina, Inc.
BP America Inc.
BP America Production Company
BP Company North America Inc.
BP Corporation North America Inc.
BP Energy Company
BP Exploration (Alaska) Inc.
BP Global Special Products (Americas) Inc.
BP Holdings North America Limited
BP Exploration & Production Inc.
BP p.l.c.
BP Products North America Inc.
BP International Ltd.
BP Corporation North America Inc. Savings Plan Investment Oversight Committee
Brett Cocales
Brian Morel
Cabildo Services, LLC
Cabildo Staffing, LLC
Cahaba Disaster Recovery LLC
Cal Dive International, Inc.
Cameron Corporation
Cameron International Corporation
Cameron International Corporation f/k/a Cooper Cameron Corporation
Cameron International Corporation d/b/a/ Cameron Systems Corporation
Center for Toxicology and Environmental Health L.L.C.
Chill Boats L.L.C.
Chouest Shorebase Services, LLC
Clean Harbors, Inc.
Clean Tank LLC
Clean Tank Inc.
Core Industries, Inc.
Core 4 Kebawk, LLC


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Crossmar, Inc.
Crowder/Gulf Joint Venture
Crowder Gulf Disaster Recovery
Danos and Curole Marine Contractors, LLC
Danos & Curole Staffing, L.L.C.
David Sims
Deepwater Horizon Oil Spill Trust
Diamond Offshore Company
DOF Subsea USA, Inc.
Don J. Vidrine
DRC Emergency Services, LLC
DRC Marine, LLC
DRC Recovery Services, LLC
Dril-Quip, Inc.
Dynamic Aviation Group, Inc.
Eastern Research Group, Inc.
Environmental Standards, Inc.
Environmental Safety & Health Consulting Services
Environmental Safety & Health Environmental Services
ES&H, Inc.
ESIS, Inc.
Exponent, Inc.
Faucheaux Brothers Airboat Services, Inc.
Global Diving & Salvage, Inc.
Global Employment Services, Inc.
Global Fabrication, LLC
Global Marine International, Inc.
Graham Gulf Inc.
Grand Isle Shipyard Inc.
Gregg Walz
Guilbeau Marine, Inc.
Guilbeau Boat Rentals, LLC
Gulfmark Offshore, Inc.
Gulf Offshore Logistics, LLC
Gulf Offshore Logistics International, LLC
Gulf Services Industrial, LLC
HEPACO, Inc.
Hilcorp Energy Company
Hyundai Heavy Industries Co. Ltd, Inc.
Hyundai Motor Company
I-Transit Response, L.L.C
International Air Response, Inc.
Island Ventures II, LLC
JMN Specialties, Inc.
JNB Operating LLC
John Guide
K & K Marine, LLC
LaBorde Marine Services, LLC
Lane Aviation
Lawson Environmental Service LLC
Lawson Environmental Service & Response Company
Lee Lambert
Lord Edmund John Browne
Lynden Air Cargo, LLC
Lynden, Inc.
Maco of Louisiana, LLC


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Maco Services, Inc.
Marine Spill Response Corporation
Mark Bly
Mark Hafle
M-I L.L.C.
M-I Drilling Fluids L.L.C.
M-I Swaco
Miller Environmental Group, Inc.
Mitchell Marine
Mitsui & Co. (USA), Inc.
Mitsui & Co. Ltd.
Mitsui Oil Exploration Co. Ltd.
ModuSpec USA, Inc.
Monica Ann LLC
Moran Environmental Recovery, LLC
MOEX Offshore 2007 LLC
MOEX USA Corporation
M/V Monica Ann
M/V Pat Tilman
M/V Damon B. Bankston
M/V Max Chouest
M/V Ocean Interventions
M/V C. Express
M/V Capt. David
M/V Joe Griffin
M/V Mr. Sidney
M/V Hilda Lab
M/V Premier Explorer
M/V Sailfish
M/V Seacor Washington
M/V Emerald Coast
M/V Admiral Lee
M/V Seacor Vanguard
M/V Whuppa Snappa
Nalco Energy Services, LP
Nalco Holding Company
Nalco Finance Holdings LLC
Nalco Finance Holdings Inc.
Nalco Holdings LLC
Nalco Company
National Response Corporation
Nature's Way Marine, LLC
Nautical Ventures, LLC
Nautical Solutions, LLC
O’Brien’s Response Management, Inc
Ocean Runner, Inc.
Ocean Therapy Solutions, LLC
Oceaneering International, Inc.
Odyssea Marine, Inc.
Offshore Cleaning Systems L.L.C.
Offshore Service Vessels, LLC
Offshore Inland Marine & Oilfield Services, Inc.
Oil Recovery Company, Inc. of Alabama
Oilfield Marine Contractors, LLC
Parsons Commercial Services Inc.
Parsons Services Company


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Parsons Facility Services Company
Parsons Corporation
Patriot Environmental Services Incorporated
Peneton Company
Perennial Contractors, LLC
Peneton Corporation
Production Services Network U.S., Inc.
Quality Container, Inc.
Quality Energy Services, Inc.
Ranger Offshore, Inc.
Reel Pipe, LLC
Resolve Marine Services, Inc.
Robert Kaluza
Ronald W. Sepulvado
Schlumberger, Ltd.
Seacor Holdings Inc.
Seacor Marine, LLC
Seacor Marine, Inc.
Seacor Marine International, Inc.
Seacor Offshore LLC
Seacor Worldwide, Inc.
Sealion Shipping LTD
Sea Support Services, L.L.C.
Sea Tow of South Miss, Inc.
Seafairer Boat, LLC
Shamrock Management LLC et al.
Shoreline Services, LLC
Siemens Financial, Inc.
Shoreline Construction, LLC
Smith Marine, Inc.
Southern Cat, Inc.
Southern Environmental of Louisiana, LLC
Stallion Offshore Quarters, Inc.
Subsea 7 LLC
Tamara's Group, LLC
Team Labor Force, LLC
Technical Marine Maintenance Services, L.L.C.
The Modern Group, Ltd.
The Modern Group GP-SUB, Inc.
The O’Brien Group, LLC
The Response Group, Inc.
Tiburon Divers, Inc.
Tidewater, Inc.
Tidewater Marine LLC
Tiger Rentals, Ltd.
Tiger Safety, LLC
Toisa Limited
Total Safety U.S., Inc.
Twenty Grand Offshore, LLC
Twenty Grand Marine Service, LLC
Twenty Grand Offshore Inc.
USES/Construct Corps
United States Environmental Services, LLC
United States Maritime Services, Inc.
Viscardi Industrial Services, LLC
Weatherford International Ltd.


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Weatherford U.S. L.P.
Wood Group Production Services, Inc.
Worley Catastrophe Services, LLC
Worley Catastrophe Response, LLC




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Attachment “B” — Certification

Claimant hereby signs to attest to and vouch for the accuracy of the certification below:



For all types of claims:

I certify that I understand and acknowledge that, (subject to my right to additional Settlement
Payments, if any, pursuant to Section 4.4.8 of the Settlement Agreement), I am forever giving up
with prejudice and discharging, without any right of legal recourse whatsoever, any and all rights
I have or may have to the Released Claims against the Released Parties. I acknowledge that by
having executed the Individual Release and signing below neither I nor the entity I represent
has been pressured or influenced by, or is relying on any statement or representation made by
any person acting on behalf of BP or any other Released Party. I certify that I understand that I
have the right to consult with an attorney of my choosing before signing this Individual Release.



PLUS ONE OF                THE   ADDITIONAL         CERTIFICATIONS         FOLLOWING         (AS
APPLICABLE):

For business or property claims:

I certify that either:

(1) I have not made an insurance claim or received any insurance proceeds for any business or
property Claim arising out of, due to, resulting from, or relating in any way to, directly or
indirectly, the Deepwater Horizon Incident; OR

 (2) If I have made or do make an insurance claim and/or receive or have received insurance
proceeds for any business or property claim arising out of, due to, resulting from, or relating in
any way to, directly or indirectly the Deepwater Horizon Incident, I will indemnify BP for any
liability it incurs for a subrogation claim made against BP arising out of:

        (a) such insurance proceeds, provided that the subrogation claim is brought by an entity
        seeking payment of insurance proceeds to me for any business or property claim arising
        out of, due to, resulting from, or relating in any way to, directly or indirectly, the
        Deepwater Horizon Incident; and

        (b) the amount that I indemnify BP shall not exceed the amount of insurance proceeds
        that I received for the business or property claim at issue.

CLAIMANT ACKNOWLEDGES THAT THIS CERTIFICATION COMPLIES WITH
ANY REQUIREMENT TO EXPRESSLY STATE THAT LIABILITY FOR SUCH
CLAIMS IS INDEMNIFIED AND THAT THIS CERTIFICATION IS CONSPICUOUS
AND AFFORDS FAIR AND ADEQUATE NOTICE.



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For individual claims:

I certify that either:

(1) I have not made a claim for unemployment insurance benefits arising out of, due to, resulting
from, or relating in any way to, directly or indirectly, the Deepwater Horizon Incident;   OR

(2) If I have made or do make a claim for unemployment insurance benefits arising out of, due
to, resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon
Incident, I will indemnify BP for any liability and defense costs it incurs for a subrogation
Claim made against BP arising out of such insurance proceeds provided that the subrogation
Claim is brought by an entity seeking payment of insurance proceeds to me for any business or
property Claim arising out, due to, resulting from, or relating in any way to, directly or
indirectly, the Deepwater Horizon Incident; and the amount that I indemnify BP shall not
exceed the amount of insurance proceeds that I received for the unemployment insurance
benefits Claim at issue.

CLAIMANT ACKNOWLEDGES THAT THIS CERTIFICATION COMPLIES WITH
ANY REQUIREMENT TO EXPRESSLY STATE THAT LIABILITY FOR SUCH
CLAIMS IS INDEMNIFIED AND THAT THIS CERTIFICATION IS CONSPICUOUS
AND AFFORDS FAIR AND ADEQUATE NOTICE.




Claimant’s Name                             Claimant’s Signature, Title if            Date
                                            Business Claimant


Claimant’s Spouse’s Name                    Claimant’s Spouse’s Signature,            Date
                                            if applicable




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                              EXHIBIT 27 TO
            DEEPWATER HORIZON ECONOMIC AND PROPERTY DAMAGES
                 SETTLEMENT AGREEMENT DATED APRIL 18, 2012

                                                 and

                           EXHIBIT 19 TO
        DEEPWATER HORIZON MEDICAL BENEFITS CLASS SETTLEMENT
                   AGREEMENT DATED APRIL 18, 2012


       1.      Interim Class Counsel under the Economic Agreement and the Medical

Settlement Agreement and BP’s Counsel commenced negotiations on common benefit and/or

Rule 23(h) attorneys’ fees and costs on April 17, 2012, only after such Interim Class Counsel and

BP’s Counsel reached agreement on all of the material terms of the Economic Agreement and

the Medical Settlement Agreement and delivered that information to the Court.

       2.      Subject to the provisions, conditions, and understandings set forth below, the BP

Parties agree not to contest a joint request by Economic Class Counsel and Medical Benefits

Class Counsel (collectively, the “Class Counsel”) for, nor oppose an award by the Court for, a

maximum award of $600,000,000 (Six hundred million US Dollars), as a payment of all

common benefit and/or Rule 23(h) attorneys’ fees, costs and expenses incurred at any time,

whether before or after the date hereof, for the common benefit of members of the Economic

Class and the Medical Class. If the Court awards less than the amount set out in this paragraph

2, the BP Parties shall be liable only for the lesser amount awarded by the Court. In no event

shall the BP Parties be liable for any amount of common benefit and/or Rule 23(h) attorneys’

fees, costs and/or expenses in excess of the amount agreed upon in this paragraph 2. The

common benefit and/or Rule 23(h) attorneys’ fees, costs and expenses awarded by the Court,

subject to the limitations in the preceding sentence, shall be collectively referred to as the

“Common Benefit Fee and Costs Award.”




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       3.      The Common Benefit Fee and Costs Award shall cover any and all common

benefit and/or Rule 23(h) attorneys’ fees, costs and expenses that may be claimed against BP or

any of the Released Parties by or on behalf of the Economic Class or the Medical Class, or any

member thereof, or their current or former counsel, including attorneys’ fees and costs pursuant

to Fed. R. Civ. P. 23(h), Pretrial Order No. 9, and the Court’s Order and Reasons As To The

Motion To Establish Account And Reserve For Litigation Expenses, Rec. Doc. 5022, and

amendments thereto, including Rec. Doc. 5064 and 5274 (collectively, the “Holdback Order”).

       4.      The BP Parties shall make payments into the qualified settlement fund to be

established pursuant to Section 5.16 of the Economic Agreement and Section XXII.S of the

Medical Settlement Agreement (the “Common Benefit Fee and Costs Fund”) as follows:

               a. The BP Parties shall make a non-refundable payment of $75 million (Seventy-

                  five million US Dollars) (the “Initial Payment”) into the Common Benefit Fee

                  and Costs Fund on the first date on which all of the following have occurred:

                  (i) 30 days have elapsed after the Court has granted preliminary approval of

                  the Economic Agreement, and (ii) the Court has entered an Order modifying

                  the Holdback Order to provide that it shall not apply to any Settlement

                  Payments or Other Economic Benefits paid pursuant to the Economic

                  Agreement or any Medical Settlement Payments or Other Medical Benefits

                  pursuant to the Medical Settlement Agreement. Subject to the conditions in

                  the preceding sentence, the Initial Payment from the Common Benefit Fee and

                  Costs Fund shall be paid to Class Counsel pursuant to an order of the Court.

               b. From and after the date of the Initial Payment, through the earlier of the

                  Effective Date under the Economic Agreement or the termination of the




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              Economic Agreement, within 15 days after the end of each calendar quarter,

              the BP Parties shall irrevocably pay into the Common Benefit Fee and Costs

              Fund an amount equal to 6 % (six percent) of (i) the aggregate Settlement

              Payments paid under the Economic Agreement in respect of Claimants that

              have executed an Individual Release (or in the case of payments pursuant to

              the Transition Process, to Economic Class Members that execute a full

              release), together with (ii) the amount of Other Economic Benefits paid, in

              each case under the Economic Agreement during such calendar quarter (or, in

              the case of the first such payment, during the period from April 18, 2012 to

              the end of such calendar quarter, or during the period from and after February

              26, 2012 pursuant to the Transition Process).

           c. From and after the date of the Initial Payment, through the earlier of the

              Effective Date under the Medical Settlement Agreement or the termination of

              the Medical Settlement Agreement, within 15 days after the end of each

              calendar quarter, the BP Parties shall irrevocably pay into the Common

              Benefit Fee and Costs Fund an amount equal to 6 % (six percent) of the

              aggregate Other Medical Benefits paid under the Medical Settlement

              Agreement during such calendar quarter (or, in the case of the first such

              payment, during the period from April 18, 2012 to the end of such calendar

              quarter). If the Effective Date under the Medical Settlement Agreement

              occurs, the BP Parties shall irrevocably pay into the Common Benefit Fee and

              Costs Fund an amount equal to 6% (six percent) of the aggregate Medical




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              Settlement Payments paid under the Medical Settlement Agreement as and

              when such Medical Settlement Payments are made.

           d. Notwithstanding anything to the contrary herein, (i) the BP Parties shall be

              entitled to credit the Initial Payment against the first $75 million of payments

              required under paragraphs 4b and 4c, and (ii) in no event shall the total

              amounts paid into the Common Benefit Fee and Costs Fund (including the

              Initial Payment and any additional amounts paid pursuant to paragraphs 4b

              and 4c) exceed $480,000,000 (Four hundred eighty million US Dollars) in the

              aggregate, unless and until the Effective Date under the Economic Agreement

              occurs (except as expressly set forth in paragraph 4g below with respect to

              certain Settlement Payments made from and after the termination of the

              Economic Agreement).

           e. If the Effective Date under the Economic Agreement occurs, the BP Parties

              will irrevocably pay the remaining balance of the Common Benefit Fee and

              Costs Award into the Common Benefit Fee and Costs Fund on the first date

              (the “Final Fee and Costs Payment Date”) on which both of the following

              have occurred: (i) 30 days have elapsed after the Effective Date under the

              Economic Agreement, and (ii) the Court has entered an order approving the

              Common Benefit Fee and Costs Award.

           f. If the Medical Settlement Agreement is terminated prior to the occurrence of

              the Effective Date under the Medical Settlement Agreement, the BP Parties

              shall not be required to make any further payments whatsoever pursuant to

              paragraph 4c into the Common Benefit Fee and Costs Fund.




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              g. If the Economic Agreement is terminated prior to the occurrence of the

                  Effective Date under the Economic Agreement, the BP Parties shall not be

                  required to make any further payments whatsoever into the Common Benefit

                  Fee and Costs Fund (other than payments pursuant to paragraph 4c in respect

                  of the Medical Settlement Agreement) from and after the date of termination;

                  provided that to the extent the BP Parties make Settlement Payments to

                  Economic Class Members that filed Claims prior to the termination of the

                  Economic Agreement, then within 15 days after the end of each calendar

                  quarter thereafter, the BP Parties shall pay into the Common Benefit Fee and

                  Costs Fund an amount equal to 6% (six percent) of the aggregate Settlement

                  Payments paid under the Economic Agreement during such calendar quarter

                  (less any payments made prior to the termination of the Economic

                  Agreement); and provided further that, notwithstanding anything to the

                  contrary herein in paragraph 4b or 4c or otherwise, in no event shall the total

                  amounts paid into the Common Benefit Fee and Costs Fund at any time

                  (including the Initial Payment, any additional amounts paid pursuant to

                  paragraphs 4b and 4c, and any amounts paid pursuant to this paragraph 4g)

                  exceed the amount of the Common Benefit Fee and Cost Award, in the

                  aggregate.

       5.     Prior to the Final Fee and Costs Payment Date, no amounts shall be paid by or out

of the Common Benefit Fee and Costs Fund, other than (i) the Initial Payment, or (ii) from and

after the occurrence of the Effective Date under the Medical Settlement Agreement, any

payments to the Common Benefit Fee and Costs Fund that are or were made under paragraph 4c




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above in respect of the Medical Settlement Agreement. If the Economic Agreement is

terminated prior to the occurrence of the Effective Date, Economic Class Counsel may petition

the Court for an order approving disbursement of amounts in the Common Benefit Fee and Cost

Fund (and the BP Parties will not oppose any such petition). To the extent the Court enters an

order approving disbursement of any or all amounts in the Common Benefit Fee and Cost Fund,

such amounts in the Common Benefit Fee and Cost fund shall be paid to Class Counsel pursuant

to the order of the Court. If Economic Class Counsel has not filed such a petition within 120

days after termination of the Economic Agreement, or if the Court denies such petition in whole

or in part, or if the Court grants an order for disbursement of less than all amounts in the

Common Benefit Fee and Cost Fund, then all remaining amounts in the Common Benefit Fee

and Cost Fund shall promptly be repaid to the BP Parties.

       6.      The BP Parties, the Plaintiffs under the Economic Agreement (on behalf of

themselves and the Economic Class Members), and the Medical Benefits Class Representatives

under the Medical Settlement Agreement (on behalf of themselves and the members of the

Medical Class) hereby stipulate and agree as follows:

               a. All payments into the Common Benefit Fee and Costs Fund are common

                   benefit and/or Rule 23(h) fees, costs and expenses within the meaning of

                   applicable law, including Fed. R. Civ. P. 23(h), Pretrial Order No. 9, and the

                   Holdback Order;

               b. Upon the full payment of the Common Benefit Fee and Costs Award, BP and

                   the Released Parties shall be immediately and fully discharged from any and

                   all further liability or obligation whatsoever with respect to any and all

                   common benefit and/or Rule 23(h) attorneys’ fees, costs and expenses




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              incurred by or on behalf of the Economic Class or the Medical Class, or any

              member thereof, in respect of, or relating in any way to, directly or indirectly,

              any and all Released Claims under the Economic Agreement, Released

              Claims under the Medical Settlement Agreement, the Action under the

              Economic Agreement, or the Medical Action.

           c. Other than (i) the payments by the BP Parties of the Common Benefit Fee and

              Cost Award into the Common Benefit Fee and Cost Fund, and (ii) payments

              by the Common Benefit Fee and Costs Fund to Class Counsel pursuant to any

              order of the Court, neither BP nor any of the Released Parties, nor the Claims

              Administrator, the Claims Administration Staff, nor the Common Benefit Fee

              and Costs Fund shall have any liability whatsoever in respect of or for any

              attorney’s fees, costs or expenses incurred by or on behalf of the Economic

              Class or the Medical Class, or any member thereof, or any of their current or

              former counsel in respect of the Released Claims under the Economic

              Agreement, the Released Claims under the Medical Settlement Agreement,

              the Action or the Medical Action, or by any other entity or person, including

              Halliburton or Transocean, in respect of any Released Claims or Assigned

              Claims under the Economic Agreement, Released Claims under the Medical

              Settlement Agreement or in any way relating to the Action or the Medical

              Action.

           d. The BP Parties and Class Counsel agree to request, and will not contest or

              oppose, that the order approving the Common Benefit Fee and Costs Award

              will include the language set forth in this paragraph 6.




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       7.      Neither BP nor any of the Released Parties shall have any responsibility,

obligation or liability of any kind whatsoever with respect to how the Common Benefit Fee and

Costs Award is allocated and distributed among any counsel for the Economic Class or the

Medical Class, or any member thereof, which allocation and distribution is the sole province of

Class Counsel to recommend, and the Court to decide.

       8.      The Claims Administrator and the Claims Administration Staff shall be directed

that, where a Claimant is represented by counsel, any Settlement Payment (a) shall be by check

made payable to both the Claimant and his, her or its designated counsel (“Designated

Counsel”), and (b) shall be made only after the receipt of a written acknowledgment by the

Claimant and the Designated Counsel that funds received fully and finally satisfy any and all

fees and costs in respect to representation of the Claimant by any counsel (including but not

limited to any asserted by lien or privilege) in connection with the Claim and rights of such

counsel to them.

       9.      “Economic Agreement” means the Deepwater Horizon Economic and Property

Damages Settlement Agreement Dated April 18, 2012. Capitalized terms used but not otherwise

defined herein have the meanings set forth in the Economic Agreement.

       10.     “Medical Action” means Plaisance, et al., individually and on behalf of the

putative Medical Benefits Settlement Class v. BP Exploration & Production Inc., et al.

       11.     “Medical Settlement Agreement” means the Deepwater Horizon Medical Benefits

Class Action Settlement Agreement dated April 18, 2012.

       12.     “Medical Settlement Payments” means payments of compensation for Specified

Physical Conditions (as defined in the Medical Settlement Agreement) and payments in respect




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of visits of the Periodic Medical Consultation Program (as defined in the Medical Settlement

Agreement).

       13.      “Other Economic Benefits” means payments under the Economic Agreement with

respect to the Gulf Tourism and Seafood Promotional Fund and the Supplemental Information

Program Fund.

       14.      “Other Medical Benefits” means payments under the Medical Settlement

Agreement for the Gulf Region Health Outreach Program (as defined in the Medical Settlement

Agreement).

       15.      “Other Settlement Benefits” means, collectively, Other Economic Benefits and

Other Medical Benefits.




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